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 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2       - - - - - - - - - - - - - - - x
         THE UNITED STATES OF AMERICA,
 3                                         Criminal Action No.
                       Plaintiff,          1:21-cr-623-CRC-2
 4                                         Tuesday, January 24, 2023
         vs.                               9:06 a.m.
 5
         KIRSTYN NIEMELA,
 6
                       Defendant.
 7       - - - - - - - - - - - - - - - x
         ____________________________________________________________
 8
                           TRANSCRIPT OF JURY TRIAL
 9              HELD BEFORE THE HONORABLE CHRISTOPHER R. COOPER
                         UNITED STATES DISTRICT JUDGE
10       ____________________________________________________________
         APPEARANCES:
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25                                         Washington, DC 20001
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 1                              P R O C E E D I N G S

 2                   THE COURTROOM DEPUTY:      Your Honor, we're on the

 3       record for Criminal Case 21-623 -- this is Defendant 2 --

 4       United States of America vs. Kirstyn Niemela.

 5                   THE COURT:    Good morning, everybody.

 6                   EVERYONE IN UNISON:     Good morning.

 7                   THE COURT:    Did you have a nice night?       Where is

 8       A.J. putting you guys up?

 9                   MR. GARRITY:    We're staying at the Hyatt.

10                   THE COURT:    Make sure he takes care of you, all

11       right?    Let me know if he doesn't.

12                   MR. GARRITY:    Okay.

13                   THE COURT:    All right.    We have a few stragglers,

14       so why don't we just take care of some -- a few housekeeping

15       matters.

16                   There were a number of motions in limine filed,

17       the first one, a government motion to bar evidence regarding

18       specific locations of Capitol Police surveillance cameras.

19       The defense doesn't intend on getting into that, right?

20                   MR. GARRITY:    No, Your Honor.

21                   THE COURT:    All right.    So that one is denied as

22       moot.

23                   Another government motion to preclude defense

24       arguments about law enforcement, entrapment by estoppel

25       defense.    That's not a defense, I take it?
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 1                   MR. GARRITY:    It is not, Judge.

 2                   THE COURT:    Come to the mic.

 3                   MR. GARRITY:    There will be testimony, I expect,

 4       about what Ms. Niemela saw or may have seen with respect to

 5       law enforcement, and what law enforcement, in her viewpoint,

 6       did or did not do.

 7                   THE COURT:    Okay.   That's obviously fair game.

 8                   Government motion in limine to exclude cross-

 9       examination of Secret Service witnesses regarding Secret

10       Service protocols and the nature of Secret Service

11       protective details.      That's not at issue, correct?

12                   MR. GARRITY:    Not an issue, Your Honor.

13                   THE COURT:    All right.    So that one is denied as

14       moot as well.

15                   I see that you all have agreed to a stipulation

16       or reached a stipulation regarding the authenticity of all

17       the video evidence that's going to come in.          Is that right,

18       Ms. Arco?

19                   MS. ARCO:    That's correct, Your Honor.

20                   THE COURT:    Okay.   So that motion in limine has

21       been overtaken by events; is that right?

22                   MS. ARCO:    That's correct.

23                   THE COURT:    All right.    Government motion in

24       limine to preclude cross-examination and evidence related to

25       the shooting of Ms. Babbitt.       There was a reference to an
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 1       Officer KY, but I didn't see him on the government's list,

 2       so that issue's moot?

 3                   MS. ARCO:    I believe so.    I don't know if they

 4       intend on raising it affirmatively in their defense case,

 5       but we will not be eliciting anything towards that.           And

 6       we're not calling Officer Yetter; and Ms. Niemela was not

 7       near that area.     We understand her to be there afterwards.

 8                   THE COURT:    Okay.   Mr. Garrity, is that moot?

 9                   MR. GARRITY:    Your Honor, the Ashli Babbitt issue

10       is moot.

11                   With respect to Officer KY, I guess it's only

12       relevant in terms of what Ms. Niemela may have been able to

13       see at that time.     I believe the government will introduce

14       video that depicts what took place with the officer, and

15       Ms. Niemela is in that video.

16                   THE COURT:    So did she observe the shooting?

17                   MR. GARRITY:    No.   Judge --

18                   THE COURT:    Come to the mic.

19                   MR. GARRITY:    Just to, I guess, clarify.       Ashli

20       Babbitt is not an issue from our standpoint.

21                   THE COURT:    Okay.   All right.

22                   MR. GARRITY:    The issue with the Officer KY,

23       if I understand it correctly, he was pushed or jostled by

24       Mr. Eckerman at one point in time when Ms. Niemela was

25       nearby, and I think the jury's going to see video of that.
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 1                    The only issue with respect to that officer is

 2       what Ms. Chiguer could observe.        She's told the FBI she

 3       couldn't observe what Mr. Eckerman was doing with that

 4       officer, and it may be our contention as well that Ms.

 5       Niemela, who is smaller than Ms. Chiguer, had even less of a

 6       viewpoint of that interaction.

 7                    THE COURT:   So this is all just what different

 8       people saw --

 9                    MR. GARRITY:   Right.

10                    THE COURT:   -- or observed?

11                    MR. GARRITY:   Right, right.

12                    THE COURT:   Okay.

13                    MR. GARRITY:   It's not a huge issue, Your Honor.

14                    MS. ARCO:    And, Your Honor, just to be clear, what

15       he's describing took place far away and earlier in time from

16       the Ashli Babbitt shooting.       So Ms. Niemela was nowhere near

17       the area where Ashli Babbitt was shot at the time that

18       occurred.

19                    THE COURT:   All right.    There was a defense motion

20       in limine to preclude the government from arguing vicarious

21       criminal liability and a motion in limine to exclude

22       evidence concerning conduct by others apart from the

23       defendant.

24                    I guess, Ms. Arco, what evidence is the government

25       introducing related to others, and how is it relevant to the
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 1       defendant's guilt or innocence?

 2                   MS. ARCO:    Your Honor, Ms. Niemela's charged with

 3       various charges related to disorderly conduct and whether or

 4       not she understood or knew that she was not lawfully

 5       permitted to remain in a restricted area.

 6                   We will be showing evidence of her time in the

 7       Capitol where she's part of a mob, next to people who we

 8       would argue are rioters; and, indeed, everyone who was in

 9       the building we would argue was a rioter in the way that

10       they entered the building.

11                   Your Honor, with respect to her conduct vis-a-vis

12       the others, the others' conduct is relevant because it

13       showed that she knew she wasn't supposed to be there.             It

14       showed that the crowd with which she had joined and was

15       following and indeed moving forward with past various police

16       lines was disruptive.

17                   So we're only showing evidence that is relevant to

18       what she was around, participated in, witnessed, saw.             It's

19       not relevant to -- you know, if someone's, you know,

20       breaking a window, and she's nowhere around, we're not

21       showing anything like that.

22                   THE COURT:    Are you intending to show the overview

23       montage video?

24                   MS. ARCO:    Yes, Your Honor.

25                   THE COURT:    Okay.   I have typically instructed the
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 1       jury after that is shown that, you know, she's not on trial

 2       for anyone else's actions.

 3                    I mean, you can obviously offer evidence of other

 4       people's conduct that she may have seen that might inform

 5       her intent or whether she was disorderly.         I think that's

 6       fair game.    But I've usually instructed that, you know,

 7       look, you're going to see a lot of people.         She's only on

 8       trial for her conduct and not for anybody else's conduct.

 9       All right?

10                    MS. ARCO:    Of course, Your Honor.

11                    THE COURT:    And there was a motion to transfer

12       venue, which the Court will deny.        And I'll adopt the

13       rulings that I've made in a number of other cases where

14       similar motions have been filed.

15                    The way to sort out any jury bias is through voir

16       dire, which I believe that we did successfully yesterday.

17       Okay?

18                    MR. GORDON:   Just one issue on the

19       conduct-of-others issue that bleeds into what might be an

20       evidentiary relevance issue later.

21                    One of our videos is very brief, but it's a clip

22       from a rally in December here in D.C.         The video's less than

23       a minute long, and it just shows the defendant present at

24       the rally.    She's walking, is all you see her doing in the

25       video.    There are signs and things around.
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 1                    We're introducing it for the point that the

 2       defendant was aware of the Stop the Steal movement and

 3       invested in it sort of prior to January 6th.

 4                    In the video you can see that present at that same

 5       rally are members of the Proud Boys identifiable by, you

 6       know, a black-and-yellow flag and the sort of

 7       black-and-yellow clothing they're wearing, and also former

 8       National Security Advisor Mike Flynn.

 9                    To the extent that that raises similar sort of

10       conduct-of-others issues, you know, we would have the same

11       response:    That I think the Court's instruction is fine.         I

12       do think it's -- it will be relevant for the purpose I

13       described.

14                    THE COURT:    Okay.   And I guess, again, if she were

15       charged with the obstruction charge, the relevance would be

16       obvious.

17                    How is that relevant to -- you know, a rally four

18       weeks prior, relevant to the disorderly conduct?

19                    MR. GORDON:   Yes, Your Honor.     Because with the

20       disorderly charge, there is an intent element that requires

21       that she have the specific intent not just to be disorderly,

22       but to have her disorderly conduct interfere with government

23       business or government function.

24                    It's our position that the government function at

25       issue is sort of Congress's work generally and the
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 1        certification specifically.       So that's where it ties in.

 2                    THE COURT:    The fact that she was aware that there

 3        would be a certification to stop -- and that was the steal

 4        that needed to be stopped, shows that's why she went in two

 5        weeks later?

 6                    MR. GORDON:    Yes, Your Honor.

 7                    THE COURT:    Okay.

 8                    MR. GARRITY:    Your Honor, just a couple of issues

 9        with those particular videos.

10                    One depicts Michael Flynn.      One depicts the Proud

11        Boys.   Ms. Niemela is in both videos, along with Stefanie

12        Chiguer.

13                    One, we just don't think it's relevant whatsoever

14        to what took place on January 6th.

15                    Secondly --

16                    THE COURT:    Why don't you think it's relevant?

17                    MR. GARRITY:    Because there's no indication that

18        Ms. Niemela is supportive of Michael Flynn in the video.

19        It's a very short clip.      She's just in the background behind

20        Michael Flynn, following him.

21                    And the same with the Proud Boys.       The Proud Boys

22        are shouting out to people.       Ms. Niemela's in the background

23        I believe on a scooter along with Ms. Chiguer.          Ms. Chiguer

24        is videotaping the event.

25                    It doesn't give any indication one way or the
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 1        other in terms of whether or not Ms. Niemela knew what

 2        Mr. Michael Flynn was talking about, or the Proud Boys, so

 3        we think it's not relevant to the events of January 6th.

 4                    But beyond that, Judge, we had extensive voir dire

 5        of the jurors.    We talked about QAnon.      We talked about

 6        stolen election issues.      What we didn't inquire of the

 7        jurors is what their views of Michael Flynn were and what

 8        their views of the Proud Boys are, maybe more importantly

 9        than Michael Flynn.

10                    So not only is it not relevant; we think, given

11        the content of the video, if some of the jurors have an

12        extremely negative view of Michael Flynn or the Proud Boys,

13        it's prejudicial under 403.       But then it rolls into what we

14        did not explore in voir dire, which is what the jurors'

15        views of those individuals are.

16                    THE COURT:   Okay.    Well, the extent of her

17        participation or support, that's a matter of fact that you

18        can deal with on cross.

19                    I do think it's relevant to some extent for the

20        reasons that Mr. Gordon stated, and if you'd like me to

21        instruct about, you know, there's no evidence that she's a

22        member of the Proud Boys, I'd be happy to do that.          But

23        maybe that draws more attention to it than you want, so you

24        tell me.

25                    MR. GARRITY:    I guess we'd rather not have a
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 1        curative instruction on that.

 2                    THE COURT:   Think about it.

 3                    MR. GARRITY:    We'll think about it.

 4                    But, Judge -- but beyond, I guess dealing with the

 5        relevancy issue, there's other pieces of evidence that the

 6        government has at their disposal that go to this particular

 7        issue of intent that do not factor in Michael Flynn or the

 8        Proud Boys.

 9                    So it's got -- if it has any probative value, I

10        think its probative value, especially when they have other

11        ways of establishing what they mean to prove, other ways to

12        do that that don't bring in the prejudicial nature of

13        Michael Flynn or the Proud Boys.

14                    THE COURT:   Regarding that December event or --

15                    MR. GARRITY:    Or regarding the issue of intent.

16        They have other pieces of evidence at their disposal that

17        would not bring in --

18                    THE COURT:   Right.

19                    MR. GARRITY:    -- those issues.

20                    THE COURT:   But in every case I've seen the

21        defense is, "No, I did not intend to go in to obstruct or to

22        interfere with some government function.         I was there for a

23        First Amendment protected protest."

24                    The fact that someone may have come to Washington,

25        D.C., a second time weeks before to attend a similar event
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 1        obviously could undermine that issue.

 2                     So I'll allow it, and you let me know whether you

 3        want a curative instruction.       Okay?

 4                     MR. GARRITY:   Thank you.

 5                     THE COURT:    I saw you all worked out a number of

 6        stipulations.    I appreciate that.       We'll read those at the

 7        end of the government's case.       Is that -- or how do you want

 8        to handle it?

 9                     MR. GORDON:    Your Honor, we had -- we can do it

10        that way.    We had sort of scripted it to read each one at

11        various times as the related issue comes up during the case.

12                     THE COURT:    That's fine.    However you want to

13        handle it.

14                     MR. GORDON:    We'll do that, Your Honor.     We'll

15        take care of reading it.

16                     THE COURT:    All right.   Anything else occur to

17        you?

18                     MR. GORDON:    Just two things to flag for the

19        Court, Your Honor.

20                     We will be asking for the rule against -- or the

21        rule of sequestration to be imposed.

22                     THE COURT:    The Court will impose the rule against

23        witnesses.    If you have any witnesses, just make sure

24        they're not in the courtroom during the testimony.

25                     MR. GORDON:    We do have one minor concern, Your
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 1        Honor, about a nonwitness for either side being in the

 2        courtroom and then transmitting information about what

 3        happened in the courtroom to a witness who is outside.

 4        Right?

 5                    So we anticipate the defense is going to call the

 6        boyfriend or former boyfriend of the defendant's mother, but

 7        not the mother herself.      So I anticipate the mother is going

 8        to be in the courtroom and her boyfriend is going to be

 9        outside.   And we want to make sure, if the mother's watching

10        the trial, she's not then communicating what happened inside

11        to the boyfriend who might be testifying.

12                    THE COURT:    Hold on.   Okay.   Is this Mr. Leach?

13                    MR. GORDON:    Yes, Your Honor.

14                    THE COURT:    And so you'd like me to instruct

15        defense counsel to instruct Mr. -- the mother not to discuss

16        the case with Mr. Leach?

17                    MR. GORDON:    That would be perfectly -- that

18        would be acceptable, Your Honor.       I don't want to tell you

19        how to -- you can instruct her how --

20                    THE COURT:    Counsel, do you want to address that?

21                    MR. GARRITY:    I don't think we have an issue with

22        that.    We'll tell Ms. Niemela's mother not to pass on any

23        information that she observes in the courtroom.

24                    THE COURT:    Thank you.

25                    MR. GORDON:    And, Your Honor, the last thing is
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 1        something that we hope is a good thing.        Defense counsel and

 2        the government have worked out that for the, you know, vast

 3        majority of the government's exhibits, there's no objection.

 4        So just to speed things along, I'm going to move in at the

 5        very start of our case a large number of exhibits by number.

 6                     THE COURT:    Great.

 7                     MR. GORDON:    I'll just flag that for you.

 8                     THE COURT:    Appreciate that.

 9                     MR. GORDON:    Thank you, Your Honor.

10                     MR. GARRITY:   Your Honor, if I could --

11                     THE COURT:    And do we have a written list for

12        Ms. Jenkins, or will it be --

13                     MR. GORDON:    Yes.    We'll make one.

14                     THE COURT:    That will be great.

15                     MR. GARRITY:   Along those lines, Your Honor, we do

16        have objections to some exhibits.        Do we take them up now or

17        take them up when the government tries to introduce them?

18                     THE COURT:    Well --

19                     MR. GARRITY:   I'm just not sure what the Court's

20        preference is.

21                     THE COURT:    If we're going to introduce them en

22        masse, then we should take them up before we do that,

23        obviously.

24                     MR. GORDON:    The ones I intend to introduce en

25        masse, Your Honor, are only the ones that are not objected
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 1        to.

 2                    THE COURT:    Perfect, okay.

 3                    MR. GORDON:    So what's remaining should be 13

 4        exhibits -- (to Mr. Garrity) we've got one more -- 13

 5        exhibits that are objected to, and we'll obviously -- when

 6        those come up at the trial, obviously the defense will

 7        object then.

 8                    THE COURT:    That's fine.

 9                    MR. GORDON:    It will be clear to everyone which

10        ones they are because they're the ones that we'll be having

11        to say out loud "At this time, Your Honor, the government

12        submits" whatever into evidence.

13                    MR. GARRITY:    Okay.   That makes sense.     Thank you.

14                    THE COURT:    Are they all here, Lauren?      Or should

15        we take five minutes?

16                    All right.    Let's take five minutes.      We'll start

17        up at 9:30.

18                    (Recess taken)

19                    THE COURT:    All right.   Please have a seat,

20        everyone.

21                    Good morning.

22                    JURY IN UNISON:    Good morning.

23                    THE COURT:    You all came back?     Good to see you.

24        Hope everyone had a nice restful evening.

25                    Before we get started with opening statements this
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 1        morning, I'm just going to give you a few preliminary

 2        instructions about how the trial will work and some of the

 3        legal rules that we'll follow during trial.         This is no

 4        substitute for the more detailed legal instructions that I

 5        will give you at the end of the case.        It's just pretty much

 6        a road map of how things are going to go over the next two

 7        or three days.

 8                    The first thing is that you should all have

 9        received a notebook.     Some jurors find it useful to take

10        notes.   Others find it distracting to do so.        It is entirely

11        up to you whether to take notes or not.

12                    If you do take notes, feel free to write down

13        anything that you like.      The notes -- the notebooks will be

14        locked in the courtroom or the jury room overnight and will

15        be destroyed after the trial, so no one will ever read what

16        you write down.

17                    The second thing is an apology in advance.            You

18        will notice that there are 14 of you, but only 12 of you

19        will ultimately deliberate, and that's because there are two

20        alternate jurors, and those jurors -- or the seats that

21        you're in were picked at random before trial; not based on

22        who you are, but based randomly on what seats you are in.

23                    I will not disclose who the alternates are until

24        the end of trial, and only I and the lawyers and the parties

25        know who the alternate seats are.
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 1                    Because any seat could be an alternate seat, I

 2        want all of you to devote your full attention to the case

 3        and assume that you will be deliberating.

 4                    As I told you yesterday, this is a criminal trial

 5        that began when a grand jury issued an indictment.          In

 6        summary, the indictment charges the defendant, Kirstyn

 7        Niemela, with four separate crimes arising from her alleged

 8        conduct in the United States Capitol on January 6, 2021.

 9                    You will receive detailed instructions at the end

10        of the case about the law that applies to each one of these

11        crimes, but in brief, the charges are:        First, entering and

12        remaining in a restricted building or grounds; second,

13        disorderly conduct in a restricted building or grounds;

14        third, disorderly conduct in a Capitol building; and fourth,

15        parading, demonstrating, or picketing in a Capitol building.

16                    At the end of the trial, you will have to decide

17        whether or not the evidence presented has convinced you

18        beyond a reasonable doubt that the defendant committed any

19        of the offenses with which she is charged in the indictment.

20        To prove the offenses, the government must prove beyond a

21        reasonable doubt each of the elements of the charged

22        offense.

23                    Again, I will instruct you on those specific

24        elements of each charge at the end of the presentation of

25        evidence.
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 1                    You should understand that the indictment is not

 2        evidence in the case.      It is just a formal way of charging a

 3        person with a crime in order to bring a case to trial.            You

 4        must not think of the indictment as evidence of the guilt of

 5        the defendant just because she has been indicted.          At the

 6        end of the trial, you will have to decide whether the

 7        government has proven each element of each one of the four

 8        charges beyond a reasonable doubt.

 9                    As I said yesterday, the defendant is presumed to

10        be innocent.    That presumption remains throughout the trial

11        unless she is proven guilty beyond a reasonable doubt.

12                    The burden is always on the government.          If the

13        government proves each of an offense -- each one of the

14        offenses beyond a reasonable doubt, it is your duty to find

15        the defendant guilty of that offense.        But if you find the

16        government has not proved one or more elements of a

17        particular offense, you must find the defendant not guilty

18        of that offense.

19                    You will refer -- you will hear me refer to each

20        side as either the government or the defense.         "The

21        government" simply means the prosecution team or one of the

22        lawyers.   "The defense" means the defendant or one of her

23        lawyers.

24                    The trial will proceed in four stages.        In a

25        minute you will hear opening statements, first the
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 1        government, and then the defendant.        The defendant could

 2        wait until the beginning of its case to present an opening

 3        statement, but I believe that the defense will open now.

 4                    MR. GARRITY:    That's correct, Your Honor.

 5                    THE COURT:   Okay.    The arguments -- the opening

 6        statements of the lawyers and the arguments of the lawyers

 7        are not evidence.     They are intended simply to give you a

 8        road map of what each side thinks the evidence will show.

 9                    The second stage of the case is the presentation

10        of the evidence.     We'll begin in the same order.       The

11        government will put on what's called its case-in-chief.           The

12        defense will cross-examine each witness, and there will be a

13        brief redirect by the government.

14                    After the government's case, the defendant may,

15        but is not required to, put on its case-in-chief.          If the

16        defendant puts on a case, it will follow the same order.

17        There will be a cross-examination of witnesses by the

18        government, and then a brief redirect by the defense.

19                    The government may then choose to put on what's

20        called a rebuttal case after the defense's case.

21                    During the presentation of evidence, lawyers will

22        be asking questions of witnesses.       Like their opening

23        statements, the questions are not evidence.         The only

24        evidence is the sworn testimony of witnesses and any

25        exhibits that will be admitted into evidence.
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 1                    The third stage will be the instructions on the

 2        law, the detailed legal instructions that I will give you.

 3                    And then the final stage will be closing arguments

 4        in the same order:     the government, the defense, and then a

 5        brief rebuttal argument by the government.

 6                    Again, closing arguments by the lawyers are not

 7        evidence.    They are only intended to help you understand

 8        from each side's perspective what the evidence showed.

 9                    And finally, there will be a few closing

10        instructions, and then you will be asked to retire for your

11        deliberations.

12                    My responsibilities are to run a fair and

13        efficient trial, to rule on any questions of law, to rule on

14        objections by either side to questions or the introduction

15        of evidence, and to instruct you on the law.

16                    It is your duty to follow my instructions as well

17        as to decide the facts in the case.        You and only you are

18        the ultimate decider of the facts in the case.          You will

19        weigh the evidence, and you will judge the credibility and

20        believability of the witnesses that you hear from.

21                    You may hear objections to particular questions.

22        If I sustain an objection, that means the question must be

23        withdrawn, and you must not speculate as to what the answer

24        to the question would have been.       If the answer has already

25        been given, and I strike the answer from the record, you are
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 1        to disregard the answer.      The same is true for any exhibits

 2        that I may have stricken.

 3                    If I overrule an objection, that means that the

 4        question stands, the witness may answer it, and you may

 5        consider the witness's answer as evidence in the case.

 6                    As I've said -- as I said yesterday and as I will

 7        remind you throughout the trial, please do not discuss the

 8        case with anyone, including family members or your -- or the

 9        members of the jury panel, until your deliberations begin.

10        When the case is over, you can talk about it with friends

11        and family as much as you like.

12                    Also, no social media postings, no blogging, no

13        Facebook posts, no Tweets, anything like that; no

14        independent research about the case.

15                    We will all be living in the same courtroom or

16        courthouse over the next few days.        You are likely to run

17        into some of the lawyers or some of the parties or some of

18        my staff.    If someone turns away and doesn't say good

19        morning or good afternoon, they're not being rude, they're

20        just trying to follow my instructions.        Okay?

21                    If you happen to see another juror interacting

22        with someone inappropriately contrary to my instructions

23        or anything else that gives you pause, please just let

24        Ms. Jenkins or someone know about it, and we'll deal with it

25        at that point.
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 1                     All right.   I think that is it.

 2                     Ms. Moreira will be taking down everything that

 3        takes place in court, but you will not have a transcript of

 4        the proceedings back in the jury room with you, so your

 5        memory will control and any notes you take, if you choose to

 6        take them.    Okay?   But there will be no transcript of the

 7        proceedings back in the jury room.

 8                     With that, please pay close attention, and I

 9        believe Ms. Arco will be delivering the government's opening

10        statement.

11                     MS. ARCO:    Thank you.   Good morning.

12                     Ms. Jenkins, can you please publish from the --

13                     THE COURTROOM DEPUTY:     Yes, give me one second.

14                     MS. ARCO:    Thank you.

15                     THE COURT:   And ladies and gentlemen, if you can't

16        hear, if you need to take a bathroom break, anything, just

17        feel free to raise your hand.       Okay?

18                     MS. ARCO:    On January 6, 2021, the defendant,

19        Kirstyn Niemela, stormed the United States Capitol as part

20        of an angry mob, a mob that overran barricades, assaulted

21        numerous police officers, and forced Congress to stop its

22        important work that day.

23                     That day Congress was meeting to certify the

24        results of the 2020 presidential election, meeting to carry

25        out the peaceful transition of power that is the bedrock of
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 1        our democracy.

 2                    Dressed in mirrored sunglasses and with an

 3        American flag draped on her back, the defendant had a

 4        purpose.   She had a cause.     She believed that the 2020

 5        presidential election was stolen from the former president.

 6        This is why she came to D.C., to stop the steal.

 7                    Indeed, less than a week before the riot on

 8        January 6th, the defendant sent this link to at least five

 9        people providing details about a protest outside the Capitol

10        that she hoped would sway the #DoNotCertify caucus to object

11        to the botched Electoral College and give her preferred

12        candidate a second term.

13                    The defendant believed that if the president-elect

14        took office, the country would be destroyed.         She was

15        determined to not let that happen.        She was ready to take

16        the country back, in her words.       So when a mob stormed the

17        Capitol building, she eagerly joined in.

18                    The U.S. Capitol Police scrambled to try and

19        contain the rioters and prevent them from reaching sensitive

20        areas of the Capitol building, but they were no match for

21        the mob's numbers.

22                    The defendant contributed to those numbers, to the

23        strength and weight of the mob that was able to overwhelm

24        and break through multiple police lines.         The defendant was

25        part of a mob that breached not one, not two, but three
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 1        separate police lines in the Capitol building; police lines

 2        that were guarding the Capitol and the members of Congress

 3        as their staff were sheltered in place inside.          Due to the

 4        advancing mob, the Secret Service had to evacuate then Vice

 5        President Mike Pence, who was presiding over the proceedings

 6        that day.

 7                    The evidence will show that members of the public

 8        weren't even allowed at the Capitol on January 6, 2021.

 9        There were barriers forming a perimeter around the entire

10        Capitol grounds, including the West Front of the Capitol

11        that you see in that photo.       A perimeter was formed in that

12        area using metal bike rack barricades and green fencing that

13        you see here called snow fencing, and by signs that clearly

14        indicated people weren't supposed to go inside, specifically

15        the sign you see here with "Area Closed" and in capital

16        letters.

17                    But those signs, that fencing, and the barricades

18        didn't stop the mob.     The mob disregarded those signs,

19        dismantled the barricades, and forced police on multiple

20        occasions to retreat for their safety.

21                    But while the broader context of what happened

22        that day is important, this case is about one person, one

23        member of that mob.     The defendant.

24                    After attending the Stop the Steal rally on

25        January 6th and seeing the former president speak, the
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 1        defendant and her companions marched to the Capitol.

 2                    Some time after arriving on Capitol grounds, the

 3        defendant split off from her group and climbed a tree, where

 4        she took pictures, including this one, which show her

 5        vantage point on the inside of the restricted area cordoned

 6        off with that snow fencing and those "Area Closed" signs,

 7        those white signs on that fence.

 8                    But these signs to keep out did not deter her.

 9        Instead, the defendant met up with her two companions on the

10        West Plaza of the Capitol.      The West Plaza looked like a war

11        zone:    smoke and chemical sprays in the air, police

12        everywhere, thousands of people yelling.         Chaos.

13                    The defendant saw other rioters taking the very

14        bike racks that police had used to barricade the restricted

15        perimeter and repurpose them as ladders to scale the Capitol

16        walls.   In spite of this chaos, the defendant and her

17        companions went up a set of stairs and approached their way

18        to a set of doors to the Capitol building.

19                    As the defendant approached those doors, she could

20        hear the security alarm blaring, beeping.         She saw that the

21        windows next to those doors that she entered had been

22        smashed out.    Glass everywhere.     Rioters were climbing

23        through that broken window.

24                    These clear signs of violence and total chaos did

25        not deter her.    She went in.
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 1                    The defendant had no authority to be there.           No

 2        member of the public did.      She hadn't been through any metal

 3        detectors or screening for an event hosting the vice

 4        president, and yet she roamed the halls.

 5                    The defendant and her companions first walked to

 6        an area of the Capitol known as the Crypt where they

 7        encountered approximately ten U.S. Capitol Police officers

 8        who were attempting to block the rioters from penetrating

 9        any further.    It didn't work.     The mob was too big.     Their

10        sheer numbers overwhelmed the officers, so when the mob,

11        which included the defendant, surged forward, the police

12        couldn't hold the line.

13                    On the left of this slide is that line of Capitol

14        Police officers.     On the right you see the moment after the

15        mob broke through that police line with the officers back to

16        back in a defensive posture, and the defendant just to the

17        right of them circled in yellow.

18                    One of these officers will testify.        She'll tell

19        you how scary it was to face the mob.        You'll hear how

20        helpless she felt in the face of the mob because her and her

21        colleagues were totally outnumbered.        You'll hear how being

22        swept away by that wave of rioters separated her from her

23        colleagues, how rioters grabbed at her equipment, at her

24        radio, her lifeline.     You will hear how she was scared the

25        rioters would try to take her gun.
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 1                     Once past these officer in the Crypt, the

 2        defendant kept surging forward along with the mob toward a

 3        set of stairs leading to Speaker Pelosi's offices and the

 4        House Chamber itself.      There the defendant and her

 5        companions wormed their way through the crowd to encounter a

 6        second line of U.S. Capitol Police who were trying to hold

 7        the mob back.

 8                     The officers again were outnumbered.       The rioters

 9        shouted at them, threatened them.       Some of them were decked

10        out in tactical gear.

11                     The officers commanded the rioters to get back.

12        They didn't.    Instead, the mob, including the defendant,

13        forcibly surged past these officers again and broke this

14        line, too.

15                     The defendant saw the police getting pushed

16        around.   She saw the space fill up with smoke.         But this did

17        not deter her from penetrating the Capitol further.

18        Although some rioters ran away from the smoke back toward

19        the Crypt, back towards the exit, the defendant stuck around

20        and decided to ascend the stairs that the officers had been

21        trying to protect.

22                     From there, the defendant and her companions made

23        their way to a hallway where they encountered a third line

24        of Capitol Police.     On the other side of this police line

25        were the doors to the House Chamber.        You will hear how some
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 1        members of Congress were unable to be evacuated and were

 2        stuck inside the chamber as rioters were trying to force

 3        their way in.

 4                    Again, the defendant and her companions made their

 5        way toward the front of the police line, which was guarded

 6        by no less than seven Capitol Police officers.          The

 7        defendant stood behind that line for over five minutes faced

 8        with yet another clear signal she was somewhere she wasn't

 9        supposed to be.

10                    She didn't turn back.     Instead, she stayed near

11        the front of the police line where rioters tried to convince

12        the police to step aside and let them through into the House

13        Chamber, while others were shouting at them that they were

14        traitors.

15                    The power of the mob was its size.       The defendant

16        contributed to that.

17                    Vastly outnumbered, the police couldn't hold this

18        line either.    The mob, including the defendant, forcibly

19        broke this police line and surged towards the House Chamber.

20                    Here's a clip of that moment.       And that's the

21        defendant circled in yellow.

22                    (Video playing)

23                    MS. ARCO:   Now, only a set of doors between --

24        stood between the rioters and the House Chamber and the

25        members of Congress stuck inside.       The defendant watched as
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 1        members of that mob banged on those doors, some with

 2        flagpoles, trying to break in.

 3                    Did the defendant promptly exit after witnessing

 4        this scene?    No.

 5                    Instead, she and her companions entered a

 6        conference room where they took a selfie in front of a

 7        portrait of George Washington.       This photo.    You can see the

 8        defendant with her bandana up and her sunglasses on indoors

 9        to shield her face.

10                    When they left the conference room, the defendant

11        and her companions joined the mob down yet another hallway.

12        They walked right past a clear exit to the outside where the

13        doors were already open.      But instead of promptly exiting

14        those doors, the defendant followed the mob for another two

15        minutes as rioters kicked doors and shouted "Break it down"

16        and "Open the door."     Then finally you'll see her circle

17        back to those doors and exit the Capitol.

18                    During this trial -- or excuse me, through her

19        actions, the defendant temporarily achieved her goal.             She

20        had stopped Congress in its tracks and delayed the

21        certification of the next President of the United States.

22                    Ultimately Congress did reconvene and finished the

23        job and certified the proceedings, but only when the mob had

24        been cleared out and it was safe to get back to business.

25                    During this trial, you'll see messages and posts
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 1        by the defendant that will make clear what her intent and

 2        motive were for storming the Capitol that day.          Messages in

 3        posts like these.

 4                    "We all better be ready to fight this war."

 5                    "It's our Capitol.     This is the PEOPLE'S America,

 6        and we will take it back one way or another."

 7                    "If it ain't fixed we're going back locked and

 8        loaded.   We will take back OUR country."

 9                    Members of the jury, the evidence is going to show

10        you beyond a reasonable doubt that the defendant committed

11        the four crimes that she is charged with and that the judge

12        just alluded to.

13                    You will get exact instructions from the judge at

14        the end of the case about the exact definitions and the

15        elements that we're required to prove and are for you to

16        decide; these are the four charges that she is charged with.

17                    So, Members of the Jury, the evidence is going to

18        be very straightforward.      You're going to hear and see the

19        vast majority of the defendant's conduct with your own eyes

20        and ears.

21                    The evidence will show the defendant stormed the

22        Capitol with a purpose.      She wanted Congress not to certify

23        the results of the election because she believed it was

24        stolen.

25                    Over the next couple of days the evidence will
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 1        show you that the defendant breached the Capitol knowingly,

 2        and that she remained there unlawfully and in spite of the

 3        violence and chaos she was witnessing.

 4                    We will show you that her activities as part of

 5        that mob on January 6th violated at least four laws.

 6                    So at the end of the trial, my co-counsel,

 7        Mr. Gordon, is going to ask you to find the only verdict

 8        that the evidence supports:       Guilty on all charges.

 9                    Thank you for your time.

10                    THE COURT:   Thank you, Ms. Arco.

11                    All right.   Mr. Garrity, do you need a couple of

12        minutes, or are you ready to go?

13                    MR. GARRITY:    I'm ready to go, Judge.      I think I

14        need the -- do I need the lapel?

15                    (Pause)

16                    MR. GARRITY:    As you'll find out during the course

17        of this trial, I'm not the most technologically adept

18        person.

19                    So good morning.    I just want to reintroduce

20        myself and Attorney Rick Monteith.        As you heard yesterday

21        from Attorney Monteith, we're both from New Hampshire.            Our

22        offices are in Londonderry, New Hampshire.         And Ms. Niemela,

23        as you'll hear during the course of the trial, is from

24        Hudson, New Hampshire.

25                    If any of you are not familiar with the geography
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 1        of New Hampshire, Hudson abuts Londonderry.         And Hudson, New

 2        Hampshire, is where Ms. Niemela departed on January 5th of

 3        2021, to come down to the rally that was going to take place

 4        on The Ellipse on January 6th of 2021.

 5                    She left New Hampshire in a car owned by

 6        Ms. Stefanie Chiguer, her friend.       And along with

 7        Ms. Niemela and Ms. Chiguer, an individual by the name of

 8        Mark Leach, a friend of both Ms. Chiguer and Ms. Niemela,

 9        came along.    Mr. Leach had decided to join the trip about a

10        week prior, and he was asked to come to keep an eye on

11        Kirstyn by Kirstyn's mother.

12                    So they all came down to Washington, D.C., on

13        January 5th, and they checked -- when they checked into a

14        hotel that they were going to stay at on the night of

15        January 5th and January 6th, they met a couple of other

16        individuals.    You're going to hear about them during

17        the course of this trial.      One is Mike Eckerman and his

18        niece Candace Eckerman.      And they also met a woman by

19        the name of Crystal Herman.       And you're going to hear

20        that those individuals were with Ms. Niemela, Mr. Leach, and

21        Ms. Chiguer on January 6th.

22                    So they met at the hotel on January 5th.        They

23        were all staying on the same floor in the same hotel.             They

24        decided they would all meet up on the morning of January 6th

25        and go to watch the speech.
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 1                    So they met up in the lobby of the hotel on the

 2        morning of January 6th.      They took an Uber down to the

 3        speech.   They arrived very early in the morning.         I believe

 4        you'll hear testimony that they arrived around 6:00 a.m.

 5        They stood in the same part for the most part watching the

 6        rally.    They watched -- eventually watched Former President

 7        Trump speak.

 8                    And then you'll hear the group began to walk down

 9        Pennsylvania Ave.     And contrary to what the government told

10        you, you're not going to hear about marching down

11        Pennsylvania Ave.     You're going to hear what Ms. Niemela did

12        as she walked down Pennsylvania Ave.

13                    She didn't rush down to the Capitol grounds, the

14        evidence will show.     She took her time.     It took her about

15        an hour to walk the length of Pennsylvania Ave.          She was

16        taking videos, watching the crowd.

17                    And although the government will present evidence

18        about Ms. Niemela's viewpoints and postings -- and there's

19        no doubt she's an enthusiastic supporter of Former President

20        Trump -- she believed the election was stolen, fervently

21        believed that.    She espoused a number of viewpoints along

22        those lines, espoused a number of viewpoints about what she

23        might do.

24                    You're going to see that in reality, when she got

25        to the Capitol on January 6th, she really had no bite.            She
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 1        was a loud dog.     A lot of barking, a lot of noise; no bite.

 2                    She didn't storm towards the Capitol, the

 3        evidence will show.     When she gets to the Capitol grounds

 4        with Mr. Leach and Mr. Eckerman, Candace Eckerman, and

 5        Ms. Herman, she gets there around 2:00 p.m. outside of the

 6        grounds.   Outside of the grounds you're going to hear the

 7        viewpoint that Ms. Niemela had in the crowd of people going

 8        towards the Capitol grounds.

 9                    The Capitol grounds, you're going to hear about

10        fencing that went around part of it.        You're going to hear

11        about what Ms. Niemela's viewpoint was within that crowd

12        that was going towards the Capitol.        There's sidewalks or

13        walkways that go from the public sidewalk onto the Capitol

14        grounds.   They form somewhat of a V.       You'll see a photo

15        about that.    You'll see overhead diagrams.       She went on the

16        left-hand side.

17                    When she entered onto the Capitol grounds, there

18        were no bike racks, no signs saying don't go in, no officers

19        saying don't go in.

20                    You're going to hear testimony during this trial

21        that those bike racks had been taken down by other

22        individuals about an hour prior to Ms. Niemela arriving on

23        the Capitol grounds.     And you're going to hear, especially

24        from an individual as I've talked to you about, Mr. Leach,

25        who was with Ms. Niemela, what their viewpoint was within
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 1        that crowd.    They were surrounded by a number of people.

 2                     Mr. Leach is taller than Ms. Niemela.       You're

 3        going to see that -- you're going to hear from him what he

 4        could see with respect to these signs that the government's

 5        told you about, about the fencing.        And what Mr. Leach will

 6        tell you is that even he could not, because of the crowd,

 7        see the signs.

 8                     So they walk onto the grounds.      And you're going

 9        to hear conduct that I would submit to you speaks volumes

10        about Ms. Niemela's intent, her real intent.         As I say, she

11        had a lot of noise, a lot of barking; no bite.

12                     Rather than storm the Capitol, as the government

13        has talked about, she walks over to the left and climbs up

14        on a tree.    You're going to hear she was up there for about

15        15 minutes taking photographs, videos, just watching the

16        events.   You're going to hear that she had no intent to

17        enter the Capitol.

18                     But you're going to hear that she had a close

19        relationship with Stefanie Chiguer.        When she's up in the

20        tree -- and you're going to hear Mr. Leach climbed up partly

21        on that tree as well.      As she's up in the tree, she notices

22        that Ms. Chiguer has departed that area, has left.          She's

23        left with Mr. Eckerman.

24                     You're going to hear that Ms. Niemela, out of

25        concern for Ms. Chiguer -- Ms. Chiguer was a single mother
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 1        of two young children -- went to look for Stefanie to keep

 2        an eye on her.    You're going to see some video along those

 3        lines where Ms. Niemela climbs up on a lamppost to get a

 4        better vantage point to see where Ms. Chiguer is.

 5                    You're going to hear that she finally finds

 6        Ms. Chiguer with Mr. Eckerman.       You're going to see in

 7        those videos as well, there's no police officers nearby

 8        Ms. Niemela.    She doesn't see any fighting.       She doesn't see

 9        any bike racks being used as ladders, as the government has

10        told you about.

11                    And I believe the Court will tell you during the

12        course of this trial that it's Ms. Niemela's conduct that

13        is at issue here, not others'.       You're certainly going to

14        hear evidence and see exhibits and videos that show there

15        were several bad actors involved in the events of January

16        6th, but we're going to ask you to keep focused on what

17        Ms. Niemela did or did not do.

18                    You're going to see that when she finally connects

19        with Ms. Chiguer, that she stays with Chiguer throughout the

20        entirety of the time they're in the Capitol.         And when they

21        finally enter the Capitol, they go through the Senate Wing

22        Doors.    Those doors had been breached about ten minutes

23        before.   They were breached by some individuals around 2:13

24        p.m.

25                    You're going to see that Ms. Niemela entered with
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 1        Ms. Chiguer and Mr. Eckerman around 2:24.         There's no police

 2        officers there.     No one's saying, "Don't go in."       In fact,

 3        no officer ever addressed Ms. Niemela, you'll see.          No

 4        officer told her, "You can't go in there."         There were no

 5        signs by the door saying, "Don't enter."

 6                    You're going to see video that they, the group,

 7        after entering the entryway, quickly went down a hallway

 8        to the right, and that Ms. Niemela is holding on to

 9        Ms. Chiguer.

10                    And you're going to hear about the viewpoints that

11        Ms. Niemela had throughout the course of her time in the

12        Capitol.   You're going to hear Ms. Chiguer, who is much

13        taller and bigger than Ms. Niemela, even she could not see

14        what was going on with Mr. Eckerman in the front edge of the

15        group.

16                    You're going to hear that Ms. Niemela, when she

17        was inside the Capitol, walked around, didn't say anything,

18        didn't touch any property, didn't touch any officer.

19                    I know the government has talked about this

20        forcible use of blowing through lines of police officers.

21        Not Ms. Niemela.     She's sticking with Ms. Chiguer.       Mr.

22        Eckerman's ahead of them.      She's involved in none of the

23        interaction with the officers.

24                    And you're going to see the extent of her

25        disorderly conduct will be shown when she's in what's called
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 1        Statuary Hall.    There's some -- there's a pathway demarked

 2        by ropes.    She walks within those lines of ropes.

 3                    There's an officer you'll see in the video off to

 4        her left as she walks through that line of ropes.          She --

 5        that officer, you're going to hear, didn't say a word to

 6        Ms. Niemela about getting out.       None of the officers told

 7        her to get out.

 8                    So I think what you'll see during the course of

 9        this trial is that her actions or, I guess a better way of

10        saying it, her inactions will speak louder than any words

11        she may have espoused in social media posts.         She certainly

12        had strong views.     You're going to see that throughout the

13        course of that trial.      You're going to see that even after

14        leaving on January 6th -- even after leaving D.C. on the

15        morning of January 7th, she was putting forward social media

16        posts that espoused strong views.       One of them is what the

17        government just put up for you, coming back locked and

18        loaded.    That never happened.

19                    She talked a lot, talked quite a bit.        And you're

20        going to see she espoused these very, very strong opinions

21        with respect to Trump and the stolen election, but never

22        acted on them.

23                    Again, I will ask you to look at what she did --

24        what she did -- rather than others once she got to the

25        Capitol.
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 1                    And at the end of this trial we submit to you that

 2        the evidence will show that she did not trespass, that she

 3        was not -- never told "You can't go in" or "You can't

 4        remain," and that she didn't engage in any disorderly

 5        conduct.    In fact, you'll see that she just walked through

 6        the Capitol, and that she didn't parade, picket, or

 7        demonstrate.    The videos will show she really didn't say

 8        anything.

 9                    At the end of this case, as a result, we're going

10        to ask you to find Ms. Niemela not guilty because that's the

11        only just and fair result after you've seen and heard all of

12        the evidence and witnesses.       Thank you very much.

13                    THE COURT:    All right.   Thank you, Mr. Garrity.

14                    Mr. Gordon, would you like to call your first

15        witness?

16                    MR. GORDON:    I would, Your Honor.     The United

17        States calls Captain Tia Summers.       We just need a moment to

18        get her.

19                    THE COURT:    All right.   Take your time.

20                    (Pause)

21                    THE COURT:    All right.   Good morning, ma'am.

22                    THE WITNESS:    Good morning, sir.

23                    THE COURT:    Step right up.    You can remain

24        standing and raise your right hand to be sworn in by the

25        courtroom deputy.
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 41 of 242       347


 1                    (Witness sworn)

 2                    MR. GORDON:    All right.    Thank you, Your Honor.

 3                    Before I begin questions, we do have a few things.

 4                    So first, United States moves into evidence the

 5        following exhibits --

 6                    THE COURTROOM DEPUTY:      One second.

 7                    MR. GORDON:    -- which I understand have no

 8        objection from the defense.       So first Government Exhibits 1

 9        and 2, 101 through 105, 107 through 113, 201 through 212,

10        301 through 305, 403 through 415, 501 through 506, 702

11        through 703, 804 through 808, 813, 816 through 818, 820, 822

12        through 824, 826 through 828, 830 through 832, 836 through

13        838, 842 through 846, 907 through 913, 918 through 920, 928

14        through 931, 1001 through 1002, 1001 -- I'm sorry, 1101

15        through 1110.

16                    THE COURT:    All right.    Any objection, Counsel?

17                    MR. GARRITY:    No objection, Your Honor.

18                    THE COURT:    So moved.

19                    MR. GORDON:    In addition, Your Honor, before I

20        begin questions, the parties have reached a number of

21        stipulations.    I'm going to read two of those into evidence

22        now, but I'd ask the Court to explain to the jury what a

23        stipulation is.

24                    THE COURT:    Okay.   Ladies and gentlemen,

25        Mr. Gordon is about to read what's called a stipulation.          A
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 42 of 242     348


 1        stipulation is simply an agreement to certain facts by both

 2        sides of the case.     And you may consider the stipulation as

 3        evidence in the case.      And we will send back to the jury a

 4        written version of all of the stipulations that the parties

 5        have entered into.     Is that clear?

 6                    Okay.   Please proceed.

 7                    MR. GORDON:    All right.    First is Stipulation 3.

 8                    On January 6, 2021, officers from the United

 9        States Capitol Police, or USCP, on the U.S. Capitol Grounds

10        and in the U.S. Capitol building were engaged in their

11        official duties as officers or employees of the United

12        States or of any agency in any branch of the United States

13        Government as those terms are used in Title 18 United States

14        Code Section 1114.

15                    On January 6, 2021, officers from the Washington,

16        D.C., Metropolitan Police Department, or MPD, on the U.S.

17        Capitol Grounds and in the U.S. Capitol building were

18        assisting officers from the USCP, who were engaged in their

19        official duties as described above.

20                    Now Stipulation No. 1:      By law, the United States

21        Capitol, which is located at First Street, Southeast, in

22        Washington, D.C., is secured 24 hours a day by the U.S.

23        Capitol Police.     Restrictions around the Capitol include

24        permanent and temporary security barriers and posts manned

25        by USCP.   Only authorized people with appropriate
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 43 of 242        349


 1        identification are allowed access inside the Capitol.             At

 2        the U.S. Capitol, the building itself has 540 rooms covering

 3        175,170 square feet of ground, roughly four acres.          The

 4        building is 751 feet long, roughly 228 meters, from north to

 5        south; and 350 feet wide, 106 meters, at its widest point.

 6                    The U.S. Capitol Visitor Center is 580,000 square

 7        feet and is located underground on the east side of the

 8        Capitol.

 9                    On the west side of the Capitol is the West Front,

10        which includes a variety of open concrete spaces, a fountain

11        surrounded by a walkway, two broad staircases, and multiple

12        terraces at each floor.      On January 6, 2021, the inaugural

13        stage scaffolding was on the West Front of the Capitol

14        building.

15                    On the East Front are three staircases, porticos

16        on both the House and Senate side, and two large skylights

17        into the Visitor's Center surrounded by a concrete parkway.

18                    On January 6, 2021, the exterior plaza of the U.S.

19        Capitol was closed to members of the public.         These security

20        barriers included bike racks that were positioned to the

21        north of the Capitol along Constitution Avenue, to the south

22        of the Capitol along Independence, to the west of the

23        Capitol along First Street on the eastern side of that

24        street, and on the east side of the Capitol, between the

25        Capitol Plaza on the East Front and the grassy areas located
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 44 of 242           350


 1        between the Plaza and First Street.

 2                    Within the West Front of the restricted area,

 3        there were additional temporary barriers due to preparations

 4        and ongoing construction for the inauguration, which was

 5        scheduled for January 20, 2021, including green snow fencing

 6        and signs stating "Area Closed By Order of the United States

 7        Capitol Police Board."

 8                    On January 6, 2021, the restricted area described

 9        above and depicted in Government's Exhibit 202 was a posted,

10        cordoned off, or otherwise restricted area where the vice

11        president and members of his immediate family were and would

12        be temporarily visiting.

13                    Thank you, Your Honor.

14                    THE COURT:    Thank you, Mr. Gordon.

15                    And, again, the jury may consider those facts as

16        evidence in the case.      The parties reach these stipulations

17        for the purpose of avoiding wasting your time to prove

18        relevant facts that are not meaningfully in dispute.              Okay?

19                    Go ahead.

20                    MR. GORDON:    Thank you Your Honor.

21                             CAPTAIN TIA SUMMERS, Sworn

22                                  DIRECT EXAMINATION

23        BY MR. GORDON:

24        Q.   All right.   Good morning, Captain Summers.

25        A.   Good morning.
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 45 of 242   351


 1        Q.   Can you introduce yourself to the jury, please.

 2        A.   Hello, everyone.    My name is Captain Tia Summers, and I

 3        work for United States Capitol Police.

 4        Q.   Captain Summers, what do you do for the Capitol Police?

 5        What's your job?

 6        A.   I'm a captain, and right now I am assigned as the acting

 7        division commander for our coordination bureau.

 8        Q.   Okay.   So a lot of words there that a layperson might

 9        not understand, so let's take them one at a time.

10        A.   So right now --

11        Q.   Let me stop you so I can direct you.

12        A.   Okay.

13        Q.   Starting with the rank.      For someone who is not familiar

14        with how those kinds of ranks work, can you explain what it

15        means to be a captain?

16        A.   Captains are usually, I would say, middle management, if

17        that makes any sense.      And we are normally in charge of

18        several -- let's see, several sections under one command, if

19        that makes any sense.      It's kind of hard to explain.

20        Q.   Now, back on -- how long have you worked for the Capitol

21        Police?

22        A.   In total, 23 years.

23        Q.   And how long have you been a captain?

24        A.   And I've been a captain for about two years now.

25        Q.   Were you a captain on January 6, 2021?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 46 of 242     352


 1        A.   No.    On January 6, 2021, I was a lieutenant at the time.

 2        Q.   And can you explain what a lieutenant is as compared to

 3        a captain.

 4        A.   So lieutenants are usually commanders of one section,

 5        where a captain will have multiple sections under their

 6        supervision.

 7        Q.   Is it fair to say you got promoted?

 8        A.   Yes.

 9        Q.   Okay.   And then you sort of further explained your job

10        by listing a lot of terms of the suborganization within the

11        Capitol Police.     What's that?

12        A.   One more time?

13        Q.   What is your role?     What are you a captain of?

14        A.   Right now I am the commander of our command center.          And

15        the command center is, like, I would guess the nerve center

16        or hub of all activities within the United States Capitol

17        Police.

18                     In this area, if there is an event or something

19        that may be going on, this is where all of our chiefs and

20        command staff would come so that they could come together

21        and make decisions as to how we would proceed for certain

22        events or things that may happen.

23                     I also have command of our court liaison unit, and

24        they are the officers in charge of making sure that our

25        officers come to court on time, make sure summons are taken
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 47 of 242     353


 1        care of.     If the lawyers ask for evidence and things from

 2        our recordings or cameras, this is where they will request

 3        it through.

 4                     I'm also over our reports processing section,

 5        which is where all of our police reports are housed and

 6        taken care of.    So I have those three sections.

 7                     I also -- at the moment, my boss retired on me in

 8        May of 2022, so I've been doing her job as well, so I also

 9        have communications under my -- our communications section

10        under my purview until I get a new boss.         And our

11        communications section is where our dispatchers are housed,

12        where they talk to the officers on the radio.         And it also

13        houses our duress system, which is our alarm system for the

14        Hill.

15        Q.   Did you work in the command center back on January 6,

16        2021?

17        A.   No.    On that day I was in communications.

18        Q.   Is communications based somewhere other than in the

19        command center?

20        A.   Yes.    The communications section is in the Southwest

21        sector of the city, so it's on the opposite side of where

22        our command center is.      Our command center is in the

23        Northeast, and we are in the Southwest.

24        Q.   Okay.    Is the communications center where you really

25        started the day on January 6th --
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 48 of 242      354


 1        A.   Yes.

 2        Q.   -- is that on Capitol grounds?

 3        A.   Adjacent to.

 4        Q.   All right.   Now, first I'm going to publish what's

 5        already in evidence now as Government's Exhibit 201.

 6                    All right.    Can you explain what we're looking at

 7        in Government's 201?

 8        A.   Yes.   We're looking at an overview of the U.S. Capitol.

 9        Q.   And can you orient us with directions.        Where is north?

10        A.   It's at the top of the screen.

11                    MR. GORDON:    Let the record reflect that I drew an

12        N on the top center of the screen.

13        Q.   All right.   So making the bottom of the screen, south;

14        the left, west; and the right, east.        Correct?

15        A.   Correct.

16        Q.   All right.   What is this area that I'm circling now on

17        the western side?     What is that referred to as?

18        A.   We call that the West Front.

19        Q.   And what about the area on the east side that I'm

20        circling now?

21        A.   The East Front.

22        Q.   Now, within the Capitol I want to sort of divide it into

23        three sections.     So let's start here.     I've circled the top

24        sort of building or roof.

25                    What does that section of the building contain?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 49 of 242   355


 1        A.   Okay.   That is the Senate Wing, and that contains the

 2        Senate Chamber.

 3        Q.   All right.    Now, I'm circling the sort of like similar

 4        building in the bottom -- towards the bottom of the screen

 5        or the south.     What is that?

 6        A.   That's the House wing, and that contains the House

 7        Chamber.

 8        Q.   All right.    And then how about the center section that

 9        I've circled now?

10        A.   That's the center of the building, and right under the

11        dome is the Rotunda.

12        Q.   Okay.   If I walked from the Capitol and just started

13        walking due west, and just kept on walking and kept on

14        walking, would I eventually run into any monuments?

15        A.   Sure.

16        Q.   What would I --

17        A.   You would eventually run into the Washington Monument.

18        If you go a little further, you're going to run into, I

19        believe, the Lincoln.

20        Q.   Let's stop at the Washington Monument.

21        A.   Okay.

22        Q.   Are you familiar with a place in D.C. called The

23        Ellipse?

24        A.   Yes.

25        Q.   What is The Ellipse?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 50 of 242        356


 1        A.   It's a -- I don't know how to describe it.         I'd almost

 2        kind of describe it as a park close to the White House.

 3        Q.   And where is the White House in relation to the

 4        Washington Monument?

 5        A.   Not very far.    Not very far.    I'm trying to --

 6        Q.   Basically, is it fair to say a couple of blocks away?

 7        A.   Yes.

 8        Q.   And right in front of it, essentially?

 9        A.   Everything -- like in D.C., when you're standing, you

10        can kind of see everything at once.

11                    But, yes, it's in very close proximity.        Maybe

12        like three blocks maybe.

13        Q.   And just in terms of the map, if I was to -- so if I'm

14        going to walk straight to the Capitol, I'm going to hit the

15        Washington Monument, right?

16        A.   Uh-huh.

17        Q.   And you said the White House is a few blocks away.           In

18        what direction?

19        A.   To your right.

20        Q.   To my right?

21        A.   Uh-huh.   Pennsylvania Avenue is on that side, on the

22        right side.

23        Q.   To the north?

24        A.   Yes.

25        Q.   So fair to say the Capitol to the monument to the White
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 51 of 242   357


 1        House kind of makes an L?

 2        A.   That's a good description.

 3        Q.   Okay.

 4                     MR. GORDON:   All right.    Now, Ms. Jones, can we

 5        please have 208.     And can we zoom in a little bit on

 6        essentially this section.

 7        Q.   All right.    What are we looking at in 208?

 8        A.   It's another map of the Capitol, Capitol grounds.

 9        Q.   Now, on January 6th, was there anything unusual about

10        kind of this area of the Capitol that I've circled,

11        basically the circle between what's labeled 208 as the West

12        Plaza barricade and where it says Upper West Terrace?

13        A.   Yes.    That's the inaugural stage.

14        Q.   What is the inaugural stage?

15        A.   During a presidential year -- we have inauguration every

16        four years, and they construct a stage on the West Front so

17        they can hold the ceremony.

18        Q.   Okay.   How long does it take to build that stage?

19        A.   It usually -- construction usually starts in the late

20        summer/early fall.     So September/Octoberish is when they

21        close the West Front to start the construction.

22        Q.   All right.    So you anticipated my next question.

23                     So in order to do that -- you said they have to

24        close the West Front?

25        A.   Yes.
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 52 of 242   358


 1        Q.   And they close that starting in September or October?

 2        A.   Yes.

 3        Q.   What does closing the West Front involve doing?

 4        A.   Basically they put barriers in place, bike racks, snow

 5        fencing, and signs to keep visitors out of the construction

 6        area so that no one gets hurt.

 7        Q.   That kind of sort of construction site fencing, was that

 8        in place in October of 2020?

 9        A.   Yes.

10        Q.   And was it in place in November of 2020?

11        A.   Yes.

12        Q.   And December of 2020?

13        A.   Yes.

14        Q.   And was it still in place on January 6, 2021?

15        A.   Yes.

16        Q.   In addition to that construction fencing you just

17        described, were there any adjustments to the Capitol in

18        place due to COVID?

19        A.   Yes.   Due to COVID, the Capitol was closed to visitors,

20        so we hadn't had -- once I would say the world shut down,

21        the Capitol closed, and we weren't having any visitors, no

22        tours or anything inside of the building.

23        Q.   Going all the way back to, say, March 2020?

24        A.   Yes.   I'm trying to -- we were closed for so long, but

25        yeah, that sounds about right.       Whenever -- when the -- when
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 53 of 242         359


 1        the CDC mandated that things just close down.

 2        Q.   How would a member of the public know that the Capitol

 3        was closed to visitors due to COVID?

 4        A.   It was on U.S. Capitol's website.       The Visitor's Center

 5        has an official website, and that information was on that

 6        website.

 7                    I heard it on the news several times.        So it was

 8        common knowledge.

 9        Q.   Let's say in pre-COVID times, okay, I'm a tourist, and

10        I've come to D.C., and I just on a whim decide, you know

11        what, I'd like to walk into the United States Capitol.            I'd

12        like to go see that building.       Can I just -- pre-COVID and

13        not an inauguration year, right?       None of that took place.

14                    Could I just walk up the steps and knock on the

15        front door; or not knock, just walk in?

16        A.   Not quite.   We have security procedures that are in

17        place.

18                    If you wanted to come and visit, you would enter

19        on the west side through our Capitol Visitor's Center.            You

20        would come in.    You would go through security screening.

21        And security screening involves going through a walk-through

22        magnetometer, divesting your personal items for

23        administration screening through x-ray and hand check.            If

24        you were to walk through our walk-through magnetometer and

25        make an alarm, you would be subject to a hand-held
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 54 of 242    360


 1        magnetometer as well as a pat down by police personnel

 2        before you could proceed.

 3        Q.   So was it possible, even in pre-COVID times, for a

 4        member of the public to enter the Capitol through a door

 5        other than through the Visitor's Center?         Could you go in

 6        some other way?

 7        A.   We do have a couple of ways, depending on if you are an

 8        official business visitor, you would enter through one of

 9        the wing doors where the Senate appointment's desk or the

10        House appointment's desk is there to receive you once you

11        have cleared security so you could get a visitor's badge to

12        go to your destination for your meeting.

13        Q.   In that situation you said clear security.         So if

14        somebody has an official appointment, what is the security

15        procedure they have to go through?

16        A.   The exact same as if you were a visitor coming for a

17        tour.

18        Q.   You've got to go through the magnetometer?

19        A.   Walk-through magnetometer, divest your items for x-ray

20        and hand check, and subject your person to the walk-through

21        magnetometer, hand-held or pat down.

22        Q.   Any other way to get in?

23                    So a regular visitor goes to the Visitor's Center,

24        a person with an appointment goes to the wing with the

25        appointment.    Is there a third possibility?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 55 of 242    361


 1        A.   No, that's it.

 2        Q.   What if my best friend is a congressperson and says,

 3        "Hey, come on by.     I'll give you a tour"?

 4        A.   That's a little different.      If a person is actually with

 5        a member of Congress, the member of Congress can vouch for

 6        them, and they can go in any door that they choose.          But

 7        only if they are with a member of Congress.

 8        Q.   And do they have to go through the magnetometer if they

 9        are with a member of Congress?

10        A.   It depends.    It depends on the member.

11        Q.   Got it.    Why would it depend on the member?

12        A.   Depending on the member.      Sometimes members coming in

13        with large groups will subject their larger groups to

14        security -- through security.       But if a member -- just say

15        you're the best friend of the member, and you decide to go

16        in, the members are not subject to security checks.

17        Q.   What if I am not with the member, but I'm with a member

18        of the staff?

19        A.   Staff is subjected to security screening as well, the

20        same security screening that visitors are subjected to.

21        Q.   So what if I'm with Nancy -- Speaker of the House or

22        then Speaker of the House Nancy Pelosi's No. 2, her

23        right-hand person?

24        A.   You're going to go through security.

25        Q.   Every time?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 56 of 242   362


 1        A.   Every time.

 2        Q.   And the staff goes through security every time?

 3        A.   Yes, sir.

 4        Q.   So is there ever a scenario where a member of the public

 5        can just walk in the door without going through security?

 6        A.   No.

 7                     MR. GORDON:   All right.    We can take down --

 8        actually, let's get out of the callout box for 208 and show

 9        the whole thing.

10        Q.   Okay.   Now, I had asked you previously about what would

11        happen if I walked, you know, due west.        I've circled an

12        area here on the left side of the screen, and then I've

13        drawn a line on a street.

14                     So, first, can you tell us what line or what

15        street I've indicated with a line going down the diagonal of

16        the screen from the southwest corner going northeast towards

17        the Capitol?

18        A.   Okay.   So right above the circle where you have your

19        line, you are on the Pennsylvania Avenue walkway.

20                     The circle encompasses Peace Circle.

21                     And the line below the circle is Pennsylvania

22        Avenue.

23        Q.   So if I -- so if somebody was, say, walking from The

24        Ellipse to the Capitol via Pennsylvania Ave., is this the

25        path they would walk?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 57 of 242   363


 1        A.   Yes.

 2        Q.   Now, do you see on this map sort of some dots or sort of

 3        other lines near the Peace Circle?

 4        A.   Yes.

 5        Q.   What are those indicating?

 6        A.   I believe those are bike rack.       That indicates where

 7        bike rack is.

 8        Q.   So those were barricades?

 9        A.   Yes.

10        Q.   Were they present on January 6th?

11        A.   Yes.

12        Q.   Okay.

13                     MR. GORDON:   All right.    And just to orient

14        everyone, can we have Government's 211, please.

15        Q.   Have you seen this before?

16        A.   Yes.

17        Q.   Is this a 3D model of the Capitol?

18        A.   Yes, sir.

19        Q.   I've written an "S" in the building on the left and an

20        "H" in the building on the right.

21                     Do those fairly and accurately represent the

22        locations of the Senate and House respectively?

23        A.   Yes.

24        Q.   Now, were you aware of an entry to the Capitol referred

25        to as the Senate Wing Door?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 58 of 242   364


 1        A.   Yes.

 2        Q.   Using your finger, can you draw an arrow on this screen

 3        indicating where the Senate Wing Door is?

 4        A.   (Witness complies)

 5        Q.   Was that door significant on January 6, 2021?

 6        A.   Yes.

 7        Q.   Can you explain why?

 8        A.   This was one of the first breach points of the building

 9        from the rioters.

10        Q.   Now, does this 3D model show where the inaugural

11        scaffolding was?

12        A.   Yes.

13        Q.   Can you draw a circle or a square around it with your

14        finger to indicate it.

15        A.   (Witness complies)

16                    MR. GORDON:    Okay.   Let's let the record reflect

17        that Captain Summers drew an arrow underneath the Rotunda on

18        the bottom center of the screen.

19        Q.   Now I'm drawing an arrow on the left side of that

20        inaugural staging.

21                    The arrow I've drawn, is that in the location that

22        was significant on January 6, 2021?

23        A.   Yes.

24        Q.   Can you explain why?

25        A.   On that side, exactly where the line is, there's a
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 59 of 242   365


 1        staircase right there, and you would -- that's how you get

 2        to the Upper West Terrace.

 3        Q.   Did rioters use that staircase to access the Upper West

 4        Terrace on January 6th?

 5        A.   Yes.

 6        Q.   Is that one of the first places that was breached?

 7        A.   To get up to the Upper West Terrace, yes.

 8        Q.   So now I've drawn an arrow from that staircase to the

 9        Senate Wing Door.

10                     In your work as part of the Capitol Police and

11        also for this trial, have you reviewed video?

12        A.   Yes.

13        Q.   Does the Capitol have surveillance cameras of its own?

14        A.   Yes.

15        Q.   And have you reviewed those?

16        A.   Yes.

17        Q.   And from reviewing that surveillance video, is this path

18        that I've drawn significant?

19        A.   Yes.

20        Q.   Can you explain why?

21        A.   Once the rioters got past the stage, they started going

22        up the staircase.     This is where they started looking for

23        avenues, I guess, to get inside of the building.          And,

24        again, the very first breach point they found was the Senate

25        Wing Door.
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 60 of 242           366


 1        Q.   Is that the only place rioters breached the Capitol?

 2        A.   No.

 3        Q.   All right.   Can you use your finger to draw other places

 4        where rioters breached?

 5        A.   Recollection, it was kind of everywhere, but this was a

 6        significant one here.

 7                    MR. GORDON:    So just let the record reflect the

 8        witness drew a circle around an entryway sort of at the top

 9        of the inaugural staging.

10        Q.   And what is that area called?

11        A.   It's been known to be called the tunnel since this

12        incident occurred; but to us, meaning the USCP, it's the

13        Lower West Terrace Door.

14        Q.   Can you explain what the significance was of the tunnel

15        or the Lower West Terrace Door?

16        A.   That door leads right into the basement of the Capitol.

17        Metropolitan Police did a very good job of keeping rioters

18        from entering the building through that door.         It was a

19        pretty brutal struggle.

20        Q.   What do you mean when you say "pretty brutal struggle"?

21        A.   This is where Officer Fanone was injured, at that door.

22        Q.   The jurors may not be familiar with what you're

23        describing.    Can you explain?

24        A.   Officer Fanone is a Metropolitan Police officer.             He is

25        the one we see a lot on the news, the one that was pulled
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 1        into the crowd and hit with stun guns several times until he

 2        went into cardiac arrest.

 3        Q.     Okay.    Now, were there other breach points besides those

 4        two?

 5        A.     There were some significant ones on the east side of the

 6        building, but I don't remember exactly what they were in

 7        what order.      But I do know that they -- we had a breach

 8        point at the Rotunda door, which is in the center on the

 9        east side.

10        Q.     Can you draw a line indicating where that is.

11        A.     Yes.    It's like over here (indicating) like in the

12        center.       The dome's in the way, so it's a little hard to

13        tell, yes.

14        Q.     So fair to say that some rioters entered -- and I've

15        drawn an arrow pointing down from the top center of the

16        screen?

17        A.     Yes.

18        Q.     Now, let's sort of zoom out and back up.

19                       On January 6th, were you working that day?

20        A.     Yes.

21        Q.     Prior to January 6th, whether it be January 5th or

22        earlier, were you anticipating anything being different or

23        unusual about January 6th?

24        A.     Yes, absolutely.

25        Q.     Can you explain to the jury what that was.
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 1        A.   So on January 6th, it was the day Congress was going to

 2        certify the Electoral College votes for the presidential

 3        election, so we were prepared for that for the day.

 4        Q.   From the Capitol Police's perspective, what does it mean

 5        to prepare for the -- "for that for the day"?

 6        A.   So we had extra officers coming in for our civil

 7        disturbance unit.     We had extra personnel in the

 8        communications center where I worked.        We had our command

 9        center fully staffed as well as our alternate command center

10        fully staffed, and everybody that was able to work was at

11        work that day.

12        Q.   What is the civil disturbance unit you referenced?

13        A.   The civil disturbance unit is a group of officers who

14        have special training dealing with crowds or demonstrations.

15        So we have -- oh, gosh we have a lot.

16                    We have quite a few officers that are trained for

17        civil disturbance, and we had a platoon come in for just in

18        case.

19        Q.   Were you anticipating a particular need for civil

20        disturbance officers on January 6th?

21        A.   Not really.    I do know that there were a couple of

22        permitted demonstrations that were allowed kind of adjacent

23        to the grounds, so we knew that they were going to be there

24        for the day.

25                    But any time we have an event, we always make sure
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 63 of 242       369


 1        that we have a civil disturbance unit on standby for just in

 2        case.

 3        Q.   Have there been First Amendment permitted protests on

 4        Capitol grounds previously?

 5        A.   All the time.

 6        Q.   Were there other ones in 2020?

 7        A.   Yes, all the time.

 8        Q.   And 2021 as well?

 9        A.   Yeah, yup.

10        Q.   Okay.    Before January 6th, had any of them ever turned

11        into a mob?

12        A.   That's the worst I've ever seen it.       We -- it's not

13        unusual for us to make arrests during First Amendment

14        activity, but I've never seen it like January 6th.

15                     THE COURT:    Mr. Gordon, is this a good time for

16        our morning break?

17                     MR. GORDON:   Sure, Your Honor.

18                     THE COURT:    All right.   Ladies and gentlemen,

19        we're going to take our morning 15-minute break.          It is ten

20        to 11:00.    Let's reconvene at 11:05.      All right?

21                     No discussions about the case.      No research about

22        the case.

23                     (Jury exits courtroom)

24                     THE COURT:    All right, ma'am, you can step down.

25                     (Recess taken)
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 1                     THE COURT:    Okay.   Welcome back, ladies and

 2        gentlemen.

 3                     Mr. Gordon.

 4                     MR. GORDON:   Thank you, Your Honor.

 5        BY MR. GORDON:

 6        Q.   So Captain Summers, when we broke, we were talking about

 7        the Capitol Police's preparations for January 6th.

 8        A.   Yes.

 9        Q.   In addition to sort of the members of Congress and their

10        staffs, was there going to be anybody else present on

11        January 6th that required security arrangements by the

12        Capitol Police?

13        A.   Yes.    The Vice President of the United States was going

14        to be there that day, so the Secret Service came with him.

15        Q.   Is that the only time the vice president comes to

16        Congress?

17        A.   No.    He comes on other occasions.     If they need a tie

18        broke -- a tie vote to be broken in the Senate, he would

19        come to break that vote.

20        Q.   So when the vice president is coming, whether for

21        January 6th or other days, are there changes the Capitol

22        Police make to your security protocols or other security

23        arrangements for that?

24        A.   Yes.    We put out a VIP notice so that everyone's aware

25        that he's coming.     We make preparations on the avenues for
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 1        his motorcade.    We make preparations in the building for

 2        whatever route that he is going to take to get to whatever

 3        destination he has to make.

 4        Q.   Do you put any restrictions on the grounds of the

 5        Capitol for the public on those occasions?

 6        A.   Yes.   Wherever his motorcade is going to go, wherever

 7        he's going to go as a person, those areas are closed to the

 8        public.

 9        Q.   And is that the way it was on January 6th as well?

10        A.   Yes.

11                    MR. GORDON:    All right.    Ms. Jones, can we please

12        have Government's Exhibit 202.

13        Q.   All right.   Captain Summers, have you seen this diagram

14        before, or this photo?

15        A.   Yes.

16        Q.   What's the red line indicating?

17        A.   The red line indicates our perimeter that we had in

18        place on January 6th.

19        Q.   And what do you mean by a perimeter?

20        A.   So we set up a perimeter of bike racks, snow fencing,

21        and officers in various locations to close off the Capitol

22        square.

23        Q.   So was there a continuous -- just to understand this red

24        line.   Was there a continuous sort of fence comprised of

25        bike racks and snow fencing on that entire red line, or not?
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 1        A.   Pretty much, except there's a few openings where they

 2        would have officers stationed for vehicular traffic, if

 3        needed.

 4        Q.   And in addition to the fencing, were those signs marked

 5        in any way?

 6        A.   Yes.   On the bike racks and snow fencing, we had "Area

 7        Closed" signs.

 8                    MR. GORDON:    All right.    Can we have government's

 9        207, please, Ms. Jones.

10        Q.   All right.   What are we looking at in 207?

11        A.   This is a picture of the West Front, the inaugural

12        stage, and some snow fencing.

13        Q.   Where is -- can you use your finger and show us where

14        the snow fencing is?

15        A.   (Witness complies)     This is snow fencing, and this is

16        snow fencing here.

17        Q.   Why do you call it snow fencing?

18        A.   I don't know why we call it snow fencing.        I can

19        describe it.    It's plastic mesh -- it's a plastic mesh, and

20        it comes in a big roll.      And it's a quick way to put a

21        barrier in.

22                    And then every so many feet there's a metal pole

23        holding it up.

24        Q.   And in the second row where you've indicated the line

25        about, you know, a fifth of the way up from the bottom of
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 67 of 242     373


 1        the photograph, there are all these white squares every few

 2        feet.    What are those white squares?

 3        A.     Those are the "Area Closed" signs.

 4                      MR. GORDON:   All right.   Can we have 203, please,

 5        Ms. Jones.     203.

 6        Q.     Is that snow fencing that we see here in the middle of

 7        203?

 8        A.     Yes.

 9        Q.     And when you said those are the "Area Closed" signs, are

10        these what we're looking at in 203?        Is that an example of

11        the "Area Closed" signs?

12        A.     Yes.

13        Q.     Do you see the three people on the other side of this

14        fence in the grass?

15        A.     Yes, sir.

16        Q.     Who are those three people?

17        A.     Capitol police officers.

18        Q.     And were Capitol police officers stationed like that,

19        sort of, you know, in a variety of places around the

20        Capitol?

21        A.     Yes.

22        Q.     Why are they standing in the middle of the grass?

23        A.     One, time and distance -- I mean, distance is always

24        your friend, but they were within the perimeter just to make

25        sure that they had enough time to react if something were to
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 1        happen.

 2        Q.   Such as someone breaching the perimeter?

 3        A.   Yes.

 4                     MR. GORDON:   Can we have 204, please, Ms. Jones.

 5        Q.   Now, what are we looking at in 204?

 6        A.   This is another view of the West Front, and we're

 7        looking at at that time the protesters on the outside of the

 8        perimeter.

 9        Q.   And is 204 kind of representative of what the exterior

10        around the Capitol looked like on January 6th?

11        A.   Yes.

12                     MR. GORDON:   Can we have 205, please.

13        Q.   What are we looking at in 205?

14        A.   This is bike fencing with an "Area Closed" sign

15        attached, or bike rack.

16        Q.   And then do you see what I've circled behind the

17        bike-rack fencing about in the middle of the screen toward

18        the very top of the photograph?

19        A.   Yes, snow fencing.

20        Q.   Okay.   So snow fencing even behind the bike racks?

21        A.   Yes.

22                     MR. GORDON:   And now can we have 206, please.

23        Q.   What are we looking at in 206?

24        A.   We're looking at rioters pressing up against the bike

25        rack, and there are officers on the other side trying to
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 69 of 242   375


 1        hold the line.

 2        Q.   Did rioters breach this bike-rack barricade?

 3        A.   Yes.

 4        Q.   What path or street is this on the other side of the

 5        bike-rack barricade in the center of the screen on 206?

 6        What are we looking at?

 7        A.   This looks like the -- I think it's the Pennsylvania

 8        Avenue walkway.     It's a little hard to tell.

 9                    But it's one of the walkways.       We have two on

10        either side.    One is Pennsylvania.      One is Maryland.

11        Q.   We're looking at the orientation of the Capitol building

12        in the photograph behind.      Can you tell --

13        A.   I would say Pennsylvania Avenue.

14        Q.   So earlier when we were talking about somebody

15        approaching along Pennsylvania Avenue from The Ellipse, is

16        this what they would have encountered?

17        A.   Yes.

18        Q.   Now, at some point during January 6th this was breached,

19        you said?

20        A.   Yes.

21        Q.   Do you know what happened to the bike racks themselves

22        or the snow fencing after this breach occurred?

23        A.   The bike rack was strewn about in different places.

24        There were officers that were hit with bike rack on the --

25        bike rack was used as weapons.       Bike rack was used as
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 1        ladders.    That was something new that I had never seen.

 2        Q.   How were they used as ladders?

 3        A.   Yes.

 4        Q.   How?

 5        A.   They would take the bike rack and lean it up against

 6        various areas on the building and use them to climb.

 7        Q.   Turning it --

 8        A.   Sideways, yes.

 9                    MR. GORDON:    All right.    Can we now have

10        Government's Exhibit 823, please.

11                    And we'll scroll down to, I think it's Page 3, but

12        let's check.    It's not Page 1.

13                    Keep going.

14                    Nope, next page.

15                    And one more.

16                    Okay.    That's the one I want.

17        Q.   So we are on Page 5 of Government's Exhibit 823.

18                    Now, first of all, Captain Summers, do you

19        recognize the person in this photograph in the forefront?

20        A.   No.

21        Q.   I've underlined the sort of fence area behind her.           Can

22        you tell us the significance or what are we looking at with

23        that area that I've indicated?

24        A.   That is bike fencing, part of the perimeter that we had

25        up for the closing of the West Front for the construction of
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 1        the stage.

 2        Q.   What are these white circles, or what are these white

 3        squares that I've circled?

 4        A.   Those are the "Area Closed" signs.

 5        Q.   Can you see writing on those signs?

 6        A.   No.

 7        Q.   Why not?

 8        A.   Because the writing is on the other side so that people

 9        that are in the area that would have been open could see

10        that you shouldn't go on the other side of that fence.

11        Q.   So I've circled the people in the top of the photograph.

12        Those people would have been on the other side of the fence

13        then?

14        A.   Of the fencing that we had in place for the construction

15        of the stage; however, a good portion are within the

16        perimeter that we had in place for January 6th.

17        Q.   All right.

18                     MR. GORDON:   Can we go back to 202 please.

19        Q.   So can you use your finger to indicate where,

20        approximately, that photograph that we were just looking at,

21        where approximately that was taken?

22        A.   Approximately this area here (indicating).

23                     MR. GORDON:   All right.    And just for the record,

24        on 202 we are in the northwest corner within the red

25        restricted area on the grass.
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 1                     Your Honor, I'm now going to read Stipulation No.

 2        2.

 3                     On January 6, 2021, a Joint Session of the United

 4        States Congress convened at the U.S. Capitol.         During the

 5        Joint Session, elected members of the United States House of

 6        Representatives and the United States Senate were meeting in

 7        both the House and Senate chambers of the Capitol to certify

 8        the vote count of the Electoral College of the 2020

 9        Presidential Election, which had taken place on Tuesday,

10        November 3, 2020.

11                     On January 6, 2021, The House of Representatives

12        began its session at approximately 12:00 p.m.; the Senate

13        began its session at approximately 12:30; and the two Houses

14        met together at approximately 1:00 p.m. in the House of

15        Representatives chamber to begin the Joint Session.          Vice

16        President Mike Pence was in the Capitol building and

17        presiding over the Joint Session.       At approximately 1:15

18        p.m., the House and Senate adjourned to their separate

19        chambers for up to two hours to resolve a particular

20        objection.

21                     At approximately 2:12 p.m., Vice President Pence

22        evacuated the Senate Chamber, and approximately one minute

23        later the senator who had become the presiding officer in

24        Vice President Pence's absence declared that the Senate

25        would stand in recess.      Senators evacuated the Senate
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 1        chamber.

 2                     At approximately 2:15 p.m., Speaker Nancy Pelosi,

 3        who was presiding over the House of Representatives,

 4        evacuated the House chamber, and approximately 15 minutes

 5        later the representative who had become the presiding

 6        officer in her absence declared that the House would stand

 7        in recess.    Representatives evacuated the House chamber.

 8                     The Joint Session was suspended.

 9                     The Senate and House resumed meeting at

10        approximately 8:06 p.m. and 9:02 p.m. respectively.

11        Congress's Joint Session continued until approximately 3:44

12        a.m. on January 7, 2021, when it completed the certification

13        of the Electoral College vote.

14        BY MR. GORDON:

15        Q.   Now, Captain Summers, were you present on the Capitol

16        grounds and in the Capitol building during that time span I

17        just described, 12:00 p.m., when the House began meeting, to

18        3:44 a.m., when Congress finally finished the certification?

19        A.   No.

20        Q.   Were you there for any point during the day?

21        A.   No, not in the Capitol building itself.

22        Q.   All right.   Are you nonetheless aware of what happened

23        at the Capitol both on the grounds and inside the building

24        on January 6th?

25        A.   Yes.
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 1        Q.   And how did you become aware of that?

 2        A.   On January 6th I was assigned to our communications

 3        section.    Again, that's where our dispatchers -- that's

 4        where our dispatchers are held, and they talk back and forth

 5        with the officers on the radio.

 6                    I was in the radio room at the time of the

 7        president's speech.     I was able to hear all of the radio

 8        traffic that occurred during the incident.

 9                    We also have closed-circuit television screens in

10        that radio room, so I was able to see everything in real

11        time.

12        Q.   So when you say "the president's speech," what speech

13        are you referring to?

14        A.   President Trump was giving a speech, I believe, on The

15        Ellipse earlier in the day.

16        Q.   Was that part of a First Amendment demonstration?

17        A.   Yes.   For them, yes.

18        Q.   Were you aware of the theme or sort of mantra, motto,

19        behind that particular demonstration or speech?

20        A.   Yes, because I was watching it on the news because we

21        also had the news -- various news stations playing in that

22        room also, so we were watching it.

23        Q.   And what was the overarching topic or theme of that

24        speech?

25        A.   To stop the stealing of the election.
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 1        Q.   And with any particular method or any particular

 2        direction?

 3        A.   To go down and tell Congress to stop the steal,

 4        basically.

 5                     By that time we were kind of putting things in

 6        motion when we realized the group was making its way down to

 7        the Capitol.

 8        Q.   Now, you said that you have CCTV?

 9        A.   Yes.

10        Q.   What is CCTV?

11        A.   Closed-circuit television.      It's basically the Capitol

12        buildings, the office buildings, and all around Capitol

13        grounds, there are cameras; and we are able to see the

14        footage of all those cameras.

15        Q.   From the command center?

16        A.   From the command center and from communications.

17        Q.   And then you also mentioned you were listening to the

18        radio?

19        A.   Yes.

20        Q.   Do you mean Top 40 best songs of the day?

21        A.   No.    When I'm talking about "radio," I'm talking about

22        the police radio.

23        Q.   And what is coming in on the police radio?         What is it

24        tuned into?

25        A.   So basically what I'm listening to is officers in the
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 1        field communicating with the dispatcher giving information.

 2        And that could be anything from if they need service to what

 3        may be going on in real time.

 4                    So since I was sitting in the radio room, I was

 5        able to hear officers in the field communicate over the

 6        radio to the dispatcher that we had a large group coming

 7        down Pennsylvania Avenue, and then at a certain point that

 8        they had started to breach our perimeter.

 9        Q.   In addition to everything that you saw on video that day

10        and that you heard on the radio traffic that day, have you

11        since January 6th gone back and listened to more recorded

12        radio traffic?

13        A.   Yes.

14        Q.   Same question for video.      In addition to what you saw

15        that day, have you since January 6th gone and watched other

16        video?

17        A.   Yes.

18        Q.   Have you become familiar with the entirety of the riot

19        or what occurred on January 6th at the Capitol through that?

20        A.   I would say yes.

21                    MR. GORDON:    One more stipulation, Your Honor,

22        then we'll get to the videos.       This is Stipulation No. 4.

23                    The United States Capitol Police operate and

24        maintain closed-circuit video monitoring and recording

25        equipment that captures locations inside and outside of the
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 1        U.S. Capitol building and on the Capitol grounds.          The video

 2        equipment time-stamps each recording with the date and time

 3        at which the footage is captured.       The USCP-controlled video

 4        equipment was in good working order on January 6, 2021, and

 5        video footage recovered from the cameras and equipment with

 6        the time-stamp of January 6, 2021, is footage from January

 7        6, 2021.   The events depicted in the video footage --

 8        including Government's Exhibits 001, and 101 through 113 --

 9        are fair and accurate depictions of the events at the

10        Capitol on January 6, 2021.        The time-stamps on the

11        recordings are accurate, and the video footage was not

12        altered or edited in any way.       The video footage, including

13        the footage contained in these exhibits, is authentic in

14        that it is what it purports to be.

15                    All right.    Ms. Jones, can we please call up

16        Government's Exhibit 1, or it might be in your files 001.

17                    It's a video, Ms. Jones, so you may have it saved

18        separately.    Do you need to play it from mine?

19                    One moment, please, everybody.

20                    Ms. Jenkins, I'm going to get this set up, but

21        will you be able to allow me to play from the podium?

22                    THE COURTROOM DEPUTY:      Yes.   Let me know when

23        you're ready.

24                    MR. GORDON:    Okay.    I am ready.   We can publish

25        that.
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 1                     Let me just say in advance that we haven't tested

 2        the audio yet.    I know it's going to work.       I don't know how

 3        loud it's going to be.      If it's too loud, I will turn it

 4        down immediately, but there might be a blast to start.

 5                     Do we have that displayed, Ms. Jenkins?

 6                     THE COURTROOM DEPUTY:    The screen is.

 7                     MR. GORDON:   Never mind.    It looks like we've got

 8        it from counsel table after all.

 9                     (Pause)

10                     MR. GORDON:   I apologize, everyone.      Let's get

11        this fixed.

12                     (Pause)

13                     MR. GORDON:   All right.    Ms. Jenkins, it looks

14        like we now have it from counsel's table.

15                     THE COURTROOM DEPUTY:    Okay.   Is this it?

16                     MR. GORDON:   Yes, that's it.

17        BY MR. GORDON:

18        Q.   All right.   Captain Summers, I'm going to play a montage

19        video, and I'm going to stop it periodically and ask you to

20        describe to all of us what we're looking at.

21        A.   Okay.

22        Q.   Now, let's pause here.

23                     MR. GORDON:   Ms. Jenkins, let's pause -- I'm

24        sorry, Ms. Jones let's pause.

25        Q.   All right.   Just to orient us, what are we looking at
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 79 of 242      385


 1        now?

 2        A.     This is an overview of the Capitol square.

 3                      MR. GORDON:    All right.   Let's go ahead and play,

 4        Ms. Jones.

 5                      (Video playing)

 6                      MR. GORDON:    Pause.

 7        Q.     All right.   When you described the Peace Circle, do you

 8        see the label "Peace Circle"?

 9        A.     Yes.

10        Q.     And is that this sort of traffic-circle-looking thing

11        that we have here on the left side of the screen?

12        A.     Yes.

13                      MR. GORDON:    All right.   Let's go ahead and let's

14        play.

15                      (Video playing)

16                      MR. GORDON:    All right.   Can you pause here.

17        Q.     So at 12:51 p.m., what are we looking at?

18        A.     This is at this time the demonstrators, they are in --

19        they're on First Street by the Peace Circle monument.

20        Q.     So if you're looking, you know, to the northeast on this

21        screen where the line of officers is, which direction is

22        that looking?

23        A.     Toward the Capitol.

24        Q.     Towards -- so the Capitol is in the upper right or so of

25        the screen?
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 1        A.   Yes.   It's in the background.

 2        Q.   And then is that bike-rack fencing between the sort of

 3        crowd and the officers?

 4        A.   Yes.

 5                    THE COURT:    Counsel, if I could just interject for

 6        a moment?

 7                    You're going to obviously see a lot of people

 8        in the video that Mr. Gordon is about to play doing

 9        different things.     The Court has allowed the admission of

10        this montage video as background and as context for the

11        conduct of Ms. Niemela here.        But I will remind you of what

12        Mr. Garrity pointed out in his opening statement, which is

13        that we are here only to assess the conduct of Ms. Niemela,

14        and she should not be -- or you should not consider the

15        conduct of others in assessing what she did or did not do

16        that day.    All right?

17                    MR. GORDON:    And, Your Honor, can I just approach

18        the witness's screen just to check something?

19                    THE COURT:    Sure.

20                    MR. GORDON:    All right.    Ms. Jones, can we press

21        "play," please.

22                    (Video playing)

23                    MR. GORDON:    Pause.

24        Q.   So we just -- so three minutes have elapsed.         What are

25        we now seeing at 12:54?
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 1        A.   Now we're seeing the group has now breached the outside

 2        perimeter.

 3                     (Video playing)

 4        Q.   Three minutes later, 12:57.

 5                     (Video playing)

 6                     MR. GORDON:   All right.    Ms. Jones, can you pause,

 7        please.

 8        Q.   All right.   Can you orient us again?       Where is the

 9        Capitol?

10        A.   It's -- the people are walking toward it, so it's like

11        behind the screen here.

12        Q.   And the white sort of thing that we see in the center of

13        the screen, is that the Peace Circle monument?

14        A.   Yes.

15        Q.   And so the people walking in the center here, are those

16        the people who essentially -- is that the same path of the

17        people we just saw breach would have been walking?

18        A.   Yes.

19                     MR. GORDON:   Okay.   Go ahead and press "play."

20                     (Video playing)

21                     MR. GORDON:   Pause, please.

22        Q.   Can you orient us again?      What are we looking at?

23        A.   Now we're looking at a view of the -- what we call the

24        Lower West Terrace, but in the bottom portion of the screen

25        is the inaugural stage.
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 82 of 242        388


 1        Q.   What's this tower in the center?

 2        A.   That's the media tower.

 3        Q.   Who are the people in sort of yellow jackets that we can

 4        see in the center?

 5        A.   That's Capitol Police.     They're in rain jackets.

 6        Q.   And how about on the sort of right side of the screen

 7        even with them also standing on the open part of the plaza?

 8        A.   Same thing, Capitol Police.      Our jackets are yellow on

 9        one side and black on the other side.        They just had their

10        jackets inside out.

11        Q.   Is there anything separating the Capitol Police from the

12        crowd?

13        A.   Yes, bike rack.

14                     MR. GORDON:   Go ahead and press "play," please.

15                     (Video playing)

16                     MR. GORDON:   Pause, please.

17        Q.   Now, before I get into this part, I want to ask you

18        about the -- like the quantity of Capitol Police that were

19        there.     Was there a sufficient number of Capitol Police on

20        scene to deal with the size of this crowd?

21        A.   No.

22        Q.   Why not?

23        A.   There just weren't.     We just didn't have enough.          We had

24        everybody that was available to work that day, but the crowd

25        was just too big.
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 83 of 242   389


 1        Q.    Was there any anticipation that a crowd of this size was

 2        going to try to go past the fence line and enter the

 3        Capitol?

 4        A.    Not that I was aware of, no.

 5        Q.    Does the Capitol Police work with the Metropolitan

 6        Police Department?

 7        A.    Yes.

 8        Q.    And what is the Metropolitan Police Department?

 9        A.    Metropolitan Police is the police department that has

10        main jurisdiction in Washington, D.C.

11        Q.    Essentially the local police force?

12        A.    Yes.

13        Q.    And how does that relationship work?

14        A.    I mean, it goes hand in hand.      They assist us if we need

15        it.   We assist them if they need us, because we have certain

16        things that they don't have, and we've been able to assist

17        them, and vice versa.      It's a well-working relationship.

18        Q.    On January 6th, did you call -- did the Capitol Police

19        call for their help?

20        A.    Yes.

21        Q.    And why did Capitol Police call for their help?

22        A.    Because we were outnumbered, and the crowd was taking

23        over.   The building was being breached.       We were just

24        overwhelmed, and we needed help.

25                     MR. GORDON:   Now, we've paused the overview video
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 84 of 242   390


 1        at 1:15 of the video, which is at 2:09:48 in real time.

 2        Q.   Describe what we're looking at here.

 3        A.   Now we have -- the rioters are now going up the stairs

 4        going up to the Upper West Terrace.

 5        Q.   Do you remember at the beginning of your testimony, when

 6        we put the 3D map up, and I asked you to draw or asked you

 7        about that path to the side of the inaugural stage?

 8        A.   Yes.

 9        Q.   Is this that same stairway?

10        A.   Yes.

11        Q.   Is this the first place where rioters were able to

12        breach to reach the second level of the Capitol?

13        A.   Yes.

14                     MR. GORDON:   Let's go ahead and press "play,"

15        please.

16                     (Video playing)

17                     MR. GORDON:   Pause, please.

18                     I've paused the video at 1:37 as a time-stamp in

19        the video.

20        Q.   What are we looking at at this moment?

21        A.   We're on the Upper West Terrace.       In the background

22        there is the Senate Wing Door.

23        Q.   Is that the door that you testified to before the break

24        as the first place rioters breached?

25        A.   Yes.
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 85 of 242   391


 1        Q.    Okay.   That stairway we were just looking at a few

 2        seconds before in the previous camera --

 3        A.    Yes.

 4        Q.    -- if you climb up that stairway, is this where you end

 5        up?

 6        A.    Yes.

 7        Q.    Okay.

 8                      MR. GORDON:   Can we press "play," please.

 9                      (Video playing)

10        Q.    Do you see -- I'm at the one-minute-57 mark at the

11        video.   Do you see some members of the crowd sort of peeling

12        off and running towards the Senate Wing Doors?

13        A.    Yes.

14        Q.    Is that the first group of rioters who breached?

15        A.    Yes.

16                      MR. GORDON:   Let's press "play," please.

17                      (Video playing)

18        Q.    All right.   At two minutes and 14 seconds, do you see

19        how the videos have changed its appearance?

20        A.    Yes.

21        Q.    What do we see now kind of overlaid on top of the

22        Capitol?

23        A.    It's like an interior view of the layout of the

24        building.

25        Q.    Like a floor plan?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 86 of 242   392


 1        A.   Yes.   Thank you.    Good word.

 2                    MR. GORDON:    All right.    Let's press "play,"

 3        please.

 4                    (Video playing)

 5                    MR. GORDON:    Pause it right here, 2:21.

 6        Q.   All right.   So we see that it says at 2:12, and in red

 7        it's circled "First Floor Senate Wing Doors, Northwest

 8        Alcove."

 9                    Is this the floor plan view of the area you've

10        identified previously?

11        A.   Yes.

12                    MR. GORDON:    All right.    Let's go ahead.

13                    (Video playing)

14                    MR. GORDON:    Let's pause here.

15        Q.   Do you see the rioters banging on the doors?

16        A.   Yes.

17        Q.   What safety mechanisms or security mechanisms are

18        attached or in use with these doors?

19        A.   These doors have a mag lock on top to keep it locked;

20        however, it is used or can be used as an emergency egress

21        door.   So if there's a major emergency inside of the

22        building, if you go up to that door, hold the bar for 30

23        seconds, a countdown will start, and the mag lock will

24        release so that you may exit the building in an emergency.

25        Q.   So if you're inside, you have to hold it down for 30
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 87 of 242   393


 1        seconds before you can get out?

 2        A.   Yes.

 3        Q.   Is there any kind of alarm attached to that?

 4        A.   Yes.    An alarm will go off once that door, the mag lock,

 5        releases.

 6        Q.   And that alarm, what does it sound like?

 7        A.   Annoying.    It's a piercing, consistent, high-pitched

 8        noise that it gives off.

 9        Q.   Will it stay on the entire time the door is open, or

10        does it shut off after a few --

11        A.   As far as I know, because I'm not physical security, it

12        stays on until it's resecured.

13                     MR. GORDON:   All right.    Let's go ahead -- I'm

14        sorry.     I've paused at 2:31.

15        Q.   Do you see the cracking of the glass on the far right

16        side of the video?

17        A.   Yes.

18        Q.   Have you ever seen that glass broken before January 6th?

19        A.   No.

20                     MR. GORDON:   Go ahead and press "play."

21                     (Video playing)

22        Q.   Is there any way to open those center Senate Wing Doors

23        from the outside, if they're locked with the mag lock?

24        A.   No, no.

25                     (Video playing)
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 88 of 242   394


 1        Q.   Okay.   At 2:56 did you see something fall out of the

 2        left side of the screen?

 3        A.   Yes.

 4        Q.   What was that?

 5        A.   Glass from the window.

 6        Q.   And how did it -- what would cause the glass from the

 7        window to fall on the ground?

 8        A.   The people on the outside pushed it until it came loose

 9        and fell to the floor.

10                     (Video playing)

11                     MR. GORDON:   Pause, please.

12        Q.   Do you see the officer who just entered at the three-

13        minute-and-10-second mark of the video?

14        A.   Yes.

15        Q.   Okay.   Do you see the two people in the hallway?

16        A.   Yes.

17        Q.   Are those also officers?

18        A.   Yes.

19        Q.   All right.    Do you know what agency they're with?

20        A.   Capitol Police.

21        Q.   Can you tell from looking at that officer what he or she

22        is doing?

23        A.   Reaching on his or her belt for whatever they're getting

24        ready to use.     I would say probably pepper spray.

25        Q.   What kinds of things are Capitol Police officers
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 89 of 242     395


 1        equipped with, such as pepper spray?

 2        A.   They have pepper spray.      They have an expandable baton.

 3        They also have, of course, their firearm.         They have extra

 4        magazines for their firearm.       We have -- some of us are

 5        trained and have a trauma kit attached to our belt

 6        flashlight.

 7                     MR. GORDON:   All right.    Let's continue, please.

 8                     (Video playing)

 9                     MR. GORDON:   Pause, please.

10        Q.   So 3:14, do you see the officer extend his or her arm?

11        A.   Yes.

12        Q.   From that motion, can you tell what the officer is

13        doing?

14        A.   Pepper spray.

15        Q.   That pepper spray, do you know approximately how many

16        uses one of -- a can contains?

17        A.   I'm not sure.    Depending on how much you dispense when

18        you use it.

19        Q.   Do you have a ballpark estimate?

20        A.   No, I'm not sure.

21        Q.   Okay.    Do officers typically carry multiple cans of

22        pepper spray, or just one?

23        A.   No, just one.    We're all given one.

24                     MR. GORDON:   All right.    Press "play," please.

25                     (Video playing)
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 90 of 242   396


 1        Q.   All right.    At 3:29 do you see the man in the center at

 2        the door?

 3        A.   Yes.

 4        Q.   Okay.    Do you see him struggling to open it?

 5        A.   Yes.

 6        Q.   Is that because of the mag lock you have been

 7        describing?

 8        A.   Yes, the mag lock at the top.

 9                     (Video playing)

10        Q.   Okay.    Do you see the man kick the door open?

11        A.   Yes.

12        Q.   And do you see the window on the right side being

13        broken?

14        A.   Yes.

15        Q.   All right.    So we're at 3:52.

16                     MR. GORDON:   Go ahead, Ms. Jones.

17                     (Video playing)

18                     MR. GORDON:   Okay.   Stop.

19        Q.   All right.    At the 4:19 mark, which is at 2:42:11 p.m.,

20        do you see the four people in black who ran to the door?

21        A.   Yes.

22        Q.   Okay.    Who are they?

23        A.   Capitol Police officers.

24        Q.   Can you tell from watching the video what they're doing

25        or trying to do?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 91 of 242   397


 1        A.   Trying to stop another breach in another -- we call all

 2        those doors a Senate Wing Door because they're on the Senate

 3        Wing.

 4        Q.   This one, based on the video, is it also known as the

 5        parliamentarian's door?

 6        A.   Yes.

 7        Q.   Now, is that door also equipped with an alarm?

 8        A.   Yes.

 9        Q.   Is it also equipped with the magnet lock that you

10        described?

11        A.   Yes.

12                     MR. GORDON:   All right.    Continue, please,

13        Ms. Jones.

14                     (Video playing)

15                     MR. GORDON:   Now, stop.

16        Q.   That man who ran in at 4:28, is he with the Capitol

17        Police?

18        A.   I don't know.    I don't think so.

19                     MR. GORDON:   Okay.   Continue, please.

20                     (Video playing)

21        Q.   Was that door ultimately breached?

22        A.   Yes.

23                     (Video playing)

24                     MR. GORDON:   Now, let me stop here for a second.

25        Q.   Is this floor that the rioters are on currently, would
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 92 of 242       398


 1        you consider that the Capitol's first floor?         Its second

 2        floor?   Something else?

 3        A.   It's the first floor.

 4        Q.   Is it ground level?

 5        A.   On the west -- I mean, on the east side, it is.         But on

 6        the west side, it is not.

 7        Q.   So if you stayed on this level and walked out the door

 8        on the east, where would you go?

 9        A.   You would be on ground level.       You would be on the

10        plaza.

11        Q.   All right.   And can you tell us what we're looking at at

12        the 4:47 mark, which is 2:48:12 p.m.?

13        A.   We have a Capitol police officer trying to stop the flow

14        of rioters from coming in that door.

15        Q.   Are these officers wearing different equipment than the

16        officers we saw before?

17        A.   Some of them, yes.     They have on civil disturbance unit

18        helmets.

19        Q.   All right.   Is that commonly referred to as riot gear?

20        A.   Yes.

21                    MR. GORDON:    All right.    Continue, please.

22                    (Video playing)

23                    MR. GORDON:    I'll stop at 4:53.

24        Q.   What's this clear item that's being held above some of

25        the officers?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 93 of 242    399


 1        A.   A riot shield.

 2                     MR. GORDON:   All right.    Continue, please.

 3                     (Video playing)

 4                     MR. GORDON:   Okay.   Stop.

 5        Q.   Now, did you see the officers essentially lose control

 6        of that door?

 7        A.   Yes.

 8        Q.   How did that happen?

 9        A.   There's too many people on the outside pushing in.

10        There just wasn't enough Capitol Police to stop the flow of

11        people from coming in.

12        Q.   Okay.   Did you see any rioter use violence?

13        A.   No.

14        Q.   Did you see any rioter punch any officer?

15        A.   There's a lot going on in this.       I may have missed it,

16        but there was a lot going on in this video.

17                     They did a lot of pushing to make their way in.

18        Q.   The point being, did they have to fire a gun to get

19        entry?

20        A.   No.

21        Q.   Do they have to, you know, use some other weapon?

22        A.   No.    They just used sheer force to get in the door.

23                     MR. GORDON:   Okay.   Continue, please.

24                     (Video playing)

25        Q.   That pattern of rioters using sheer force or numbers,
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 94 of 242         400


 1        did that repeat itself throughout the Capitol?

 2        A.   Yes.

 3                     (Video playing)

 4                     MR. GORDON:   Stop at the 6:07 mark.

 5        Q.   What are we looking at in 6:07?

 6        A.   We're looking at the Upper West Terrace, rioters.            And

 7        also by this time Metropolitan Police has arrived.

 8        Q.   Okay.

 9                     (Video playing)

10                     MR. GORDON:   Okay.   We can stop here, and we can

11        take that down, Ms. Jones.

12        Q.   And were the Capitol Police and Metropolitan Police

13        Department ultimately able to expel the rioters from the

14        Capitol?

15        A.   Yes.    It took a while, but yes, they were.

16        Q.   Ballpark, how long do you think it took?

17        A.   Several hours.

18        Q.   Now, I want you to give us -- so that video didn't have

19        any audio --

20        A.   No.

21        Q.   -- right?

22                     And it focused on the entries and exits.

23                     Can you describe for us what was happening

24        throughout the day?     For example, let's start with the West

25        Plaza.     Do you feel like that video captured the sense of
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 95 of 242    401


 1        what it was like that day, or not?

 2        A.   Yes.   Pretty chaotic.    People just everywhere.      Officers

 3        on the radio trying to give out as much information as

 4        possible so that we knew where the most -- where the major

 5        breaches were so that we could send officers to help.

 6        Q.   Were any officers injured that day?

 7        A.   Yes.

 8        Q.   Give us a ballpark estimate of how many.

 9        A.   Oh, 30-plus.    I mean, it was quite a few.

10                     We had multiple calls for D.C. Fire to assist with

11        our injured officers.

12        Q.   Without going officer by officer, can you sort of

13        summarize, how was it that officers are getting injured?

14        Did they stub their toes along the way?

15        A.   No.    People had head injuries.     They were sprayed with

16        bear spray, which is kind of a step up from pepper spray.

17        They were hit with bike rack.       They were hit with poles.

18        Pushed, shoved.

19                     I mean, the injuries -- hand injuries, foot

20        injuries, concussions.      There was a bevy of injuries.

21        Q.   Now, have you also become familiar with the experience

22        of congresspeople and their staff who were inside the

23        Capitol while this was happening?

24        A.   Yes.

25        Q.   And how did you become familiar with that?
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 1        A.   So also in communications we have the alarm system and

 2        the duress system.     So throughout the course of the event,

 3        we were getting multiple duress alarms from multiple

 4        locations.    And in each office there's a little box that's

 5        underneath the desk, and if a staffer or someone needs

 6        assistance, they pull that.       We get the alarm, and we

 7        respond.

 8                     We were getting so many of those from members of

 9        staff.   We were getting phone calls in the communications,

10        you know, asking for help.      It was just -- it was such chaos

11        that day.

12        Q.   What is the mission of the Capitol Police?         What are you

13        charged with doing?

14        A.   Protecting Congress, the visitors, staff that come onto

15        the Capitol square.

16        Q.   Is it your job to keep those people physically safe?

17        A.   Yes.

18        Q.   Did you and other Capitol Police consider members of

19        Congress and their staffs to be in physical danger on

20        January 6th?

21        A.   Yeah, once everything kind of went south, yes.         And it

22        was -- again, the calls for service or the calls for help

23        were 20, 30 at once.

24                     MR. GORDON:   Can we have Government's 415, please.

25        Q.   All right.   What are we looking at in Government's 415?
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 97 of 242   403


 1        A.     This is the House Chamber, and it's from -- it's video

 2        feed from C-SPAN.

 3        Q.     How do you know this is the House Chamber?

 4        A.     I recognize it from the chairs.     I've been there several

 5        times.

 6        Q.     Okay.   Do you see the doorway in the sort of center of

 7        the screen?

 8        A.     Yes.

 9        Q.     Can you tell from the video where it's paused whether

10        that doorway is in its sort of normal state or if something

11        is different about how the furniture is in the room on that

12        day?

13        A.     We have officers and members placing furniture against

14        the door trying to barricade the door.

15        Q.     And why was that necessary?

16        A.     Trying to make sure that no one got in, make sure any of

17        the rioters got in.

18        Q.     Were there congresspeople still in the House Chamber at

19        this time when rioters were inside the building?

20        A.     Yes.

21        Q.     Okay.   They weren't all evacuated?

22        A.     No.    It took a little bit before we evacuated everybody.

23        Q.     Why is that?

24        A.     It just did.   I don't know exactly why.     It just took us

25        some time to coordinate to make sure that we could get the
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 98 of 242   404


 1        members to safety.

 2        Q.   Is it fair to say that at the point we paused this

 3        video, some of the members had been evacuated and their

 4        staffs, but many were still in the House Chamber?

 5        A.   Correct.

 6        Q.   Did some of the members have physical disabilities that

 7        prevented them from being evacuated quickly?

 8        A.   I do believe we have a member in a wheelchair.

 9                    MR. GORDON:    All right.    Can we please press

10        "play."

11                    (Video playing)

12                    MR. GORDON:    Pause, please.

13        Q.   Do you see the person in the center of the screen with

14        one hand near his ear and the other arm extended?

15        A.   Yes.   It's kind of blurry.     It's a little hard to see,

16        but yes.

17        Q.   Do you know what that person is doing?

18        A.   Probably, if they have their hand up to their ear,

19        they're probably talking on the radio.

20                    MR. GORDON:    Let's press "play" and see if you

21        recognize this scene.

22                    (Video playing)

23                    MR. GORDON:    Pause, please.

24        Q.   Are you familiar with this moment in time?

25        A.   I have seen this before, yes.
     Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 99 of 242     405


 1        Q.   And what occurred at this moment in time?

 2        A.   Officers were preparing themselves for a breach at this

 3        point.

 4        Q.   Meaning what?

 5        A.   Putting themselves in position with their weapons in

 6        case we had a breach.

 7        Q.   In other words, officers have their guns drawn at this

 8        moment?

 9        A.   Yes.

10        Q.   Where were rioters?

11        A.   I don't know how far away exactly they were from that

12        door, but in close proximity.

13                    MR. GORDON:    Can you continue by pressing "play."

14                    (Video playing)

15        Q.   Now, did rioters successfully enter the House Chamber?

16        A.   Eventually, yes.

17        Q.   By the time the rioters entered, had Capitol Police and

18        other security staff managed to get all the members out?

19        A.   Yes.

20                    MR. GORDON:    All right.    Can we have Government's

21        212, please.

22        Q.   Are you familiar with the term "time lapse"?

23        A.   Yes.

24        Q.   What is a time lapse?

25        A.   It's like, I'll say, a bunch of video kind of compressed
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 1    to go quickly.

 2    Q.   Okay.    So I've put up Government's 212.       Remind us, what

 3    are we looking at, what area?

 4    A.   This is the West Front again, and at the bottom is the

 5    inaugural stage.

 6                 MR. GORDON:   Press "play," please.

 7                 (Video playing)

 8    Q.   As the video's playing, can you just describe what we're

 9    looking at?

10    A.   This is after the initial breach of the first perimeter,

11    we have the rioters on the Lower West Terrace.

12    Q.   Okay.    And we're at about the 22-second mark of the

13    video, about 1:11 p.m.

14                 At this point how would you characterize the

15    situation between the police and the rioters?

16    A.   Still greatly outnumbered.       Even though it looks like

17    we have some Metropolitan out there at this point, it's

18    still -- it's still way more rioters than police.

19    Q.   Would you characterize them as contained at this point

20    however?

21    A.   No.

22    Q.   Why not?

23    A.   Because they're -- again, they're still within our

24    perimeter, so it's -- the situation is not contained at all.

25    Q.   But they haven't breached yet, correct?         Not breached
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 1    the building yet, right?

 2    A.   I don't think so.     It's kind of hard to tell.

 3                 MR. GORDON:   Press "play," please.

 4                 (Video playing)

 5    Q.   Do you see occasional clouds or puffs in the air?

 6    A.   Yes.

 7    Q.   What are those?

 8    A.   Tear gas.

 9    Q.   Were the police deploying tear gas?

10    A.   The police were deploying tear gas that day, and I got

11    reports that so was the crowd.

12                 (Video playing)

13    Q.   Fair to say -- would you say the situation was stable

14    for --

15                 MR. GORDON:   Let's pause and stop there.

16    Q.   Okay.   So I've paused at two minutes and 20 seconds into

17    the video.

18                 Do you see a change at that moment?

19    A.   Yes.

20    Q.   Okay.   What happened?

21    A.   The police line was breached.

22    Q.   In only one place?

23    A.   Oh, everywhere.     The entire line.

24    Q.   Okay.   Prior to that, would you describe the situation

25    as stable, or no?
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 1    A.   No, still not.

 2    Q.   Why not?

 3    A.   Because they were still within the perimeter.

 4    Q.   What happened to cause the police line to fail like

 5    that?

 6    A.   It's just the sheer amount of protesters that were out

 7    there.     The police were outnumbered.

 8                 MR. GORDON:    Press "play," please.

 9                 (Video playing)

10    Q.   Now, all these officers we see --

11                 MR. GORDON:    Pause it.

12    Q.   -- are they working together in a coordinated effort

13    according to a Capitol Police tactical plan where everybody

14    knows exactly what to do?

15    A.   No.    I wouldn't say it was that kind of a plan.        But I

16    would say civil disturbance training is kind of the same

17    over multiple police departments, and everybody was using

18    their particular training from their particular department

19    at that time.

20    Q.   Let me ask you another way.

21                 Did platoons stay intact, or not?

22    A.   No, they didn't.      They broke down because they were

23    trying to keep police lines to keep the crowd back, but it

24    eventually just broke down.

25    Q.   Okay.    The groups of officers we see, were they being
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 1    led by a commander they knew and directing them for specific

 2    action?

 3    A.   Yes.

 4    Q.   Was that consistent all the way through, or were there

 5    breakdowns there as well?

 6    A.   Oh, breakdowns there as well.       Because at that point

 7    everybody was just kind of fighting for their lives.

 8                 MR. GORDON:   Continue, please.

 9                 (Video playing)

10    Q.   Now, you said that eventually the police were able to

11    regain control of the Capitol.

12    A.   Yes.

13    Q.   Okay.   Once the Capitol was clear of rioters, was

14    Congress able to start right back up?

15    A.   No.    It took a while.

16                 Once we got all of the rioters out, we still had

17    to go throughout the building and make sure that the

18    building was safe.      So that included going through every

19    nook and cranny to make sure that there were not any

20    explosive devices left, any weapons that may have been left,

21    checking every bathroom, every alcove to make sure no one

22    was hiding out.     So it took a while.

23    Q.   Could you have started that process when there was even

24    one rioter still in the building?

25    A.   No.
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 1    Q.   All right.    I'm now going to show you a series of video

 2    clips very briefly and ask you to identify just the place

 3    that we're looking at.

 4                 MR. GORDON:     Let's start with Government's 101,

 5    and if you pause 15 seconds in.

 6                 (Video playing)

 7                 MR. GORDON:     Let's play it for 15 seconds and then

 8    pause.

 9                 (Video playing)

10                 MR. GORDON:     Actually, pause right now.     Actually

11    one more second.     Now.

12    Q.   Okay.   Do you see the -- I'm going to have to rewind it

13    so you can focus again, but there's -- suddenly I'm not able

14    to draw anymore.     But there's a man with a gray sweatshirt

15    and gray pants standing on the railing.

16    A.   Yes.

17    Q.   First of all, where is this location?

18    A.   These are the stairs on the West Front that lead up to

19    the Upper West Terrace.

20    Q.   And I've paused.       It's a little blurry, so we're going

21    to rewind and play it again.       But do you -- I'm going to ask

22    you if you recognize the person on the screen just to his

23    right, the right of his sort of right leg shin?

24                 We'll back up a couple of seconds and play again.

25    I just want to ask you if you know that person or recognize
 Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 105 of 242      411


 1    that person.

 2                  MR. GORDON:   Ms. Jones, can you rewind to the ten-

 3    second mark and play it again.        You can just drag it in

 4    blue.

 5                  Go ahead and press "play."

 6                  (Video playing)

 7    Q.    And the person in the sunglasses, did you recognize that

 8    person?

 9    A.    No.

10                  MR. GORDON:   Let's move on to Government's 102.

11    Q.    Is this the Senate Wing Door again?

12    A.    Yes.

13    Q.    All right.

14                  MR. GORDON:   We're going to pause at the 23-second

15    mark, and a yellow arrow is going to appear.          I want you to

16    tell me if you know the person indicated by the yellow

17    arrow.

18                  (Video playing)

19                  MR. GORDON:   It's okay.   Keep going.    There you

20    go.

21    Q.    Do you know the person indicated by the yellow arrow?

22    A.    No.

23    Q.    Okay.   Is this, again, the Senate Wing Door, though?         Is

24    that what you said?

25    A.    Yes.
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 1                   MR. GORDON:   All right.   Can we have 103, please.

 2    Q.     All right.   What are we looking at?     What's the view in

 3    103?

 4    A.     We're in the Crypt.

 5    Q.     What is the Crypt?

 6    A.     The Crypt is in the center of the building right below

 7    the Rotunda.

 8    Q.     And what is the Rotunda?

 9    A.     That is the room that is directly below the dome.

10    Q.     How would you describe the Rotunda visually?

11    A.     A big round room with lots of art, pictures -- I mean,

12    portraits.      Very ornate.

13                   MR. GORDON:   Okay.   104, please.

14    Q.     What are we looking at in 104?

15                   MR. GORDON:   Oh, not yet.   You can't see it.

16    Sorry.

17    Q.     What are we looking at in 104?

18    A.     Another view of the Crypt.

19                   MR. GORDON:   Okay.   Let's go to 105.

20    A.     This is the alcove right outside the Crypt.

21    Q.     Okay.   So if you walk out of the Crypt, you'd arrive

22    here?

23    A.     Yes.

24                   MR. GORDON:   Okay.   Can we fast forward to the 53/

25    54-second mark, and maybe a little bit further.
 Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 107 of 242   413


 1                 No, we can pause.

 2    Q.   In the center of the screen next -- the center bottom,

 3    you can see an American flag, and then a person just to the

 4    left wearing a red hat, and a person sort of above the flag

 5    with another red hat, and there's a person with a black hood

 6    between the two of them.

 7                 Do you know that person?

 8    A.   No.

 9    Q.   Okay.

10                 MR. GORDON:   Can we have 107, please.

11    Q.   What's 107?

12    A.   This is Statuary Hall.

13    Q.   And what is Statuary Hall?

14    A.   It's on the second floor of the Capitol building; and

15    this is, just as it says, a room full of statues.

16    Q.   Okay.   How do you get from the area we were just looking

17    at before, that alcove outside the Crypt, how do you get to

18    this area, Statuary Hall?

19    A.   Stairs.   There's a stairway there.       You can take the

20    stairs up.

21    Q.   Is it right there, or do you have to go somewhere else?

22    A.   It's down a little bit, but there's a stairway right

23    there that comes right up.

24    Q.   All right.

25                 MR. GORDON:   Can we now have 108.
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 1    Q.   All right.    What are we looking at in 108?

 2    A.   This is a hallway outside of Statuary Hall.

 3    Q.   Okay.   So if you walk through Statuary Hall, you'd

 4    arrive here?

 5    A.   Yes.    It's like a connecting corridor before you get to

 6    the House Chamber.

 7                 MR. GORDON:   109, please.

 8                 (Video playing)

 9    Q.   Okay.   What are we looking at in 109?

10    A.   This is the hallway right outside of the House Chamber.

11    Q.   Okay.   So is this where you would get to if you walked

12    through the hallway we were looking at in the previous

13    video?

14    A.   Yes.

15                 MR. GORDON:   Can we have 110, please.

16                 (Video playing)

17    Q.   And what's 110?

18    A.   Again, hallway outside of the House Chamber.

19    Q.   Okay.   Is this where you would get if you walked down

20    the hallway we were just looking at in 109?

21    A.   Yes.

22                 MR. GORDON:   Can we fast forward to the 32-second

23    mark.

24                 (Video playing)

25    Q.   Do you know that person in the sunglasses facing the
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 1    camera?

 2    A.   No.

 3                 MR. GORDON:   All right.    Can we have 111, please.

 4                 (Video playing)

 5    Q.   Okay.   What are we looking at in 111?

 6    A.   Second floor again outside of the House Chamber.

 7    Q.   Is this the same area we were just looking at, just from

 8    a different angle?

 9    A.   Yes.

10                 MR. GORDON:   All right.    Let's have 112, please.

11                 (Video playing)

12    Q.   All right.    What are we looking at in 112?

13    A.   Again, still second floor outside of the House Chamber,

14    but now we're looking at the door that leads out to the East

15    Front.

16    Q.   Okay.   And is this one of the magnetometers you were

17    describing previously?

18    A.   Yes.

19    Q.   Is there one of those at every exit and entrance?

20    A.   Yes.

21                 MR. GORDON:   All right.    Can we have 113, please.

22                 (Video playing)

23    Q.   All right.    What are we looking at in 113?

24    A.   This is an outside view of that same door that leads out

25    to the East Front.
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 1    Q.   Okay.   Do you recognize the person that we've paused at

 2    the bottom of the screen nine seconds in --

 3    A.   No.

 4    Q.   -- the one with the American flag draped around the

 5    person's shoulders?

 6    A.   I don't know who that is.

 7    Q.   Okay.   Captain Summers --

 8                 MR. GORDON:   You can take all that down,

 9    Ms. Jones.

10    Q.   -- did any of the rioters have permission to be inside

11    the Capitol?

12    A.   No.

13    Q.   Why didn't the Capitol Police just lock the doors and

14    arrest everybody inside?

15    A.   There wasn't enough police officers for that.          There

16    just weren't enough.

17    Q.   Can you expand on what you mean by that?

18    A.   There just wasn't -- it's kind of when you're doing

19    that, it's a one-on-one thing, you would have an officer

20    arrest a person; and there just wasn't enough to do that.

21                 The only thing you had to do first was get control

22    of the situation, get control of the building before you

23    could do that.     And we were just way outnumbered before we

24    could do even -- even think about making arrests.

25                 MR. GORDON:   All right.    Your Honor, one moment,
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 1    please.

 2                 (Pause)

 3                 MR. GORDON:    Thank you, Your Honor.     No further

 4    questions.

 5                 THE COURT:    Mr. Garrity, Mr. Monteith.

 6                               CROSS-EXAMINATION

 7    BY MR. MONTEITH:

 8    Q.   Good afternoon.

 9    A.   Good afternoon.

10    Q.   Excuse me, I've been sitting for a while.

11                 Attorney Gordon, during direct examination, asked

12    you a couple of questions towards summarizing what happened

13    to some Capitol Police officers.

14                 Do you recall that question?

15    A.   Yes.

16    Q.   And some have been hurt in different ways, right?

17    A.   Yes.

18    Q.   And some had been hit by bear spray?

19    A.   Yes.

20    Q.   And you elaborated a little bit about that, right?

21    A.   Yes.

22    Q.   Certainly you are not alleging or inferring at all that

23    Ms. Niemela touched a police officer?

24    A.   No.

25    Q.   Shoved a police officer?
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 1    A.   No.

 2    Q.   Yelled at a police officer?

 3    A.   No.

 4    Q.   Used bear spray?

 5    A.   No.

 6    Q.   Vandalized any property?

 7    A.   No.

 8    Q.   No evidence whatsoever of that, right?

 9    A.   No.

10    Q.   And no -- you're not even inferring that she did that.

11    A.   No, sir.

12    Q.   Okay.   In fact, you can't identify her, right?

13    A.   No, sir.

14    Q.   This is the first time you've ever seen her?

15    A.   Yes.

16    Q.   Okay.   Thank you.

17                 It appears to me that you are a very dedicated

18    captain now, and you've given a lot of your life to the U.S.

19    Capitol Police.     Right?

20    A.   Yes, sir.

21    Q.   You are -- did you say 23 years on?

22    A.   Yes, sir.

23    Q.   Okay.   And you moved -- it sounds like you worked your

24    way up the ranks.

25    A.   Yes, sir.
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 1    Q.   That being said, you've been to the Capitol thousands of

 2    times.

 3    A.   I could say that, yes.

 4    Q.   All right.    You are infinitely -- I mean intimately

 5    familiar with the Capitol building?

 6    A.   Yes.

 7    Q.   Right?

 8                  And when -- and you're also intimately familiar

 9    with the grounds of the Capitol, right?

10    A.   Yes.

11    Q.   You've been there thousands of times?

12    A.   Yes.

13    Q.   And it's your job to know that, right?

14    A.   Yes.

15    Q.   Okay.    So -- and this is just a very basic question --

16    when you're on the west lawn of the Capitol on any day,

17    right?

18    A.   Yes, sir.

19    Q.   We won't use January 6th as an example, but any day.

20    And you are -- just say you're walking towards the

21    stairwell.     Do you follow where we're at?

22    A.   Which stairway, sir?

23    Q.   Okay.    So we'll call it the one that's on the Senate

24    Wing Doors to the left.

25    A.   Okay.
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 1    Q.   Okay.    So walking towards the Capitol steps on the West

 2    Plaza, and you look up, right?

 3    A.   Yes, sir.

 4    Q.   There's a big wall, right?

 5    A.   Yes, sir.

 6    Q.   Right?    It's perhaps higher than the ceiling here?

 7    A.   Possibly.

 8    Q.   Okay.    And when you look up, there's a terrace.

 9    A.   Yes, sir.

10    Q.   Okay.    And behind the terrace, as we've seen in the

11    government's exhibits, to the left there's sort of an

12    entranceway, right, to the Senate Memorial Doors?

13    A.   The Senate Memorial Doors.       I'm not familiar with the

14    Senate -- are you talking about the Senate Wing Doors?

15    Q.   My bad.    Senate Wing Doors.

16    A.   Yes, sir.

17    Q.   Right?    In fact, we were shown videos of somebody

18    kicking those doors from the inside?

19    A.   Yes, sir.

20    Q.   Okay.    So backing up a little bit, when you're on that

21    lawn, and you're looking up, right?

22    A.   Yes, sir.

23    Q.   All right.    You cannot see the Senate Wing Doors?

24    A.   No, sir.

25    Q.   There is first the wall.      There's a terrace.     Right?
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 1    A.   Yes.

 2    Q.   A distance to the doors?

 3    A.   Yes.

 4    Q.   And sort of like a small corridor, for lack of a better

 5    term?

 6    A.   Yes.    That's a good way to describe it.

 7    Q.   Okay.    But point being, nobody can see what's happening

 8    if they're on the west lawn and they're looking up in that

 9    direction at the Senate Wing Doors, right?

10    A.   Correct.

11    Q.   Okay.    Now, we were shown during direct examination some

12    videos.     And I'd like to ask you a couple of questions about

13    them, but I don't think we have to go through them again.

14    The jury has them in evidence.

15                 You would agree with me that the first breach

16    occurred -- of the red perimeter -- at 12:54?

17    A.   Approximate.

18    Q.   Okay.    And you testified to that in the Fitzsimons

19    trial, right?

20    A.   Yes.

21    Q.   All right.    And when you testified at that Fitzsimons

22    trial, you told the truth, right?

23    A.   Yes.

24    Q.   And you swore to tell the truth, right?

25    A.   Yes.
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 1    Q.   And in that trial you said, I believe, it was 12:57,

 2    12:58.     Is that fair?

 3    A.   I don't remember everything that I said during that

 4    trial.

 5    Q.   Okay.

 6    A.   It's been a long time.

 7    Q.   Well, the video that we were shown today was 12:54.

 8    A.   Okay.

 9    Q.   My point being, you would agree with me that that red

10    perimeter was breached before 1:00 on January 6th?

11    A.   Yes.

12    Q.   Okay.    And can you tell us where Ms. Niemela was before

13    1:00?

14    A.   No.

15    Q.   Okay.    Now, when you say "breached," there are bike

16    racks, right?

17    A.   Yes, sir.

18    Q.   Those bike racks were removed, right?

19    A.   Yes, sir.

20    Q.   When -- and it isn't until an hour and -- I'll just

21    round it a little bit -- but an hour and 15 minutes later

22    the Senate Wing Doors are breached, right?

23    A.   Yes.

24    Q.   So from 1:00 the bike racks are gone, right?

25    A.   Yes, sir.
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 1    Q.   There are thousands of people walking towards the

 2    Capitol, right?

 3    A.   Yes, sir.

 4    Q.   Okay.   You don't know when Ms. Niemela got to -- I guess

 5    we'll call it the Peace Monument?

 6    A.   No, sir.

 7    Q.   All right.    And then you don't know when she was in that

 8    tree, right?

 9    A.   No, sir.

10    Q.   Okay.   Then we were shown a video that began at 2:09,

11    right?    And Attorney Gordon stopped you.       That was when

12    people were going upstairs, right?

13    A.   Yes, sir.

14    Q.   Certainly you're not telling us Ms. Niemela is going up

15    the stairs at 2:09, right?

16    A.   I do not know if she was or not.

17    Q.   And you're not telling the jury that she was, right?

18    A.   No, sir.

19    Q.   Okay.   And at 2:11 we were shown a video of the Upper

20    West Terrace, right?

21    A.   Yes, sir.

22    Q.   And you're not saying that Ms. Niemela was in that

23    video, right?

24    A.   No, sir.

25    Q.   And that's just the flat level after you go up the
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 1    stairs, right?

 2    A.   Yes, sir.

 3    Q.   Okay.   And at 2:13 we watched the video with somebody

 4    breaking the window, right?

 5    A.   Yes, sir.

 6    Q.   Jumping through the window, right?

 7    A.   Yes, sir.

 8    Q.   Several people going through?

 9    A.   Yes, sir.

10    Q.   And I believe like two people kicking the door, right?

11    A.   Yes, sir.

12    Q.   You're not saying or inferring at any point Ms. Niemela

13    was there?

14    A.   No, sir.

15    Q.   Okay.   At 2:48 there was another door that was breached,

16    right?

17    A.   Yes, sir.

18    Q.   And that's not the Senate Wing Door, right?

19    A.   I think we were talking about the parliamentarian door.

20    Is that the door that you were talking about at that time?

21                 We still call it a Senate Wing Door because it's

22    on the Senate Wing, but yes, that door was breached.

23    Q.   Ms. Niemela is not there?

24    A.   No, sir, not that I could see.

25    Q.   You're not inferring that she was there?
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 1    A.   No, sir.

 2    Q.   Okay.   The time lapse video, right?

 3    A.   Yes, sir.

 4    Q.   Well, let me back up a little bit.

 5                 Do you know what stairs Ms. Niemela allegedly went

 6    up to get to the terrace?

 7    A.   No, sir.

 8    Q.   All right.    Would you disagree with me if I told you

 9    that that video that the government showed the jury had

10    nothing to do with the area that Ms. Niemela walked up?

11    A.   I would not disagree.

12    Q.   Okay.   Would you agree with me that the timing on

13    that -- in the time lapse on that video is inaccurate and

14    not correct?

15    A.   As far as...?

16    Q.   The time, as in it shows a breach at -- that line being

17    breached at 14:30.

18    A.   Okay.

19    Q.   Okay?

20    A.   Yes, sir.

21    Q.   14:30 is military time for 2:30, correct?

22    A.   Yes, sir.

23    Q.   And because of the compression and the way -- I guess

24    the way it was compressed, the timing on that video was off.

25    A.   Possibly.
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 1    Q.   Okay.   In fact, we know that the timing on the breach is

 2    correct at 2:13, right?

 3    A.   Correct.

 4    Q.   Okay.   Do you know why we would -- I don't have a

 5    question regarding that.

 6                 MR. GORDON:    Objection, Your Honor.     Argument.

 7    That's why there's no question.

 8                 THE COURT:    Sustained.

 9    Q.   Can you tell us where Ms. Niemela was when the snow

10    fences were removed?

11    A.   No, sir.

12    Q.   Can you tell us where she was when the bike racks were

13    removed?

14    A.   No, sir.

15    Q.   Can you tell us when she was present on the lawn?

16    A.   No, sir.

17    Q.   All right.

18                 MR. MONTEITH:   I really don't think I have any

19    other questions.     Thank you.

20                 THE WITNESS:    Thank you, sir.

21                 MR. GORDON:    All right.

22                 THE COURT:    Mr. Gordon?

23                 MR. GORDON:    No redirect, Your Honor.

24                 THE COURT:    Ma'am, you're excused for the day.

25    Thank you very much for your testimony.         Don't discuss your
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 1    testimony in this case until this case is over, okay?

 2                THE WITNESS:    Yes, sir.

 3                THE COURT:    Have a nice day.

 4                MS. ARCO:    Your Honor, the government calls

 5    Officer Brooke -- Lieutenant Brooke Detorie.

 6                THE COURT:    Very well.

 7                Counsel, should we take our lunch break now, or

 8    should we wait 15 minutes and get started?

 9                Ladies and gentlemen of the jury, would you prefer

10    to get started with our next witness or take our lunch break

11    now?   I'm seeing a couple of these (indicating) which means

12    lunch.

13                We're going to take our lunch break now.           It's

14    12:30.    Why don't we reconvene at about 1:40.        Okay?    So an

15    hour and ten minutes.

16                No discussions about the case.       No research about

17    the case.

18                And, ladies and gentlemen, before you leave, I

19    probably should have mentioned this this morning, but you're

20    obviously all wearing masks.       As your first sort of test

21    deliberation, if you all decide unanimously that you would

22    like not to wear masks, I will allow that.         But if -- we're

23    now a collective.     We're not just individuals.       And if one

24    of your members would prefer to keep their masks on, then

25    everyone should remain masked.
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 1                So I will allow you all to discuss that in any way

 2    that you'd like over the lunch break.         Okay?

 3                (Jury exits courtroom)

 4                THE COURT:    All right.    See you at 1:40.

 5                (Lunch recess taken)

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 1                    A F T E R N O O N      S E S S I O N

 2                THE COURT:    All right.    Please be seated.     Welcome

 3    back, everybody.

 4                Did you have a nice lunch?       Good.

 5                All right.    Mr. Gordon, would you like to call the

 6    government's next witness?

 7                MR. GORDON:    Yes, Your Honor.     The United States

 8    calls Lieutenant Brooke Detorie.        And Ms. Arco will be

 9    questioning her.

10                THE COURT:    Ms. Detorie, if you could stand and

11    raise your right hand to be sworn by the courtroom deputy.

12                      LIEUTENANT BROOKE DETORIE, Sworn

13                              DIRECT EXAMINATION

14    BY MS. ARCO:

15    Q.   Good afternoon, Lieutenant.

16    A.   Good afternoon.

17    Q.   Would you please state and spell your name for the

18    record.

19    A.   Of course.    It's Brooke Detorie; B-R-O-O-K-E, last name

20    is D-E-T-O-R-I-E.

21    Q.   And what do you do for a living?

22    A.   I'm a lieutenant for the United States Capitol Police.

23    Q.   And how long have you been with the Capitol Police?

24    A.   Coming up on my twentieth year.

25    Q.   Wow.   What kind of training have you had for this job?
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 1    A.   We begin first with basic training down in Glynco,

 2    Georgia, for a period of 12 to 13 weeks; and then we come

 3    back up to Cheltenham, Maryland, and we go through Capitol

 4    Police-specific training for about the same period of time.

 5    So about six months of training.

 6    Q.   Okay.   And how many demonstrations or protests have you

 7    worked in your time with the Capitol Police?

 8    A.   It would be difficult to give a number, but it's been a

 9    great deal of them.

10    Q.   Ten?    Dozens?   Hundreds?

11    A.   Hundreds.

12    Q.   Okay.

13    A.   Yes.

14    Q.   Directing your attention to the day of January 6, 2021,

15    were you scheduled to work for U.S. Capitol Police on that

16    date?

17    A.   Yes.

18    Q.   What was your scheduled shift?

19    A.   0700 was my start that day.

20    Q.   Okay.   That's 7:00 a.m.?

21    A.   7:00 a.m.

22    Q.   What was your assignment for the day?

23    A.   At the time I was a sergeant assigned to the House

24    division, which is a different part of the Capitol campus.

25    So I did not have an assignment at the Capitol building that
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 1    day but rather in the House congressional buildings.           And I

 2    oversaw a group of probably -- there were probably 100

 3    officers on duty that day.       I was responsible for about 40

 4    of them at the time.

 5    Q.   Okay.    And you said House congressional buildings.

 6    Could you explain where those are in relation to the Capitol

 7    building?

 8    A.   So they're going to be south of the Capitol building,

 9    and they're the Cannon House Office Building, the Longworth

10    House Office Building, the Rayburn.        And then there's two

11    buildings on the southwest side that are the O'Neill and

12    Ford, and that handles most of the administrative stuff.

13    Q.   And those set of buildings, are those all part of the

14    Capitol Complex?

15    A.   Yes.    We refer to Capitol Hill as the campus or Capitol

16    Hill.    And then we're narrowed down into smaller manageable

17    areas of responsibility.       So that day I was responsible for

18    the House side.

19    Q.   Okay.    Were you in any particular building on the House

20    side, or...?

21    A.   No.    Mostly I had just an assignment up to the officers,

22    so just those buildings, not in any one in particular.

23    Q.   Okay.    Did you witness any violence on January 6, 2021?

24    A.   I did.

25    Q.   Okay.    Describe to us the first violent scene you
 Case 1:21-cr-00623-CRC Document 120-14 Filed 05/24/23 Page 126 of 242    432


 1    encountered that day.

 2    A.   So I first responded to the Upper West Terrace of the

 3    Capitol building responsive to the radio calls for help, and

 4    that's when we encountered injured officers and -- so from

 5    there, I'm at a much higher point in the Capitol, so you can

 6    see out onto the West Front.        And you can see people coming

 7    as far -- as far as my eyesight could see, I could see the

 8    crowds coming.

 9    Q.   Okay.   I'm going to show you Government Exhibit 208,

10    please, which has already been admitted into evidence.

11                 MS. ARCO:   And can you please publish from

12    counsel's table?     Thank you.

13    Q.   Can you show the jury -- I know it's a little small,

14    maybe we can zoom in.

15                 MS. ARCO:   Perfect.    Thank you so much.

16    Q.   Can you show the jury where the Upper West Terrace is?

17    And you can just make a mark on your screen.

18    A.   Of course.    So it's in here (indicating).

19    Q.   And so you were describing radio traffic.         What specific

20    radio traffic were you responding to?

21    A.   So there were numerous calls for assistance, and then

22    for us we refer to it at 10-33s.        That's going to be an

23    officer in trouble.      So that's when somebody is calling

24    saying that no matter what you're doing, drop it, respond, I

25    need your help.
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 1    Q.   Okay.   Describe for us the scene when you got to the

 2    Upper West Terrace.

 3    A.   So responding, I was responding from the interior of the

 4    building.    The House division is connected by tunnels.           So I

 5    responded from underground and into the -- that point.             And

 6    the air had already filled with like the smoke from the mace

 7    and the pepper balls and the smoke rings they were trying to

 8    deploy to get the crowds to push back.         So that was already

 9    sort of filtered into the building because they were opening

10    the door to bring officers who needed assistance in at the

11    time.

12    Q.   Okay.   And so you said they were deploying.        Who were

13    you referring to?

14    A.   The Capitol Police.     We have a less lethal team, a few

15    officers assigned that day whose responsibility was only to

16    engage if a demonstration or riot required them to use the

17    weapons that they're trained on to push crowds back.

18    Q.   Okay.   And those included what you described.         Mace?

19    A.   Yes.

20    Q.   Pepper balls?    Smoke canisters?

21    A.   Yes.

22                 THE COURT:   Lieutenant, if you could just wait

23    until she finishes her question, because the court reporter

24    can't pick up both at the same time.

25                 MS. ARCO:    Thank you, Your Honor.
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 1    Q.     How prevalent was the smoke from where you were

 2    standing?

 3    A.     It was nearly impossible -- it was shocking that the

 4    group wasn't -- the rioters weren't being pushed back

 5    because it was hard to, like, continue because you were

 6    immediately overcome by it.

 7    Q.     Okay.   So from where you were standing, you felt it

 8    personally?

 9    A.     Yes.

10    Q.     Okay.   And how did that feel?    What kind of effects were

11    you experiencing?

12    A.     Your eyes will begin to water.     Your nose will begin to

13    run.    Coughing.   You want to close your eyes.       You want to

14    rub your eyes.      You want to dump water on your face.

15    Q.     Okay.   And, again, just to orient the jury, you were on

16    the Upper West Terrace.      And where are the rioters in

17    relation to you from what you can see?

18    A.     So it's tiered.   They are ground level.      And I would say

19    that I was several stories up at that point.

20    Q.     Okay.

21    A.     So -- and there's also a blind spot there.       So if they

22    had made it up to our Lower West Terrace, I wouldn't have

23    known that at the time.

24    Q.     Okay.   But is it safe to say that the less lethal stuff,

25    you know, the gas canisters, et cetera, were being deployed
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 1    below you?

 2    A.   Yes.

 3    Q.   And not exactly where you were?

 4    A.   Yes.    So they -- it was all blowback.

 5    Q.   Okay.    So you were feeling it from several stories above

 6    where it was being deployed?

 7    A.   Yes.

 8    Q.   Okay.    So at the point when you're on the Upper West

 9    Terrace, what are you doing there?

10    A.   So without a -- you know, without ever having

11    experienced something like that before, you just took over

12    with what needed to be done in that moment.          So the first

13    thing that I did was there was a severely injured

14    Metropolitan Police officer who was -- had an eye injury,

15    and there -- we didn't at that moment have a way to get him

16    medical treatment, you know, at a higher level than like the

17    first aid that we have.      So I took him over to -- on the

18    House side, in the Longworth building, they have an office

19    of attending physician to get him additional medical

20    assistance.

21    Q.   Okay.

22    A.   So that took me away from the Capitol back over to the

23    House side underground.

24    Q.   So did you personally witness any violence between the

25    rioters and police while you were on the Upper West Terrace?
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 1    Personally did you witness?

 2    A.   No.

 3    Q.   Okay.   Based on what you were witnessing from there,

 4    your experience with that injured officer, et cetera, was

 5    what you were witnessing, did it seem like a peaceful

 6    protest based on your experience in the past?

 7    A.   No.

 8    Q.   Why?

 9    A.   So typically what I would consider a peaceful protest

10    would be a First Amendment demonstration.         Every

11    demonstration up until that point, they've been compliant

12    with police direction.      Our less lethal team has never had

13    to deploy, since I've been on the department that I can

14    recall, any of the munitions that they used that day because

15    we've been able, through police presence and through verbal

16    commands, to gain the control of the group.

17                 That didn't occur on January 6th.

18    Q.   Okay.   Did you or your fellow officers ever have to

19    retreat due to the actions of the rioters that day?

20    A.   Numerous times.

21    Q.   Okay.   Were you receiving directions as all this was

22    going on, or were you -- was it more like an

23    all-hands-on-deck situation, or what end of the spectrum?

24    A.   It was -- we were not getting directions.         There was

25    little direction to give because anyone involved was
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 1    responding from different areas of responsibility.           So there

 2    wasn't any one place to form up and give direction.           You

 3    just had to react based on what was occurring right in front

 4    of you.

 5    Q.   Okay.   After assisting colleagues and MPD officers on

 6    the Upper West Terrace, where did you go from there?

 7    A.   So at that point I was back in the Longworth building,

 8    and I came back to the U.S. Capitol building.

 9    Q.   Okay.   So you went from Upper West Terrace to the

10    Longworth building?

11    A.   Uh-huh.

12    Q.   And Longworth is one of those House buildings that you

13    were describing earlier?

14    A.   Yes.

15    Q.   Okay.   And then you went back to the Capitol, you said?

16    A.   Yes.

17    Q.   Okay.   Did you take anyone with you?

18    A.   Yes.

19    Q.   Approximately how many people?

20    A.   Out of 14 -- I had 14 volunteers to go with me, and I

21    took ten.

22    Q.   Okay.   And volunteers, you mean fellow officers?

23    A.   Fellow officers that wanted to go.

24    Q.   Okay.   Can you generally describe your activities over

25    the next two hours?
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 1    A.   Yes.    So we -- not having a clear picture, what we first

 2    thought the ten of us would be able to do would be to

 3    apprehend anyone in the building, place them under arrest,

 4    take them to our headquarters, and process them.

 5                 It's hard in hindsight to understand that we don't

 6    have a full picture.      We're over here.     We don't have

 7    cameras or we can't see what's going on.         So we're just

 8    responding.

 9                 So the first people we encountered, I directed my

10    officers to place them under arrest, to search them, and

11    then pass any weapons or paraphernalia they found back to me

12    to maintain chain of custody.

13    Q.   Were any paraphernalia or weapons recovered from anyone

14    you arrested?

15    A.   Yes.

16    Q.   Describe.

17    A.   Three -- at least three knives, a magazine filled with

18    ammunition, a taser.      And then shortly thereafter somebody

19    behind the group sprayed the officers and myself down with

20    what was later found to be brake fluid.         So that was also

21    grabbed from their hands, but it had already impacted all of

22    the officers who were responding at that time.

23    Q.   Okay.    At some point during those two hours did you make

24    it to the Crypt area of the Capitol?

25    A.   Yes.
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 1    Q.   Okay.

 2                 MS. ARCO:    If you could pull up Government Exhibit

 3    209, and if you could publish.

 4    Q.   Can you show the jury -- or what are we looking at?

 5    A.   This is a blueprint of the U.S. Capitol building.

 6    Q.   Okay.   And can you show the jury where the Crypt is?

 7    You can mark the screen.

 8    A.   Yes.    (Witness complies)

 9    Q.   Okay.   So right in the dead center of the Capitol

10    building?

11    A.   Yes.

12    Q.   Okay.   And is this on the first floor?       Second floor?

13    Third floor?

14    A.   I don't know.

15    Q.   Okay.

16    A.   The Capitol is subterranean in some levels, so I'm

17    sorry, I just don't know.

18    Q.   Okay.   Do you know if it's toward the top?        Toward the

19    bottom?

20    A.   It's in the middle, so like Rotunda and then Crypt.

21    Q.   Okay.   So the Rotunda's above the Crypt?

22    A.   Yes.

23    Q.   Okay.   Thank you.

24                 What did you observe when you got to the Crypt?

25    A.   It looked like, when I got there, that we -- there were
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 1    officers attempting to form what we would call a police line

 2    to try to stop the group from advancing further into the

 3    building.    Nobody was directing this, but it was just sort

 4    of instinctual:     Like, how can we stop this?       So the few

 5    that were there did attempt that just to form a police line

 6    and stop the group from advancing.

 7    Q.   Okay.

 8                 MS. ARCO:    I'm going to show you Government

 9    Exhibit 103.     And I think I'll man it from here.       Thank you.

10                 So if we could publish -- which has already been

11    admitted into evidence, and if we may publish from the

12    podium here?

13                 I appear to be plugged in.      Do you know?

14                 Can you pull Exhibit 103?     Thank you.

15                 THE COURT:   Lieutenant, if you hit the green

16    arrow, it will clear the legend.        Thank you.

17                 MS. ARCO:    Okay.   And you can pause right at the

18    beginning.

19    Q.   Okay.    Lieutenant, what are we looking at here?

20    A.   This is security footage from the Capitol building, the

21    Crypt area.

22    Q.   Okay.    Can you please read -- oh, I think it's zoomed in

23    so you won't be able to.

24                 Do you --

25                 MS. ARCO:    Can you please play until second ten,
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 1    Ms. Jones.

 2                   (Video playing)

 3    Q.     Okay.   Do you see yourself in this footage?

 4    A.     I do.

 5    Q.     Okay.   Could you please circle yourself.

 6    A.     (Witness complies)

 7    Q.     Thank you.

 8                   Are there any other Capitol Police officers

 9    visible in this scene?

10    A.     Yes.

11    Q.     Okay.   Approximately how many?

12    A.     Between six and eight.

13    Q.     Okay.   And what are you all doing in this moment?

14    A.     This is where we're attempting to form that police line.

15    Q.     Okay.   And you can X out.   You can clear that.      Thank

16    you.

17                   To your knowledge, were you the only female

18    officer present in this space at this time?

19    A.     To my knowledge, yes.

20    Q.     Okay.   And approximately how many rioters were in this

21    space at this time?

22    A.     Hundreds.

23    Q.     Okay.   How did you feel in this moment?

24    A.     I was transitioned -- like my brain was transitioning to

25    the different tactics I thought we could use.          It seemed
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 1    that each one I kept coming up with, oh, that's not going to

 2    work, or -- so I was, you know, fearful that this group was

 3    going to cause harm to each of the officers and myself.

 4    Q.   Okay.    And why were you fearful?

 5    A.   Because we're greatly outnumbered here.         So this is -- I

 6    mean, I probably put these numbers close to 200.          I don't

 7    know what they actually were.       And there's eight of us.       I

 8    think we do get reinforcements later in the video, but it's

 9    not enough.

10    Q.   Okay.    And so you said you were attempting to form a

11    police line.     Why were you doing that again?

12    A.   To stop them from advancing any further into the

13    building.

14    Q.   Okay.    And do you recall in this moment when you're

15    manning that police line what the rioters were doing in that

16    moment?

17    A.   Yes.    They were yelling at us that we were traitors,

18    things like we should be on their side, cursing at us.

19    Q.   Okay.    How would you describe the vibe of this crowd?

20    A.   Hostile.

21    Q.   "Hostile," you said?

22    A.   Yes.

23                 MS. ARCO:   Okay.   If you could skip to the three-

24    minute-17-second mark, please.

25                 Okay.   And if you can -- can you please clear the
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 1    circle.    Thank you.

 2                 And if you could please play and pause at the

 3    three-minute-38-second mark.

 4                 (Video playing)

 5    Q.   Okay.   Lieutenant, can you please read the time-stamp at

 6    the top-left corner of the screen?

 7    A.   Wednesday, January 6, 2021, 2:24:58 p.m.

 8    Q.   Okay.   And based on what you just saw, does the line

 9    that you and your colleagues formed still appear to be

10    intact?

11    A.   No.

12    Q.   Okay.

13                 MS. ARCO:   Okay.   Can you play again and pause at

14    the four-minute-ten-second mark.

15                 (Video playing)

16    Q.   Okay.   And can you please read the time-stamp now.

17    A.   Wednesday, January 6, 2021, 2:25:30 p.m.

18    Q.   Okay.   And what did we just witness?

19    A.   The crowd overtakes the police line.

20    Q.   Okay.

21                 MS. ARCO:   And if you could please pull up

22    Government Exhibit 502, which has already been admitted into

23    evidence.

24                 And if we could publish from counsel's table.

25                 Hold -- pause.
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 1                 I will bring this over here so the jury can hear

 2    better from the speaker.

 3                 And if you could move to second 41 of the clip,

 4    please.

 5    Q.   Okay.   Lieutenant, do you see yourself in this still

 6    shot?

 7    A.   Yes.

 8    Q.   Okay.   Where are you?

 9                 Yes, please, if you could mark it.

10    A.   (Witness complies)

11    Q.   Thank you.    You can clear it.

12                 And do you recognize anyone else in this still

13    shot?    I know it's hard to see.

14    A.   I recognize one of the sergeants behind me, and then a

15    captain further back.

16    Q.   Okay.   Were any of these individuals part of the group

17    of officers you took with you?

18    A.   No.

19    Q.   So just other people responding to the same area?

20    A.   Yes.

21    Q.   Okay.

22                 MS. ARCO:   All right.    And we're going to play the

23    clip and pause at minute 1:28, please.         But let me just --

24    I'm going to man the volume in case it's too loud.

25                 (Video playing)
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 1    Q.   Okay.   What did we just witness in this clip?

 2    A.   The crowds are getting larger, and they're becoming more

 3    vocal and agitated.      In a moment, you could sense that we

 4    were going to get overtaken soon.        So the discussion is:

 5    What else can we do?

 6    Q.   Okay.   And is this the police line you were forming that

 7    you were describing earlier?

 8    A.   Yes.

 9    Q.   So this video's depicting the same moment just from a

10    different footage, different angle?

11    A.   Yes.

12    Q.   Okay.

13                 MS. ARCO:   If you could play to the one-minute-50-

14    second mark, please.

15                 (Video playing)

16    Q.   What did we just witness?

17    A.   This is when what I just described we think is going to

18    occur does occur.     The crowd breaks through past our police

19    line.    So we're -- the officers are all separated at this

20    point, and now we're forced to decide how to exit safely,

21    which, in that moment, I considered transitioning to my

22    handgun because this group is -- they're -- with our use of

23    force, I would have been authorized.        Our use of force

24    policy, if I'm in fear of grave bodily injury or death, I

25    can use deadly force.
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 1                 That wasn't an option to me at that moment because

 2    weapon retention comes into play.        The gun, if I were to

 3    pull it out, could become a weapon against me or gunshots in

 4    that area could add a different level of response for my

 5    fellow officers with us not knowing where we are in the

 6    crowd.    It's just -- it was a dangerous force option in that

 7    moment.

 8                 So it was just fighting with your hands to get

 9    out, kicking.

10    Q.   So you felt physically threatened in that moment?

11    A.   Yes.

12    Q.   Okay.   Do you see yourself on the screen right now?

13    A.   Yes.

14    Q.   Okay.   Can you circle yourself, please.

15    A.   (Witness complies)

16    Q.   And you can clear it.

17    A.   (Witness complies)

18    Q.   What's going on with you in this moment?

19    A.   I'm just trying to make sure I don't get injured or

20    killed.

21    Q.   Okay.   Was anyone putting their hands on you?

22    A.   Yes.    They were reaching for equipment, trying to take

23    my radio, calling "traitors," you know.

24    Q.   Okay.   Did you try to defend yourself at all?

25    A.   Of course.    Yes, I did.
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 1    Q.   Okay.   How so?

 2    A.   The rioter who reached for my equipment I kicked in his

 3    groin area, which caused him to yell loudly that he was

 4    kicked in the balls, which got the group more frenzied

 5    against me in that moment.

 6                 It's difficult to recall everything that occurred

 7    in that moment because you're in fight-or-flight mode.             So

 8    that's the one thing I do remember, was in that moment I was

 9    like maybe I should have done something a little bit

10    different considering the effects of a woman kicking a man

11    in the groin.     Maybe a different approach would have been

12    better, but it was hard to come up with something to get out

13    of there.

14    Q.   Okay.   So how were you feeling in this moment?

15    A.   Fearful of injury.

16    Q.   Okay.   And if you could please try to keep an eye on

17    yourself as we continue to play the clip to minute 2:08.

18                 MS. ARCO:   If you can pause there, please.

19                 (Video playing)

20    Q.   Okay.   What did we just witness?

21    A.   So the group collapses in.       The rioters are now --

22    there's almost no space to operate.        They over -- most of

23    them are taller than me.       Most of them are larger than me.

24    It's becoming more distressing by the second.

25    Q.   Okay.   And do you see yourself right there?
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 1    A.   I recognize my hair.

 2    Q.   Okay.    Can you circle your hair?

 3    A.   I can.    (Witness complies)

 4    Q.   And you can clear that, please.

 5    A.   Of course.    (Witness complies)

 6    Q.   Did you have your service -- did you have your service

 7    weapon on you at this time?

 8    A.   Yes.

 9    Q.   Okay.    And you said earlier that you were considering

10    drawing it.

11    A.   Correct.

12    Q.   But ultimately why did you decide not to?

13    A.   As you can see, I'm absolutely surrounded, so there's --

14    the opportunity to draw it and maintain it is -- seems like

15    it won't happen.     Like if I were to pull it out, I would

16    lose it.

17                  So I elected not to go that route and just -- we

18    fought our way out of the crowd using hands and feet.

19                  MS. ARCO:   If you could continue to play the clip

20    until the three-minute-five-second mark.

21                  And, again, please keep an eye on yourself.

22                  (Video playing)

23                  MS. ARCO:   Can you press the "Clear" button.

24                  THE WITNESS:   Oh, of course.

25                  MS. ARCO:   Or the arrow, sorry.
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 1                 THE WITNESS:   (Witness complies)

 2    Q.   Were the rioters saying anything to you around this

 3    particular time that you recall?

 4    A.   The theme sort of remained the same.        We were traitors.

 5    "Let us through."     They were screaming lots of things.

 6    Q.   Okay.   Do you recall any specific individuals from

 7    around the time that we just witnessed?

 8    A.   No.

 9    Q.   Okay.   What about any female rioters?       Do you remember

10    any of them specifically?

11    A.   No.

12    Q.   Okay.   Do you recognize the defendant in this case,

13    Ms. Niemela?

14    A.   No.

15                 MS. ARCO:   If you could play the clip again and

16    pause it at the three-minute-13-second mark.

17                 (Video playing)

18                 MS. ARCO:   It's paused at the three-minute-15-

19    second mark.

20    Q.   What are you and your colleagues doing in this moment?

21    A.   So we instinctually, without any planning, are going

22    back to back to make it so that we can evacuate out of the

23    group.

24    Q.   Okay.

25                 MS. ARCO:   And if you could play the clip and stop
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 1    at the three-minute-30-second mark, please.

 2                 (Video playing)

 3                 MS. ARCO:   Okay.    Thank you.

 4                 And if you could please pull up Government's

 5    Exhibit 506, which has been admitted into evidence, and if

 6    you could pause from the beginning.

 7    Q.   I'm going to play it actually the whole way through and

 8    then ask you about it.      Okay?

 9                 (Video playing)

10    Q.   Lieutenant, what did we just witness?

11    A.   This is a closer look of that same video -- it looks

12    like a cell phone video -- of when that group surges.              And I

13    believe it captures when they were attempting to take the

14    radio off of me.     And that's when I kicked the individual to

15    get him off my equipment.        I think that's what that's being

16    captured right there, if I had to guess.

17                 There was the yelling and screaming.       It was hard

18    to discern if that was the rioters or if that was officers.

19    Q.   Okay.   But you heard discussion of a radio?

20    A.   Yes.

21    Q.   Did any of your colleagues get hurt that day?

22    A.   Of the ten officers that I took over with me, three.

23    Q.   Okay.   Were any of them under your supervision?

24    A.   Yes.

25    Q.   I'm sorry.    Do you need a tissue?
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 1    A.   No, that's okay.

 2    Q.   I see you're growing emotional.       What's going through

 3    your mind right now?

 4    A.   I just felt responsible for them in that moment, and I

 5    don't -- I don't like the fact that somebody under my

 6    supervision that day was injured.        You want everybody to go

 7    home --

 8    Q.   Okay.

 9    A.   -- safe and sound.

10    Q.   So two years later, having reflected on this, do you

11    still feel like it was your responsibility?

12    A.   Yes.

13    Q.   Okay.   Anyone else's responsibility?

14    A.   I think all of our -- I think as supervisors, it's our

15    responsibility to keep our officers safe.         But ultimately

16    the people who -- the rioters who entered the building on

17    January 6th are the ones who are responsible.

18    Q.   Thank you for sharing that with us.

19    A.   Yes.

20    Q.   In your career with the Capitol Police, have you ever

21    witnessed something like what you witnessed on January 6th?

22    A.   No.

23    Q.   What was different about this day?

24    A.   You could feel it in the air.       I mean, it was visceral.

25    I mean, the group was -- the numbers were overwhelming.
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 1    Everything that occurred from that -- from the start of the

 2    day to the end of the day I hoped to never encounter, and I

 3    haven't encountered in 19 years on the department.

 4    Q.   Okay.   And -- okay.

 5                 MS. ARCO:   No further questions.      Thank you.

 6                              CROSS-EXAMINATION

 7    BY MR. MONTEITH:

 8    Q.   Good afternoon.

 9    A.   Good afternoon.

10    Q.   So I want to first ask you a couple of questions about

11    the Lower West Terrace, right?        That -- and that was your

12    first, according to your direct examination, your first, I

13    guess, contact with the demonstrations on January 6th.

14    A.   So a little bit higher, the Upper West Terrace.

15    Q.   Yes, okay.    I apologize.

16                 So one thing that you didn't tell this jury is you

17    went from, I believe it's the Longworth building, over to

18    the Upper West Terrace, correct?

19    A.   Yes.

20    Q.   And you didn't tell us what time that was specifically.

21    A.   I don't know.    I'm sorry.

22    Q.   Okay.   But there what you witnessed from the Upper West

23    Terrace was a crowd below, right, and tear gas, right?

24    A.   It was in the air, yes.

25    Q.   In the air.
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 1    A.   Uh-huh.

 2    Q.   But you witnessed it in the air, right?

 3    A.   Yes.

 4    Q.   Is it fair to say it was tear gas from the USCP that had

 5    blown back?     Is that fair to say?

 6    A.   Yes.

 7    Q.   Okay.    You certainly didn't see Ms. Niemela there,

 8    right?

 9    A.   No.

10    Q.   Now, without -- you don't know what time you left the

11    Upper West Terrace.

12    A.   No.

13    Q.   Okay.    You went back to the Longworth building --

14    A.   Yes.

15    Q.   -- with another officer; is that right?

16    A.   The Metropolitan officer, yes.

17    Q.   Metropolitan, okay.

18                 And then took a, for a lack of a better term --

19    it's probably the right term, but you took a team over to

20    inside the Capitol?

21    A.   Yes.

22    Q.   All right.    And that was the Crypt area that we just

23    watched the videos on?

24    A.   Correct.

25    Q.   All right.    And I think you said prior to that you had
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 1    confiscated some weapons from other individuals?

 2    A.   Yes, the first people my team encountered when we headed

 3    over.

 4    Q.   Right, okay.

 5                  And that was bear spray?

 6    A.   Brake fluid.

 7    Q.   Brake fluid, I apologize.

 8    A.   In a spray form.

 9    Q.   In a spray form, okay.

10                  And then focusing on that, weapons, certainly none

11    of that was taken from Ms. Niemela.

12    A.   No.

13    Q.   Right?    Nor a knife?

14    A.   No.

15    Q.   A billy club?

16    A.   No.

17    Q.   A pole?

18    A.   No.

19    Q.   Nothing, right?

20    A.   No.

21    Q.   As far as you know, not one weapon or implement was

22    taken from her, right?

23    A.   Not that I'm aware.

24    Q.   Okay.    So let me back up just a little bit.

25                  You were interviewed by Agent Hastbacka about this
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 1    case?

 2    A.   Yes.

 3    Q.   And that, I believe, was December 15th of 2022, right?

 4    A.   I have no reason to doubt you.

 5    Q.   Does that sound about right?

 6    A.   It does sound right, yes.

 7    Q.   All right.    And when you spoke with him, you told him

 8    the truth, right?

 9    A.   Yes.

10    Q.   And you were, of course, careful to tell him the truth,

11    right?

12    A.   Yes.

13    Q.   And you wanted to help in the investigation, right?

14    A.   Yes.

15    Q.   And so you relayed to him what you knew and what you

16    felt was important as what occurred on the 6th, right?

17    A.   Yes.

18    Q.   Okay.    So he showed you four videos, right?

19    A.   Yes.

20    Q.   And those were the videos that the jury got to see

21    today, right?

22    A.   Yes.

23    Q.   Right.   And he asked you questions about those videos,

24    right?

25    A.   Yes.
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 1    Q.   Okay.   He honed in on what you -- what did you see any

 2    females do, right?      That was one line of his inquiry,

 3    right?

 4    A.   Not his inquiry, no.      I think that was Ms. Arco's.

 5    Q.   Okay.   No, no, no, back in December of 2022, in the

 6    interview with --

 7    A.   If you have something to refresh my memory, but I can't

 8    recall --

 9    Q.   All right.

10    A.   -- in a conversation with him.

11    Q.   Okay.   I can go about it in a different way.

12    A.   Okay.

13    Q.   You watched the videos, and you were asked if you saw

14    any females do anything.       Right?

15    A.   Yes.

16    Q.   And according to the first video, you don't recall any

17    female protester?

18    A.   That's correct, I don't recall any females.

19    Q.   All right.    The second video, same thing.       Right?

20    A.   Yes.

21    Q.   No recollection of any female rioters, right?

22    A.   That's correct.

23    Q.   Same thing with the third, right?

24    A.   Correct.

25    Q.   Okay.   Fair to say it was very loud in the Crypt area,
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 1    right?

 2    A.   Yes.

 3    Q.   You didn't hear any female voices, right?

 4    A.   No.

 5    Q.   All right.    Point being you never saw Ms. Niemela?

 6    A.   No.

 7    Q.   Right?

 8                  She didn't touch you.

 9    A.   No.

10    Q.   Right?

11                  She didn't touch any other officers, right?

12    A.   I can't say that's true.

13    Q.   Okay.    Do you have any evidence of that?

14    A.   I don't have any evidence of that.

15    Q.   Okay.    You have no evidence of her touching any other

16    officer, correct?

17    A.   I don't have any evidence of that, no.

18    Q.   Okay.    You have -- you never heard her chant, right?

19    A.   No.

20    Q.   All right.    You never saw her demonstrate, right?

21    A.   No.

22    Q.   She didn't wave a flag, right?

23    A.   Right.

24    Q.   She didn't damage any property, right?

25    A.   That I saw, no.
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 1    Q.   Okay.   Do you know of any other officer that saw her do

 2    any of those things?

 3    A.   None that I'm aware of.

 4    Q.   Okay.

 5                 MR. MONTEITH:   I really don't have any other

 6    questions for you.      Thank you.

 7                 THE WITNESS:    Okay.   Thanks.

 8                            REDIRECT EXAMINATION

 9    BY MS. ARCO:

10    Q.   Lieutenant, were you looking at your watch that day?

11    A.   Not at all.

12    Q.   And do you remember any specific individual that you

13    interacted with that day of the rioters?

14    A.   No.    It literally became a faceless crowd.       If you

15    haven't been involved in something like that before, it's

16    hard to describe how your body responds, but you try to

17    focus on only the most important details.

18                 So even the person that, you know, I remember

19    directly engaging, I couldn't have picked him out of a line-

20    up that day.

21    Q.   So the one that you kicked --

22    A.   Yes.

23    Q.   -- because he was grabbing at you --

24    A.   Yes.

25    Q.   -- you don't even remember?
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 1    A.   No.   If you asked me to describe him, I would describe

 2    every single person the same way, wearing the same clothing,

 3    even though they're not.       That's what my memory is.

 4                MS. ARCO:    Okay.      No further questions.

 5                THE COURT:      Okay.   Lieutenant Detorie, thank you

 6    very much for your testimony.         You're excused.   Please don't

 7    discuss your testimony with anyone in this case until the

 8    case is over.     Thanks.

 9                MR. GORDON:     All right.     Your Honor, the United

10    States calls Special Agent Elizabeth Glavey.

11                THE COURT:      All right.

12                How's everybody doing, okay?

13                Juror 2, how are you feeling?

14                JUROR NO. 2:     All right.

15                THE COURT:      You're doing all right?     All right.

16                Juror 7, you're closest to me.       How are you doing?

17                JUROR NO. 7:     Oh, I'm well, thank you.

18                THE COURT:      And Juror 1, I can barely see you back

19    there.

20                (To Special Agent Glavey) Hello, ma'am.

21                THE WITNESS:     Hello, Your Honor.

22                THE COURT:      How are you?

23                THE WITNESS:     Good.    How are you, sir?

24                THE COURT:      Okay.   Remain standing and raise your

25    right hand.
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 1                  SPECIAL AGENT ELIZABETH GLAVEY, Sworn

 2                             DIRECT EXAMINATION

 3    BY MR. GORDON:

 4    Q.   All right.    Good afternoon, Special Agent Glavey.

 5    A.   Good afternoon, sir.

 6    Q.   Can you please introduce yourself to the jury.

 7    A.   I'm Elizabeth Glavey with the Secret Service.

 8    Q.   And what do you do for the Secret Service?

 9    A.   I'm a special agent.

10    Q.   What does that mean for those of us who aren't versed in

11    those terms?

12    A.   I'm a federal agent with the Secret Service.         I

13    currently work as an instructor at our training facility.

14    Q.   How long have you been a Secret Service agent?

15    A.   13 years.

16    Q.   Were you working for the Secret Service back on January

17    6, 2021?

18    A.   Yes, I was.

19    Q.   Did you have the same role that day that you have now as

20    an instructor?

21    A.   No, I did not.

22    Q.   What was your role back then?

23    A.   I was an agent on the vice president's detail.

24    Q.   Can you explain to the jury what's entailed in that job.

25    A.   With that job, we're in charge of protecting the vice
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 1    president and his family, and we do that physically.           And

 2    then we also do advance work where we design a security plan

 3    for any venues that the vice president would visit.

 4    Q.   When you say "protect the vice president physically,"

 5    what do you mean?

 6    A.   We're his bodyguards in a sense.

 7    Q.   Is it true what they show us in the movies, that a

 8    Secret Service agent is trained to dive in front of a

 9    bullet, if necessary, for the vice president?

10    A.   Yes, we would.

11    Q.   Have you ever had to do that?

12    A.   No.

13    Q.   What's the closest you ever came to having to do

14    something to physically defend the vice president in your

15    career?

16    A.   It would have been January 6th.

17    Q.   Now, before we get into that, you also mentioned that

18    you do advance work.      Can you explain what advance work is?

19    A.   Advance work is when the vice president would visit a

20    city or a venue that we have not been to before and we are

21    not responsible for.      We go out to that venue, and we design

22    a security plan that would keep the vice president safe, as

23    well as anyone who would be attending the event.

24    Q.   Now, without giving us the actual address, where does

25    the vice president live?       Where does he sleep usually?
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 1    A.   The Naval Observatory.

 2    Q.   And what's his primary work space or working location?

 3    A.   The White House Complex.

 4    Q.   Okay.   Does the White House Complex include any other

 5    large buildings besides the White House itself?

 6    A.   Yes.

 7    Q.   What is that?

 8    A.   The Executive Office Building and the Treasury Building.

 9    Q.   Okay.   Now, other than -- so those four places you just

10    named, so the Naval Observatory, and then those three

11    buildings on the White House campus.

12                 What if the vice president is going to go

13    somewhere else in D.C., whether it be Congress or another

14    federal agency?     If he's going to do that kind of travel, do

15    you do advance work for that?

16    A.   We may or may not, depending on the facility.

17                 If there's a security element that is in charge of

18    that building, we would work in conjunction with them with

19    their security plan.

20    Q.   So let's focus on the Capitol specifically and January

21    6th even more specifically.

22    A.   Okay.

23    Q.   Now, was there a plan for the vice president to be at

24    the Capitol on January 6th?

25    A.   Yes, there was.
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 1    Q.   And why is that?

 2    A.   He was going to certify the vote or the election.

 3    Q.   And what was he required to do that day?

 4                 When you say he's there "to certify the vote,"

 5    what was your understanding as a Secret Service agent what

 6    the day was going to look like?

 7    A.   It was going to be a long day where they just went

 8    through the procedures of certifying the vote; and any time

 9    a state would object to the vote, they would return to their

10    respective sides, deliberate, and then continue on with the

11    vote.

12    Q.   And in order to plan for that, is the Secret Service

13    responsible for the Capitol Complex?

14    A.   No.

15    Q.   Who is usually?

16    A.   The Capitol Police.

17    Q.   So what, if anything, does the Secret Service or did the

18    Secret Service do in advance of January 6th planning for

19    that day?

20    A.   For the Capitol, we have a liaison division that is

21    familiar with the operations at the Capitol and the Capitol

22    security plan.     So for a trip to the Capitol, I would simply

23    have a brief coordination period with our liaison agent and

24    do a quick walk-through and just a rough advance the day of

25    the visit.
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 1    Q.   What does the term "security perimeter" mean to you?

 2    A.   It means a perimeter for what we would deem our secure

 3    area where we would control access coming into and out of a

 4    facility that one of our protectees would visit.

 5    Q.   Got it.   Was there a secure perimeter in place on

 6    January 6th?

 7    A.   There was.

 8                MR. GORDON:    Okay.   Can we have Government's 202,

 9    please.

10                And, Ms. Jenkins, it's from counsel table, when

11    you have a moment.

12                Sorry, Ms. Jenkins, when you have a moment from

13    counsel table, please.      It looks like our cords are in, but

14    nothing was on the screen.

15                The wonders of modern technology, right?

16    Q.   All right.    While we're working on that, Special Agent

17    Glavey, is this the first time you've testified in a January

18    6th related trial?

19    A.   No.

20    Q.   Have you seen a map with a red outline on it?

21    A.   Yes.

22    Q.   All right.    Now, what's the significance of the map with

23    the red outline?

24    A.   It shows the perimeter that the Capitol Police enforced

25    for the Capitol Complex.
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 1    Q.   And was that the same perimeter that the Secret Service

 2    was using as the security perimeter for the vice president?

 3    A.   Yes.

 4    Q.   Okay.   And so what was the Secret Service's

 5    understanding or plan with respect to that area?          What were

 6    you -- what restrictions did you understand to be in place

 7    for that sort of red outline?

 8    A.   That the Capitol Police would enforce the perimeter and

 9    only allow those that were authorized to go into the Capitol

10    that day.

11    Q.   Okay.   And were members of the general public authorized

12    to go?

13    A.   No.    It was closed that day.

14    Q.   Now, if you are setting up this kind of secure

15    perimeter, what kind of parameters or protections do you put

16    in place for the vice president on this or any day?

17    A.   It typically -- it could consist of many things, whether

18    it's bike rack, police vehicles, marked police vehicles, and

19    just vehicle checkpoints.

20    Q.   Do you let a person walk into the same room or area as

21    the vice president without, say, going through a

22    magnetometer?

23    A.   No.

24    Q.   Why not?

25    A.   Because we always want to screen individuals for any
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 1    kind of weapons that could harm the vice president.

 2    Q.   Okay.    Now, walk us through your day on January 6th.

 3    Where did you sort of start your day?

 4    A.   I started my day at the Naval Observatory, which was the

 5    vice president's residence.

 6    Q.   Okay.    And where did you travel after that?       Where did

 7    you go?

 8    A.   I went to the Capitol.

 9    Q.   And who did you go with?

10    A.   One of my co-workers dropped me off, and then I met with

11    my liaison counterpart to conduct a walk-through.

12    Q.   And what did that walk-through consist of?

13    A.   It consisted of going through the movements that the

14    vice president was expected to make that day.          The

15    certification of the vote had a procedure to it, so we went

16    through the procedures and the formal processions that would

17    take place.

18    Q.   And was the vice president with you while you're doing

19    this walk-through?

20    A.   No.

21    Q.   As part of your walk-through, do you create contingency

22    plans for sort of what if an emergency happens?

23    A.   Yes.

24    Q.   Can you explain what you do with that?

25    A.   So we always have in place an emergency plan in the
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 1    event that something were to happen, a safe place that we

 2    could take the vice president, as well as just knowing the

 3    facility as far as any additional rooms that they may go to

 4    unplanned.

 5    Q.   Now, if there was a physical danger to the vice

 6    president where he would need to be evacuated, without

 7    telling us anything that would compromise any future event,

 8    what was the plan in place?       What were you going to do if an

 9    emergency arose at the Capitol?

10    A.   We would either hold in place, if that was the best

11    decision, or we would relocate him to a secure area where we

12    would be safe.     And then as, you know, a last resort, have a

13    plan if we needed to leave the building completely.

14    Q.   Had you identified a place at the Capitol where you

15    could evacuate the vice president to, if necessary?

16    A.   Yes.

17    Q.   And, again, without compromising any security, was that

18    location still on the Capitol grounds somewhere?

19    A.   Yes, it was.

20    Q.   After completing the walk-through, what did you do next?

21    A.   After I completed the walk-through, I then spoke with my

22    supervisors over the telephone and gave them just a quick

23    briefing of how the day would proceed, and to also reiterate

24    our emergency plan.

25    Q.   Okay.   Then what did you do?
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 1    A.    Then I just went to the office and did a few, you know,

 2    administrative things, and was just standing by waiting for

 3    the vice president's arrival.

 4    Q.    So you were waiting where for the vice president's

 5    arrival?

 6    A.    When I waited for his arrival, I waited at the Senate

 7    carriage entrance.

 8    Q.    And is that out on Capitol grounds?

 9    A.    Yes, on the exterior.

10    Q.    All right.

11                MR. GORDON:    Ms. Jenkins, let's see if we can do

12    this from the podium.      Can you give me that?      Let's see if

13    it will pull up.

14                All right.    Well, I'll keep working on this while

15    we're --

16                THE COURT:    Take your time.     Why don't we take --

17    just take two minutes and queue it up.

18                MR. GORDON:    Thank you, Your Honor.      I appreciate

19    it.

20                THE COURT:    Yes.

21                (Pause)

22                MR. GORDON:    All right.    Success.    All right.

23    I'll just do this from the podium.

24    Q.    All right.   Special Agent Glavey --

25                MR. GORDON:    Is this up for everybody?      I think it
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 1    is.

 2    Q.    Do you see what's already in evidence as Government's

 3    Exhibit 302?

 4    A.    Yes.

 5    Q.    You've seen 302 before?

 6    A.    Yes, I have.

 7    Q.    Can you explain what a head of state worksheet is?

 8    A.    It's a notification for the Capitol Police of a head of

 9    state, a visitor to their complex.

10    Q.    And who was the visitor on January 6th?

11    A.    Vice President Michael Pence, Mrs. Pence, and Charlotte

12    Pence.

13    Q.    Who is Charlotte Pence?

14    A.    The vice president's daughter.

15    Q.    Are the vice president's wife and daughter also Secret

16    Service protectees?

17    A.    Yes.

18    Q.    You're also required to take a bullet for them?

19    A.    Yes.

20    Q.    Now, scrolling down to the section here marked

21    "Itinerary."     Can you explain what we're looking at here?

22    A.    This was the estimated itinerary for the vice president

23    that day.    It shows his potential arrival time and the

24    places he would go throughout the Capitol that day.

25    Q.    So when we see in the second column that at 12:30 he was
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 1    expected to arrive via M/C to Senate carriage, what does

 2    "M/C" mean?

 3    A.   Motorcade.

 4    Q.   He's going to be greeted by somebody who's named as the

 5    SSAA.    Do you know who that is?

 6    A.   Sergeant of arms, I believe that stands for.

 7    Q.   Okay.    And what is S-214 as a designation?       What's that

 8    mean?

 9    A.   That's the vice president's office.

10    Q.   Within the Capitol?

11    A.   Within the Capitol.

12    Q.   What does "function, hold" mean?

13    A.   It just means that the vice president would hold in his

14    office for a few minutes.

15    Q.   Meaning you're going to stay put and hang out for a bit?

16    A.   Yes.

17    Q.   When it says "departure via foot en route to the House

18    Chamber, depart time 12:45," is it fair to say that if we

19    were to sort of read this row together, it's vice

20    president's motorcade is going to drop him off at the Senate

21    carriage, he's going to walk to his office, he's going to

22    hang out there for 15 minutes, and then he's going to walk

23    to the House Chamber?

24    A.   That's correct.

25    Q.   And then I see that in the column for arrival time after
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 1    12:55, they all say "TBD."       And on the depart time on the

 2    other side after 12:45, they all say "TBD."

 3                And if we look at the arrival location, we see

 4    House Chamber, back to his office, back to the House

 5    Chamber.

 6                Can you explain sort of just in summary what this

 7    itinerary is sort of telling the reader?

 8    A.   So, again, it's just telling the reader that there will

 9    be multiple processions back and forth between the Senate

10    and House Chambers.

11                Again, any time that a state would object to the

12    vote, they would have to proceed back to the Senate side for

13    deliberation.

14                So they would have several hours to deliberate, so

15    all the times at that point would have to be estimated once

16    the objection started.

17    Q.   Why are you creating this level of sort of granular

18    detail of we're going to walk from this room to that room

19    and maybe we might have to walk over to this room at some

20    point, and then maybe we might have to walk over to this

21    other room at some point, and we might have to walk back and

22    forth?

23                Why go through that level of detail, if you don't

24    know the times?

25    A.   For security reasons, we always have to know where the
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 1    vice president is at all times.        It's important in the event

 2    of an emergency that we would know whether he was on the

 3    House side, Senate side, first floor versus second floor.

 4    We always need to know his location.

 5    Q.   Okay.   Now, on January 6th did this go according to

 6    plan?    For example, was he dropped off via motorcade at the

 7    Senate carriage at 12:30?

 8    A.   Yes, he was.

 9    Q.   Did he go to his office like planned?

10    A.   Yes, he did.

11    Q.   All right.    At some point in the day did things go

12    sideways and the plan had to be thrown out the window?

13    A.   Yes, it did.

14    Q.   All right.    Can you describe what happened?

15    A.   We went and did the -- we started the electoral

16    certification, and then I believe Arizona might have

17    objected.    It was very quickly that there was an objection.

18                 So then we proceeded back to the Senate side, and

19    they began to deliberate.       And while we were on that side,

20    the crowd started coming towards the Capitol.

21                 So at that point, with the crowds coming to the

22    Capitol, it was determined to relocate our motorcade.

23    Q.   Now, let's start with that.       What do you mean, relocate

24    the motorcade?

25    A.   The motorcade for a standard trip to the visit, after
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 1    the vice president is dropped off from the carriage

 2    entrance, the motorcade will relocate to the plaza, and it

 3    will remain in there until it's time for departure.

 4                   So when the crowd started coming, it was

 5    determined to relocate the motorcade to a secure area so

 6    that, if we needed to use it, it was available.

 7    Q.     Just connect the dots for us.     Why?   What was the

 8    problem with where the crowd was versus where the motorcade

 9    was?

10    A.     The crowd was approaching the inner perimeter of the

11    Capitol, and our vehicles were there.         And once you have

12    people around it, it's difficult to safely move the vehicles

13    around the public as well as we certainly want to --

14    wouldn't want to bring the vice president out to the cars

15    again where the public are.

16    Q.     Okay.   So did you move them to another location on the

17    Capitol grounds?

18    A.     Yes.

19    Q.     Where were you while this is happening?

20    A.     I was on the second floor outside the Senate Chamber.

21    And then I was told to walk our route in the event of an

22    emergency, so --

23    Q.     I'm going to stop you there for a second.

24                   So when you say you were outside the Senate

25    Chamber, were you able to look out the window and see what
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 1    was happening with the crowd?       Were you learning about this

 2    from other agents?

 3    A.   At one point I walked over to the window, and I was able

 4    to see the crowds.

 5    Q.   And what did you see?

 6    A.   I saw large crowds that were walking towards the

 7    Capitol, and it was very noisy.        You could hear the yelling.

 8    Q.   Did you see any violence?

 9    A.   No.

10    Q.   Did you see any, you know, tear gas deployed or anything

11    else that you regarded as dangerous?

12    A.   No.    They were too far away at that point.

13    Q.   Okay.    Now, were you in communication with other agents?

14    A.   Yes.

15    Q.   How?

16    A.   Just verbally, face to face, as well as over the radio,

17    the hand-held radio.

18    Q.   And did you have an earpiece in so you could hear

19    others?

20    A.   I did.

21    Q.   And those radio communications, were they recorded

22    ultimately?

23    A.   Yes.

24    Q.   Now, you said you were instructed to walk the route.

25    What's that mean?
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 1    A.   So I was instructed to walk the route that we would

 2    take -- ultimately take the vice president, if we needed to

 3    relocate.

 4                 So I walked the route to ensure that I knew the

 5    route without fail, as well as to make sure that the route

 6    was clear for us to use.

 7    Q.   Okay.   And what did you see when you did that?         Was the

 8    route clear?

 9    A.   The route was clear.

10                 And then, when I returned to get back to the

11    detail, when I was returning to the first floor, I heard

12    glass smash, and when I -- shortly after hearing the glass

13    smash, I saw the protesters entering the building.

14    Q.   Would you consider the route still clear at that point?

15    A.   Not really.    Not -- with the public in view, I would not

16    have brought the vice president down.

17    Q.   So what did you do at that point?

18    A.   At that point I went to the staircase that would lead to

19    the vice president's office.       And when I got to the bottom

20    of the stairwell, I was in eyesight of one of the

21    supervisors.     And at that point I just communicated to him

22    directly that -- what I saw, and, you know, just proceeded

23    from that point on telling him what I was seeing, whether it

24    was clear to bring the vice president down or whether it was

25    not clear to bring the vice president down.
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 1    Q.   Okay.   Did there come a time when you were saying, "It's

 2    not clear; we can't do it"?

 3    A.   Yes.

 4    Q.   Why was that?

 5    A.   Because through a doorway the protesters were entering a

 6    building that was in close proximity to where we needed to

 7    go to get to our route.

 8    Q.   Did you find an opportunity at some point when the route

 9    was clear for a moment?

10    A.   Yes.

11    Q.   Okay.   And what did you do then?

12    A.   We went back and forth several times telling him it was

13    not clear, and then it was clear.

14                 Ultimately I let them know that the protesters had

15    reached the second floor, so at that point time was of the

16    essence.

17                 And shortly after, when I told them it was clear,

18    they decided to make the move, and they proceeded to bring

19    the vice president down the stairwell, and I led the way.

20    Q.   And, again, can you just make that sort of -- connect

21    the last dots for us.      Why was the rioters reaching the

22    second floor of the Capitol significant to you?

23    A.   Because the vice president's office was on the second

24    floor.    That's where he was being held.

25                 So once they reached the second floor, we were
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 1    losing the opportunity to safely bring him down without

 2    seeing any of the protesters.

 3    Q.   If you hadn't been able to extract him, right, if they

 4    had gotten -- if the rioters had moved faster or you had

 5    moved slower, what would you have done?

 6    A.   We would have just secured him where he was.         He was in

 7    a secure spot where he was.

 8    Q.   How many agents did you have with you?

 9    A.   I'd say there were maybe ten of us.

10    Q.   Okay.    You had a gun with you that day?

11    A.   Yes.

12    Q.   How many rounds does your gun carry?

13    A.   I had a different gun.      15.

14    Q.   Did you have any spare clips with you?

15    A.   I did.

16    Q.   How many spare clips did you have?

17    A.   Two.

18    Q.   So 45 rounds, approximately, on you?

19    A.   Approximately.

20    Q.   Were there other -- was there other ammunition in the

21    room where you were sheltering?

22    A.   Just the other agents' weapons.

23    Q.   Other than what other agents --

24    A.   No.

25    Q.   -- had with them, was there a cache of ammunition?
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 1    A.   No, not with us on the second floor.

 2    Q.   So each agent was limited to the rounds in their gun and

 3    any spare clips they had with them?

 4    A.   That's correct.

 5    Q.   Okay.

 6                 MR. GORDON:   All right.    Ms. Jenkins, can we

 7    please have the podium again?

 8    Q.   All right.    Special Agent Glavey, have you seen the

 9    video that I've pulled up as Government's Exhibit 305?

10    A.   Yes.

11    Q.   All right.    And, again, we'll hope the sound works.

12                 (Video playing)

13                 MR. GORDON:   Sorry, we're going to try this with

14    the audio cord and see if it's louder.

15                 All right.    I apologize if this blasts everyone's

16    ears off, and we will quickly reduce.

17                 (Video playing)

18    Q.   Special Agent Glavey, did you hear your own voice on

19    that video?

20    A.   Yes.

21    Q.   And were you the one female voice?

22    A.   Yes.

23    Q.   Now, for somebody who's not involved in this, do you

24    feel like that video sufficiently captures what that

25    experience was like for you?
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 1                   Does it sufficiently capture the emotion and the

 2    feeling and the stress of that moment?

 3    A.     Yes.    It shows more than, you know, I would see.      I had

 4    an archway doorway that I was looking through.

 5    Q.     Were you able to successfully move the vice president

 6    through that path?

 7    A.     Yes, we were.

 8                   MR. GORDON:   I'm now playing what's in evidence as

 9    Government's 304.

10    Q.     Is this video showing the moment when the vice president

11    was evacuated?

12    A.     Yes, it is.

13                   MR. GORDON:   And pausing at the 13-second mark.

14    Q.     Do you see the gray-haired man who just exited the door?

15    A.     Yes.

16    Q.     Do you recognize him?

17    A.     I do.

18    Q.     Who is that?

19    A.     Vice President Michael Pence.

20    Q.     Do you see the woman in the plaid clothing in front of

21    him?

22    A.     Yes.

23    Q.     Who is that?

24    A.     Charlotte Pence.

25    Q.     Is that his wife?
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 1    A.   His daughter.

 2    Q.   Okay, I'm sorry.     And do you see the woman standing in

 3    front of her?

 4    A.   Yes.

 5    Q.   Who is that?

 6    A.   Karen Pence.

 7    Q.   Is that his wife?

 8    A.   That is his wife.

 9    Q.   Thank you.

10                 Now, after you extricated the vice president, did

11    you take him to that secure location on Capitol grounds you

12    referenced earlier?

13    A.   Yes, we did.

14    Q.   Did you stay with him?

15    A.   Yes, I did.

16    Q.   How long did you stay there?

17    A.   Several hours.

18    Q.   Okay.   Can you give us a ballpark of when you left?

19    A.   I think we went back around 8:00.

20    Q.   P.M.?

21    A.   P.M.

22    Q.   Okay.   And then did you at that point leave the Capitol

23    grounds, or did you stay there?

24    A.   We stayed there.

25    Q.   Why?
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 1    A.   Because we continued the certification of the vote.

 2    Q.   Okay.   When did the vice president leave Capitol

 3    grounds?

 4    A.   Between 3:00, 4:00 a.m. on the 7th.

 5    Q.   Was he on the Capitol grounds the entirety of the time

 6    between, you know, 1:00 p.m. and almost, you know, say 3:00

 7    a.m. the next morning?

 8    A.   Yes, he was.

 9    Q.   Now, you said earlier that you considered this the most

10    dangerous situation that you've been in in your career.            Why

11    is that?

12    A.   It was the first time I had to ever evacuate a protectee

13    to a secure location.

14                 MR. GORDON:    One moment please, Your Honor.

15                 (Pause)

16                 MR. GORDON:    All right.   Nothing further, Your

17    Honor.

18                               CROSS-EXAMINATION

19    BY MR. GARRITY:

20    Q.   Good afternoon, Special Agent.

21    A.   Good afternoon, sir.

22    Q.   I just have a few questions for you.

23    A.   Certainly.

24    Q.   So you started your workday around 8:00 a.m.; is that

25    correct?
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 1    A.   That's correct, at the Naval Observatory.

 2    Q.   And then you went to the U.S. Capitol?

 3    A.   To the Capitol, correct.

 4    Q.   And when you went to the -- and you got there around

 5    10:00 a.m.?

 6    A.   Estimating, yes.

 7    Q.   And when you got to the U.S. Capitol around 10:00 a.m.,

 8    you got a chance to see the outside perimeter; is that

 9    right?

10    A.   Just a segment of it that I passed through in order to

11    enter the Capitol grounds.

12    Q.   When you went to the Capitol grounds at 10:00 a.m., did

13    you enter through the west side or the east side?

14    A.   I honestly don't recall which side I went in.          I just

15    stopped at a checkpoint with a Capitol officer, and he let

16    us proceed through bike rack.

17    Q.   But when you looked at the perimeter, there was an outer

18    perimeter; is that right?

19    A.   Correct.

20    Q.   And then there were bike racks inside that perimeter; is

21    that right?

22    A.   There is bike rack on the inner perimeter.

23    Q.   And is there an area in the Capitol that you considered

24    to be the courtyard?

25    A.   Yes.
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 1    Q.   And where is that located on the Capitol grounds?

 2    A.   The -- is it east side?

 3    Q.   It's on the east side?

 4    A.   I'm trying to remember, sir.       I'm sorry.    But...

 5    Q.   Well, let me ask you this:       When you saw --

 6    A.   The carriage entrance side.

 7    Q.   But there were bike racks within the outer perimeter,

 8    right?

 9    A.   Bike rack on the outer perimeter, and then there's --

10    there was some bike rack right alongside the plaza.

11    Q.   And those bike racks did not have any sort of signage on

12    them; is that right?

13    A.   I don't believe they have signage.

14    Q.   And, in fact, that's -- you were interviewed -- you've

15    been interviewed a number of times with respect to this

16    event, right?

17    A.   Yes, sir.

18    Q.   Do you recall being interviewed back on May 9th of 2022

19    by a few U.S. Attorneys and some special agents?          Do you

20    recall that?

21    A.   It's been several times, so likely, yes.

22    Q.   Do you recall talking to those people about seeing these

23    bike racks inside the outer perimeter that did not have

24    signage on them?

25    A.   Yes.   I know that -- I don't recall about the signage,
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 1    but I don't believe there's any signs on the bike rack.

 2    Q.   And after going to the Capitol at 10:00 a.m., you

 3    eventually greeted Vice President Pence's motorcade when it

 4    arrived at the Capitol?

 5    A.   Yes, that's correct.

 6    Q.   And you stayed with Vice President Pence throughout the

 7    time he was at the Capitol; is that correct?

 8    A.   Yes, with the exception of when I walked the route; I

 9    was not with him at that time.

10    Q.   And at some point in time after Arizona lodged its

11    objection, you went -- you went from the House side back to

12    the Senate side; is that right?

13    A.   That's correct.

14    Q.   And you heard a crowd outside?

15    A.   Yes.

16    Q.   And you looked out the window; is that right?

17    A.   I looked out a set of windows because I could hear the

18    crowd, so I walked over to the window to see what it was.

19    Q.   And do you recall whether you were looking -- when you

20    looked out the window, were you looking out the east side or

21    the west side, if you recall?

22    A.   I don't recall if it was east or west.

23    Q.   But you saw a crowd outside?

24    A.   I did, sir.

25    Q.   Coming towards the Capitol?
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 1    A.   Yes.

 2    Q.   Were they on the Capitol grounds or just approaching the

 3    grounds?

 4    A.   They were approaching the grounds at that time.

 5    Q.   And fair to say you could not see who was approaching

 6    individually?

 7    A.   That's correct.

 8    Q.   And at some point in time a decision was made to move

 9    Vice President Pence; is that correct?

10    A.   Yes.

11    Q.   And you went -- you walked the route that he would be

12    evacuated down?

13    A.   That's correct.

14    Q.   And you walked down a set of stairs; is that right?

15    A.   I did.

16    Q.   And when you were downstairs or I guess coming back up

17    from walking the route on the first floor, you heard glass

18    smash; is that correct?

19    A.   Yes, that's correct.

20    Q.   And after hearing the glass smash, you saw some

21    protesters inside the building?

22    A.   Yes.   So I was -- I heard the glass smash, and I was

23    proceeding towards the staircase leading up to the second

24    floor.    And as I was proceeding to the staircase, that's

25    when I saw through the archway door the protesters inside
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 1    the building.

 2    Q.   And do you recall roughly how many you saw inside the

 3    building?

 4    A.   It just varied, because they would come in, and then

 5    they would stop.     I wouldn't see anyone, and then I would

 6    see more.    But more than a dozen at one point.

 7    Q.   Fair to say that Ms. Niemela was not among the

 8    individuals you saw through the archway?

 9    A.   I don't recall seeing her, no.

10    Q.   And did you stay in that spot until Vice President Pence

11    was walked down from the Senate Chamber to where he was

12    eventually relocated?

13    A.   I stayed in that vicinity on the first floor.

14    Q.   And while you're there, did you see other protesters

15    enter the building?

16    A.   Yes.

17    Q.   And, again, can you tell us whether or not you observed

18    Ms. Niemela being one of those protesters that you saw in

19    the building?

20    A.   No, sir.

21    Q.   And you talked about -- well, I guess you were showed a

22    video and replayed some radio dispatches with respect to

23    smoke in the air and people on the second floor.

24    A.   That's correct.

25    Q.   Fair to say that you can't say that Ms. Niemela was one
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 1    of the ones that dispatched the smoke?         Is that right?

 2    A.   Correct.

 3    Q.   You can't say that she was one of the people up on the

 4    second floor?

 5    A.   Correct.

 6                MR. GARRITY:    I have no further questions.        Thank

 7    you very much.

 8                            REDIRECT EXAMINATION

 9    BY MR. GORDON:

10    Q.   Special Agent Glavey, why did you stay in that secure

11    location with the vice president for so many hours?           Why

12    were you there all the way -- from when you evacuated him

13    all the way until 8:00?

14    A.   Because it took time for the building to be cleared of

15    people.    They had to call in additional law enforcement to

16    assist with clearing out all the protesters from the

17    building.    And then after all the people were cleared out,

18    they had to do a security sweep of the building.

19    Q.   Which involved what?

20    A.   It involved doing an EOD, an explosives sweep, and a

21    sweep for any people that might have been left behind.

22    Q.   As the lead agent on the vice president's detail --

23    A.   Uh-huh.

24    Q.   -- would you have considered the Capitol secure if there

25    was still even one rioter inside?
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 1    A.   No.

 2    Q.   Why not?

 3    A.   Because they could have any kind of weapon or explosive

 4    device on them.

 5    Q.   What if they were just sitting in the middle of the

 6    Rotunda in a yoga pose singing "Kumbaya"?         Would you have

 7    considered it secure then?

 8    A.   No.

 9    Q.   Why not?

10    A.   Because, again, part of our process was proceeding back

11    and forth between the House and Senate side where we could

12    walk through and be in the vicinity of a firearm or an

13    explosive device.

14                 MR. GORDON:    Okay.   Nothing further, Your Honor.

15                 THE COURT:    Okay.    Agent Glavey, thank you very

16    much for your testimony.       Have a good day.

17                 THE WITNESS:   You as well.

18                 THE COURT:    Don't discuss your testimony in this

19    case until this case is over.        Okay?

20                 THE WITNESS:   Thank you.

21                 THE COURT:    Take care.

22                 MS. ARCO:    Your Honor, if we could take a brief

23    break?     I think Mr. Kramer is going to help come with tech

24    issues.

25                 THE COURT:    We're going to take our 15-minute
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 1    afternoon break.     It's 3:10.    So let's see you back here at

 2    3:25.

 3                No research about the case.       No discussions about

 4    the case.

 5                (Jury exits courtroom)

 6                (Recess taken)

 7                MR. GORDON:    Just a question for you on timing;

 8    not really a question, just a heads up.

 9                THE COURT:    Yes.

10                MR. GORDON:    We expect this next witness to last

11    longer than an hour.

12                THE COURT:    Yes.

13                MR. GORDON:    So if you're hoping to break at 4:30

14    today, we might have to look for a spot in the testimony to

15    do it.    If you want to go longer...

16                THE COURT:    Why don't we aim for 4:30, or whenever

17    you get to a good spot.      Will that work?

18                MR. GORDON:    Thank you.

19                THE COURT:    Okay.   So, Agent Hastbacka, you can

20    come on up.

21                (Jury enters courtroom)

22                THE COURT:    Welcome back, everyone.      Please be

23    seated.

24                Ms. Arco, please call your next witness.

25                MS. ARCO:    Thank you, Your Honor.      The government
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 1    calls Special Agent Mark Hastbacka to the stand.

 2                THE COURT:    Can you raise your right hand, please.

 3                (Witness sworn)

 4                MS. ARCO:    The government will first play

 5    Government Exhibit 002, which has already been admitted into

 6    evidence.

 7                If you could switch it to the podium, please.

 8                And quickly, before I do, I'd like to read

 9    Stipulation No. 6 into the record from Exhibit 1201

10    regarding this video exhibit we're about to observe.

11                On January 6, 2021, most of the proceedings taking

12    place on the Senate and House floors were contemporaneously

13    recorded by the Senate Recording Studio and the House

14    Recording Studio respectively.        The Senate Recording

15    Studio's purpose is to serve the Senate.         The House

16    Recording Studio's purpose is to serve the House.           Cameras

17    on the Senate and House floors record activity occurring

18    there.    This footage is also broadcast through the

19    Cable-Satellite Public Affairs Network (C-SPAN).          The video

20    footage contained in Government Exhibit 002 is a fair and

21    accurate depiction of the events of the Senate and House

22    floors on January 6, 2021, the time-stamps on the recordings

23    are accurate, and the video footage was not altered or

24    edited in any way.      The video footage is authentic in that

25    it is what it purports to be.
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 1                Thank you.    I'll play from the beginning.

 2                (Video playing)

 3                MS. ARCO:    Thank you for your patience.

 4                I will quickly read through a few other

 5    exhibits -- stipulations -- that are a part of Government

 6    Exhibit 1201, which have already been admitted.          That would

 7    be Stipulation 7, which reads as follows:

 8                The events depicted in the video footage from

 9    Government Exhibits 403 through 413, labeled under the

10    category "Open Source Videos and Images," are a fair and

11    accurate depiction of the events at the U.S. Capitol

12    building and grounds on January 6, 2021, and the video

13    footage and photographs were not altered or edited in any

14    way.   The video footage and photographs are authentic in

15    that they are what they purport to be.

16                Stipulation 8:     Videos Recovered From Known

17    Individuals.

18                The events depicted in the video footage from

19    Government Exhibits 501 through 506, labeled under the

20    category "Videos Recovered From Known Individuals," are a

21    fair and accurate depiction of the events at the U.S.

22    Capitol building and grounds on January 6, 2021, and the

23    video footage was not altered or edited in any way.           The

24    video footage is authentic in that it is what it purports to

25    be.
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 1                 Government Exhibits 804 through 842 are fair and

 2    accurate copies of the contents of the Facebook accounts

 3    described above.

 4                 And we will put into evidence a Stipulation 10

 5    shortly as well.

 6                   SPECIAL AGENT MARK HASTBACKA, Sworn

 7                             DIRECT EXAMINATION

 8    BY MS. ARCO:

 9    Q.   Good afternoon.

10    A.   Good afternoon.

11    Q.   Can you please state and spell your name for the record.

12    A.   My first name is Mark, M-A-R-K.       The last name is

13    Hastbacka.    It's spelled H-A-S-T-B-A-C-K-A.

14    Q.   And what do you do for a living?

15    A.   I am a special agent with the FBI.

16    Q.   Okay.   And how long have you been with the FBI?

17    A.   I am in my 26th year.

18    Q.   What kind of cases have you worked over the years?

19    A.   I started off working violent crime in Miami;

20    transferred over to national security crime; and since 1991,

21    I've worked primarily national securities cases up and down

22    the East Coast; and now I am in New Hampshire.

23                 We're a very small office, and I have to work a

24    variety of all cases because our office is so small.

25    Q.   Are you involved in this case against Ms. Niemela?
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 1    A.   I am.

 2    Q.   And how did you become involved in her case?

 3    A.   I received a communication from FBI headquarters

 4    indicating --

 5                 MR. GARRITY:    Objection; hearsay.

 6                 THE COURT:   Overruled.

 7    A.   I received a communication from FBI headquarters setting

 8    a lead for me to investigate Ms. Niemela, a reporting that

 9    we received of her going into the Capitol on January 6th.

10    Q.   Okay.   So what did you do after receiving that lead?

11    A.   I did some background information on her, open-source

12    information.     I interviewed -- I was able to locate the two

13    people, two independent people that had contacted the FBI

14    providing tips on Ms. Niemela.        I took statements from them.

15                 I took a statement from another co-defendant.         I

16    did a search warrant for her Facebook accounts.

17    Q.   For whose Facebook accounts?

18    A.   For Kirstyn Niemela's Facebook accounts.         And from

19    there, we're here today.

20    Q.   Okay.   How many interviews did you perform

21    approximately?

22    A.   In the grand scheme of things, not that many.          Under ten

23    total.

24    Q.   10?   12?   Not many?

25    A.   Not many compared to some other cases.
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 1    Q.   Okay.    Did you gather any video evidence?

 2    A.   I did.    Some from the two initial tipsters that called

 3    in pro -- one provided information, videos.          One of the

 4    co-defendants provided me videos directly after speaking to

 5    her, and then public-source videos.

 6    Q.   Okay.    Did you do any surveillance of Ms. Niemela?

 7    A.   I did just to try to locate where she was living and

 8    find a pattern of life.

 9    Q.   Can you explain what "pattern of life" means?

10    A.   Just trying to find out what vehicle she's driving, what

11    time of day she leaves the house, comes home from work,

12    where she's working, who she's associating with, so that

13    when the time comes to locate and hopefully arrest her, I'm

14    not just going in blind.

15    Q.   Did you execute any search warrants in this case?

16    A.   I did.    On the day she was arrested, I had a search

17    warrant for her cell phone.

18    Q.   Okay.    And you mentioned Facebook before.       Did you

19    search those accounts?

20    A.   I did.    That was prior to her arrest.      That was sometime

21    in November, I believe it was, of 2021.         I did a search

22    warrant, which was electronically sent to Facebook.

23                  And then sometime thereafter, shortly thereafter,

24    they sent me the results on a disk.

25    Q.   Okay.    And that was pursuant to a search warrant?
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 1    A.   It was.

 2    Q.   Okay.   What about location data?      Did your investigation

 3    uncover any location data with respect to Ms. Niemela?

 4    A.   I did not do the search warrant for this particular

 5    thing.    The overall arching search warrant was done here in

 6    Washington, D.C., by agents here doing a geofence for Google

 7    and Verizon trying to identify everyone within a very

 8    specific geographical location on a very specific date and

 9    time.    So Washington did that in a larger case, and they

10    provided me very specific results as it pertained to Ms.

11    Niemela.

12    Q.   Can you explain a little bit about what a geofence is

13    and what it shows?

14    A.   So geofence is -- most everyone has a cell phone, and

15    you have apps on the cell phone.        One of those apps will be

16    Google.    Everybody Googles everything, right?        Well, Google

17    is always in touch with -- your apps are always in touch

18    with the servers or their databases, typically through

19    satellite signals and/or closed cell phones or WiFi, and we

20    give them very specific locations.

21                 You can't be very -- you can't be broad.        We can't

22    just blindly ask for something from Google.          We have to go

23    get a search warrant -- apply for a search warrant.           A judge

24    has to approve it.      But you have to give very specific

25    parameters, longitude and latitude, and then a very specific
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 1    date and time, and then they will provide you the results of

 2    every communication device that was within that parameter

 3    during that given date and time.

 4    Q.   And roughly what was the physical, you know, parameters

 5    and date and time given for the geofence search warrant in

 6    relation to the January 6th investigation?

 7    A.   It was specific to the U.S. Capitol.

 8    Q.   Okay.   And date and time approximately?

 9    A.   It was January 6th, and it was for the time frame of

10    that afternoon.

11    Q.   Okay.   I want to show you Government's Exhibit 703,

12    which has already been admitted into evidence.

13                 MS. ARCO:   And if we can publish from counsel's

14    table, please.

15    Q.   Special Agent, what are we looking at?

16    A.   So the red line -- you're looking at an above view of

17    the U.S. Capitol.     On the left-hand side right here is the

18    west side.    Here is the east.     This is the north.      This

19    would be the south.      And this red line out here is the

20    secure perimeter of the Capitol on that date and time.

21    Q.   On January 6th, 2021?

22    A.   On January 6th.

23    Q.   And this specific document, I mean, what kind of data is

24    it reflecting?

25    A.   So the results provided to FBI headquarters then sent
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 1    down the line to me specific to Ms. Niemela's cell phone

 2    indicates it was in this specific area and in this specific

 3    area when it was within the geofence.

 4    Q.   Does that mean that Ms. Niemela, whatever device she was

 5    using, was only in these two locations?

 6    A.   No.    That's when it was picked up by the signals

 7    relaying the Google apps to the satellite or whatever device

 8    was connecting to their system.

 9    Q.   Okay.   Thank you.

10                 MS. ARCO:    You can take that down.

11                 Thank you, Ms. Jenkins.

12    Q.   I'm going to identify a phone number for you, (603)

13    288-7169.    Was this number relevant to your investigation?

14    A.   It was.   That was Ms. Niemela's.

15    Q.   Okay.   And how do you know?

16    A.   I know that from the witnesses I spoke to.         They

17    provided me with --

18                 MR. GARRITY:   Objection; hearsay.

19                 MS. ARCO:    I can rephrase, Your Honor.

20                 THE COURT:   Rephrase.

21    Q.   Apart from anything anyone told you, do you know how

22    this is Ms. Niemela's number, other sources of that

23    information?

24    A.   I do.

25    Q.   Can you explain?
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 1    A.   From my Facebook search warrant, that was the phone

 2    number connected to her Facebook account.

 3    Q.   Okay.   Thank you.

 4                 MS. ARCO:    I'm going to read Stipulation No. 10

 5    from Government Exhibit 1201, which has already been

 6    admitted into evidence.      And that reads:

 7                 The following cellular telephone number, social

 8    media accounts, and email accounts were associated with the

 9    defendant during the date ranges listed:

10                 Verizon phone number (603) 288-7169 from January

11    1, 2021, through January 17, 2021;

12                 Google account, email account

13    kirstyn.niemela@gmail.com from the date of its creation

14    through the present;

15                 Google email account kniemela88@gmail.com from the

16    date of its creation through the present;

17                 Facebook account 100063753853831, bearing vanity

18    name "Kirstyn Niemela" from the date of its creation through

19    the present;

20                 Facebook account 100049724228048, bearing vanity

21    name "Kirst Niem" from the date of its creation through the

22    present;

23                 And Facebook account 100063753853831 bearing

24    vanity name "Kirst Ashley" from the date of its creation

25    through the present.
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 1    BY MS. ARCO:

 2    Q.   You said earlier you executed a search warrant on

 3    certain Facebook accounts pertaining to Ms. Niemela.

 4                 MS. ARCO:    If you could please pull up

 5    Government's Exhibit 804, which has already been admitted

 6    into evidence, from counsel's table, please.          Thank you.

 7    BY MS. ARCO:

 8    Q.   What is this?

 9    A.   It's Facebook records I received from the search

10    warrant.

11    Q.   Okay.   With respect to Ms. Niemela?

12    A.   From Ms. Niemela, her name -- right in the middle here

13    is her name, first name and last name -- associated with

14    this gmail account.

15    Q.   Okay.   Thank you.

16                 MS. ARCO:    And if you could please show Government

17    Exhibit 806.

18    Q.   What is this?

19    A.   Facebook search warrant results.

20    Q.   Okay.

21    A.   And it indicates the registered name is Kirst Ashley

22    associated with this email address.

23    Q.   And can you read that email address for us, please.

24    A.   wwg1wga6@gmail.com.

25    Q.   Based on your investigation, do you know what WWG1WGA
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 1    means or signifies?

 2    A.   I don't know the specifics.       I know it is a phrase used

 3    by some within the QAnon community.

 4    Q.   Thank you.

 5                 I'm going to show you Government Exhibit 807.

 6    What is this?

 7    A.   This is Facebook results giving the IP addresses for

 8    January 6th.     And you can see the times.      It starts on the

 9    bottom.

10                 For the 12th -- I don't know about that one --

11    right there up to there, showing the IP addresses between

12    1:59 p.m. and 11:39 p.m.

13    Q.   Okay.   And just to be clear, these are IP addresses

14    from -- connect -- that were issued through her -- connected

15    to her Facebook account?

16    A.   Correct.

17    Q.   Okay.   I'm going to show you Government Exhibit 808.

18                 MS. ARCO:   And if you could scroll down to Page 4.

19    Q.   And what are we looking at?

20    A.   These are Facebook results as well.

21    Q.   Okay.   And what is -- can you please read the comment at

22    the top of the page?

23    A.   Well, there's no comments here.

24    Q.   Sorry, what it says next to the body.

25    A.   So I have the name Kirstyn Niemela here.         The date.
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 1    It's kind of inverted here.       The way they do it is it should

 2    be January 12, 2021, for most folks.        The key thing here is

 3    circling in on the cell phone number associated with Kirstyn

 4    Niemela, (603) 288-7169.

 5    Q.   Okay.    Thank you.

 6                  And is this the same phone number we've been

 7    discussing?

 8    A.   It is.

 9                  MS. ARCO:    I'm going to read Stipulation No. 5

10    from Government Exhibit 1201 that's already been entered

11    into evidence.     Stipulation 5 is regarding UTC time.

12                  During the winter months of December 2020, January

13    2021, and February 2021, Universal Time Coordinated was five

14    hours ahead of Eastern Standard Time.

15    Q.   And, Special Agent, do you see anything saying "UTC" on

16    this exhibits?

17    A.   Yes.    Right here on the times, UTC.      The UTC is also

18    standard for Greenwich Mean Time.

19                  THE COURT:   Can everyone see their screens okay?

20                  MS. ARCO:    Thank you.

21    Q.   And so if it says that particular time in UTC, what does

22    that mean in Eastern Standard Time?

23    A.   It's approximately five hours ahead of Eastern Standard

24    Time.

25    Q.   Okay.
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 1    A.     It depends on the daylight savings or not.

 2                 THE COURT:    And, ladies and gentlemen, you'll

 3    notice on this exhibit that there is some material that has

 4    been redacted.       There may be other redacted exhibits as

 5    well.    We do the redactions because the information is

 6    either irrelevant or not otherwise admissible in this case,

 7    and you should not speculate what may be behind the

 8    redactions.    Okay?

 9                 MS. ARCO:    Thank you, Your Honor.

10                 If you could please bring up -- this has not been

11    admitted yet, so if you could please take it down.

12                 I was just making sure because I could still see

13    it.

14                 Your Honor, the government moves Government

15    Exhibit 847 into evidence.

16                 THE COURT:    I'm sorry, so is this -- can you put

17    it on the screen first just for us?

18                 Okay.    Any objection, Counsel?

19                 MR. GARRITY:    Judge, we object to this -- this

20    document.

21                 THE COURT:    Do you want to go to the phones?

22                 (The following is a bench conference

23                  held outside the hearing of the jury)

24                 THE COURT:    What's the objection?     I can't hear

25    you.
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 1                 MR. GARRITY:   Can you hear me now, Your Honor?

 2                 THE COURT:   Yes.

 3                 MR. GARRITY:   We object on relevancy grounds and

 4    403 grounds.     This document is dated, if I understand it

 5    correctly, in early November of 2020.         And primarily the

 6    conversation involves Renae Michelle and Ms. Niemela.              But

 7    we would submit it's not relevant to what's going on here

 8    with respect to January 6th and what the charged offenses

 9    are.

10                 THE COURT:   Ms. Arco?

11                 MS. ARCO:    Your Honor, we submit that it is

12    relevant.    It's from November 10, 2020, which is shortly

13    after the November 2020 presidential election.          It shows

14    how infuriated she was about the election.         It calls on

15    other Trump supporters to sign a petition.

16                 THE COURT:   So, I'm sorry, the "this" she's

17    referring to is a petition that's attached?

18                 MS. ARCO:    Yes.   It's continued onto the second

19    page of the exhibit.      It talks more about what their

20    specific requests and gripes are.        But it talks about the

21    dissent.    And it just goes to her motive and her intent for

22    going to D.C. on January 6th, not once, but twice, and what

23    was motivating her and animated her actions on January 6th.

24                 THE COURT:   Okay.   I'll allow it.     The objection's

25    overruled.
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 1                 (This is the end of the bench conference)

 2                 MS. ARCO:   Thank you.

 3                 If you could please publish.

 4                 THE COURTROOM DEPUTY:     It's already published.

 5                 You can just look behind you.

 6                 MS. ARCO:   Oh, thank you.    Great tip.

 7    Q.   Special Agent, what are we looking at?

 8    A.   Facebook records that I obtained pursuant to the search

 9    warrant.

10                 MS. ARCO:   And could you please highlight that

11    bottom comment, Ms. Jones, or blow it up, rather.

12    Q.   Okay.   Can you please read the date of this comment?

13    A.   This would have been on November 10, 2020.

14    Q.   Okay.   And do you know when the 2020 presidential

15    election occurred?

16    A.   Approximately a week before that.

17    Q.   Okay.   And the comment reads:      "Send this to everyone

18    you know that is infuriated about this dishonest election!

19                 "*Important* Send this to Republicans only and

20    people who voted for Trump (via messenger, email, text, not

21    posting to everyone) This is not a joke, look up the Supreme

22    Court website yourself and you will see this link is legit!

23                 "Subject:   'WE THE PEOPLE' have a voice and it

24    needs to be heard!!"

25                 MS. ARCO:   Can you continue onto the next page,
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 1    and just highlight the top of the page, call it out.           Thank

 2    you.

 3    Q.     "Send a comment that you voted for Trump/Pence and you

 4    demand a full investigation of this election!

 5                   "This takes 2 seconds.   Let's infiltrate the email

 6    inbox of the Supreme Court and let them know we are not

 7    standing by the dishonest media, corrupt liberal Democrats,

 8    and any illegal votes!"

 9                   And then it posts the link.

10                   What is the significance of this Facebook message

11    to your investigation?

12    A.     To me it indicated that the author did not accept the

13    results of the election.

14    Q.     Okay.   And the author of this message is, again?

15    A.     Kirstyn Niemela.

16    Q.     Thank you.

17                   MS. ARCO:    You can take that down.

18                   The government moves to admit Government Exhibit

19    809.

20                   THE COURT:   Any objection?

21                   MR. GARRITY:   Your Honor, can we have one second?

22                   THE COURT:   Sure.

23                   (Pause)

24                   MR. GARRITY:   Your Honor, at this time we have no

25    objection.
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 1                 THE COURT:   So moved.

 2                 MS. ARCO:    Okay.

 3    Q.   Special Agent, what are we looking at?

 4    A.   Facebook records I received pursuant to the search

 5    warrant.

 6    Q.   Okay.

 7                 MS. ARCO:    And can you call out the top, please.

 8    Q.   Can you please read the date?

 9    A.   November 24, 2020.

10    Q.   Okay.   And what does it say next to when it says "Body"?

11    A.   "You sent 2 photographs."

12    Q.   Okay.   And what is your understanding of who the "you"

13    is referring to?

14    A.   The author, Kirstyn Niemela.

15    Q.   Okay.   When a Facebook return says a user sent

16    something, what does that mean?

17    A.   It's sending to either an individual or private group

18    not to be seen.     Typically, you know, if you posted it for

19    everybody to view, it will say "posted."         But if you're

20    sending it, you're sending it to a very closed community.

21    Q.   Okay.   And so a Facebook return would distinguish

22    between when someone sends something privately or posts

23    something publicly, it will make that verbal distinction?

24    A.   It will.

25    Q.   Okay.   Thank you.
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 1                 MS. ARCO:   If you could scroll to the second page,

 2    please.

 3    Q.   What are we looking at?

 4    A.   Some article about Pennsylvania, Arizona, Michigan to

 5    hold public hearings on the 2020 election.

 6    Q.   Okay.   And can you give us a rough summary of what it

 7    says?

 8    A.   Obviously some folks in Pennsylvania, Arizona, and

 9    Michigan were raising issues with the validity of the

10    election.    They were going to have some sort of hearings.

11    Q.   Okay.

12                 MS. ARCO:   And can you please scroll to the second

13    photo that's on Page 4.

14    Q.   Special Agent, can you please read the second quote at

15    the top of the page beginning with, "There were serious

16    irregularities."

17    A.   Sure.   "There were serious irregularities, we have proof

18    of fraud in a number of states, and it is important for all

19    Americans to have faith in our electoral process.           All we

20    have wanted from the outset is to count every legal vote and

21    discount every illegal vote."

22                 MS. ARCO:   You can cut the callout, please.

23    Q.   And who's the author of that statement based on the

24    immediately preceding sentence?

25    A.   Jenna Ellis, who is, according to this article, senior
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 1    campaign -- senior legal advisor and personal attorney for

 2    President Donald Trump.

 3    Q.   Thank you.

 4                 MS. ARCO:    You can take that down.

 5                 We move to admit Government Exhibit 812.

 6                 MR. GARRITY:   No objection, Your Honor.

 7                 THE COURT:   So moved.

 8                 MS. ARCO:    Please publish.    Thank you.

 9    Q.   What is this?

10    A.   Facebook records I received pursuant to the search

11    warrant.

12                 MS. ARCO:    Can you please call out the last

13    comment.

14    Q.   Can you please read the date.

15    A.   It is December 21, 2020.

16    Q.   Okay.   And what does it say next to the body, the

17    comment?

18    A.   "You sent 2 photographs."      "You" meaning Kirstyn

19    Niemela.

20                 MS. ARCO:    Okay.   And can you please scroll to the

21    bottom half of the second page.

22                 Can you please call out the bottom half of the

23    page.

24    Q.   Can you please read the bracketed area.

25    A.   "Remember, it is always darkest before the dawn.          Do not
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 1    believe the MSM" -- which I interpret to be mainstream media

 2    -- "over the next week.      Do not for a single minute give

 3    them any credence.       We have legally won this election and

 4    what comes next is the greatest mop up job in the history of

 5    the world.

 6                 "Patriots, we thank you.     We could not have gotten

 7    here without you.     Now is our time.     Hold the line."

 8    Q.   What is the significance of this comment to your

 9    investigation?

10    A.   It goes to, for me, mindset of not accepting the

11    election still and contesting it.

12    Q.   Okay.   Thank you.

13                 I'm going to show you Government Exhibit 813,

14    which has already been admitted into evidence.

15                 What is this?

16    A.   Facebook records that I received pursuant to the search

17    warrant.

18    Q.   Okay.

19                 MS. ARCO:    And can you please blow up the first

20    comment, Ms. Jones.

21    Q.   Who is the author?

22    A.   Kirstyn Niemela.

23    Q.   Okay.   What's the date?

24    A.   December 31, 2020.

25    Q.   Okay.   And if you could please read both the body and
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 1    the summary of this comment.

 2    A.   Sure.    The body has a link, it looks like to something

 3    called wildprotest.com.

 4                 The summary says, "OFFICIAL HOME OF JANUARY 6

 5    PROTEST AT CONGRESS.       Click for event details about the

 6    protest happening outside of Congress where the

 7    #DoNotCertify caucus will object to the botched Electoral

 8    College.     Stop the Steal!"

 9    Q.   Thank you.

10                 MS. ARCO:     And if you could please pull up

11    Government Exhibit 843 -- oh, pardon.

12    Q.   Before we move from this exhibit, based on looking at

13    the whole page, can you tell to whom Ms. Niemela is sending

14    this link?

15    A.   Someone I know through my investigation to be Renae

16    Sevigny.

17    Q.   Okay.    And who is Renae Sevigny to Ms. Niemela, if you

18    know?

19    A.   Renae Sevigny is a friend of Ms. Niemela's, and I've

20    spoken to her in person.

21    Q.   Okay.    Thank you.

22                 MS. ARCO:     If you could please pull up Government

23    Exhibit 843, which has already been admitted into evidence.

24                 If you could please highlight that top area of

25    the -- yes, thank you.
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 1    Q.   Can you please read the date.

 2    A.   December 31, 2020.

 3    Q.   Okay.    And does this appear to be the same link, the

 4    same content shared in the previous exhibit?

 5    A.   It does.

 6    Q.   Okay.

 7                  MS. ARCO:   And you can come out of the callout,

 8    please.

 9    Q.   And to whom does she appear to be sending this link?

10    A.   Stefanie Nicole right here is who I know to be Stefanie

11    Chiguer.

12    Q.   Okay.    And what is Ms. Chiguer's relation to

13    Ms. Niemela?

14    A.   Currently nothing.     In the past, they were girlfriends.

15    Q.   And by "girlfriends," do you mean friends who happen to

16    be female or something more than friends?

17    A.   They had a romantic relationship.

18    Q.   Thank you.

19                  MS. ARCO:   If you could please pull up Government

20    Exhibit 844.     And please call out the middle of the page.

21    Thank you.

22    Q.   And could you please read the date.

23    A.   The date is December 31, 2020.

24    Q.   And is this the same link we've just seen?

25    A.   It is.
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 1    Q.   And to whom does Ms. Niemela appear to be sending this?

 2    A.   There seems to be two people sending this, Valerie Holt

 3    sent it, according to this, at 14:45 UTC.

 4                  And then Ms. Niemela sent it at 14:45:33, like

 5    seconds later -- not even seconds.

 6                  MS. ARCO:    Thank you.    Can you please pull up

 7    Government Exhibit 845.

 8                  Thank you.   And can you please highlight the same

 9    portion in the middle toward the bottom of the page.

10                  Thank you.

11    Q.   Can you please read the date.

12    A.   December 31, 2020.

13    Q.   Okay.    Is this the same link we've been looking at?

14    A.   It is.

15    Q.   And to whom does she appear to be sending this link?

16    A.   Mark Leach.

17    Q.   Okay.    And who do you understand to be Mark Leach in

18    relation to Ms. Niemela?

19    A.   Mark Leach I've met twice.         Mark Leach is friends with

20    Ms. Niemela and is dating or has had a relationship with her

21    mother in the past.

22    Q.   Okay.    Does Ms. Niemela have any other connection to

23    Ms. Niemela?     Personal?    Professional?

24    A.   Miss Kirstyn Niemela works for Mr. Leach.         Mr. Leach is

25    an electrician, and at times Kirstyn works for him helping
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 1    him out.

 2    Q.   Thank you.

 3                 MS. ARCO:   And if you could please call up

 4    Government Exhibit 846.

 5                 Please call out the middle of the page.

 6                 We're having some technical difficulties.        Sorry.

 7    We're frozen.

 8                 We can move on and maybe come back to it.

 9    Q.   Are you aware of whether Ms. Niemela came to D.C.

10    between the election in November 2020 and January 6, 2021?

11    A.   She did.

12    Q.   How do you know?

13    A.   Through my investigation and finding open-source

14    photographs of her in Washington, D.C.

15    Q.   Okay.   What about through your search warrants?

16    A.   My search warrants had some Facebook returns showing

17    pictures of her in Washington, D.C., during that time frame

18    on a scooter.

19    Q.   Okay.   And based on your investigation, what appeared to

20    be the purpose of her travel to D.C. at that time?

21    A.   She came on or about I believe it's December 13th for a

22    Stop the Steal rally in Washington, D.C.

23    Q.   Okay.   December 13, 2020?

24    A.   December 13, 2020.

25    Q.   Okay.   Have you spent time face to face with Ms. Niemela
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 1    before entering this courtroom today and yesterday?

 2    A.     I have.

 3    Q.     And how many interactions out of court have you had with

 4    her?

 5    A.     Two that I can recall.

 6    Q.     Okay.   And what were -- what was the reason or purpose

 7    of those interactions?

 8    A.     One interaction was the day I arrested her, and the

 9    second time was when I met with her and her attorneys.

10    Q.     Okay.   And based on your interactions with her, are you

11    familiar with what she looks like?

12    A.     Very.

13    Q.     Do you see her in the courtroom today?

14    A.     Yes.    She's sitting at the defense table between the two

15    gentlemen.       She's wearing some sort of a suit, I can't see

16    with the monitor on, with short hair, Caucasian female.

17                   MS. ARCO:    Will the record please reflect the

18    identification of the defendant?

19                   THE COURT:   It may.

20                   MS. ARCO:    Thank you.

21                   THE COURT:   Ms. Arco, is this a good stopping

22    point?

23                   MS. ARCO:    Sounds like a fantastic stopping point.

24                   THE COURT:   I thought you might say that.

25                   All right.   Ladies and gentlemen, we're going to
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 1    break for the day.      We've had a productive day.      I think we

 2    are pretty much on schedule, so we're going to let you go.

 3                Please, no discussions about the case.        No

 4    research about the case.

 5                We'll see you back here at 9:00 in the morning.

 6    Okay?    Have a good night.

 7                (Jury exits courtroom)

 8                THE COURT:    All right.    Sir, you're excused.

 9    Please don't discuss your testimony with anyone overnight.

10    Okay?

11                THE WITNESS:    Thank you, Your Honor.

12                MR. GORDON:    Your Honor, do you think there's a

13    strong possibility we may be closing tomorrow?          Do you want

14    to set aside time for a charge conference at some point?

15                THE COURT:    So we have Ms. Chiguer --

16                MR. GORDON:    We currently, Your Honor, do not

17    intend to call her in our case-in-chief.         Special Agent

18    Hastbacka is going to be the final witness for our case-in-

19    chief.

20                THE COURT:    All right.

21                MR. GORDON:    We may call Ms. Chiguer as a rebuttal

22    witness depending on if the defense puts on a case, and, if

23    so, the content of that case.

24                THE COURT:    Okay.   Counsel, what about your case?

25    Same line-up?
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 1                MR. GARRITY:    It may be -- it may be just one

 2    witness, but we have to consult with another whether or not

 3    we're going to call a second one.

 4                THE COURT:    Okay.   Why don't we finish up, and

 5    then we'll do our charge -- instead of doing it in the

 6    morning, let's get started in the morning, finish up, and

 7    then we may take a 30-minute break on one side of lunch or

 8    the other, depending on where we are, and do the charge

 9    conference then.     Does that make sense?

10                MR. GORDON:    Yes.

11                THE COURT:    I don't think there are a lot of

12    disputes.    Okay?

13                All right.    See you in the morning.

14                MR. GORDON:    Thank you, Your Honor.

15                MR. GARRITY:    Thank you, Your Honor.

16                MS. ARCO:    Thank you, Your Honor.

17                     (Whereupon the hearing was

18                      concluded at 4:23 p.m.)

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 1                 CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3                     I, LISA A. MOREIRA, RDR, CRR, do hereby

 4    certify that the above and foregoing constitutes a true and

 5    accurate transcript of my stenographic notes and is a full,

 6    true and complete transcript of the proceedings to the best

 7    of my ability.

 8         Dated this 28th day of February, 2023.

 9

10
                                        /s/Lisa A. Moreira, RDR, CRR
11                                      Official Court Reporter
                                        United States Courthouse
12                                      Room 6718
                                        333 Constitution Avenue, NW
13                                      Washington, DC 20001

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